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                   23-703           IN THE


     United States Court of Appeals
                       FOR THE SECOND CIRCUIT

                        d   EMELIKE NWOSUOCHA ,
                                    —v.—
                                                            Plaintiff-Appellant,

DONALD MC KINLEY GLOVER , II, SONY MUSIC ENTERTAINMENT, YOUNG
STONER LIFE PUBLISHING LLC, KOBALT MUSIC PUBLISHING AMERICA , INC .,
DBA SONGS OF KOBALT MUSIC PUBLISHING , THEORY ENTERTAINMENT LLC,
DBA 300 ENTERTAINMENT, ATLANTIC RECORDING CORPORATION , ROC NATION
PUBLISHING LLC, DBA SONGS OF ROC NATION , SONGS OF UNIVERSAL , INC .,
WARNERTAMERLANE PUBLISHING CORP., LUDWIG EMIL TOMAS GORANSSON ,
JEFFEREY LAMAR WILLIAMS ,
                                                Defendants-Appellees,
           RCA RECORD LABEL , WARNER MUSIC GROUP CORP.,
                                                         Defendants.
               ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK



        DEFENDANTS-APPELLEES’ SUPPLEMENTAL APPENDIX

JONATHAN D. DAVIS                            ILENE S. FARKAS
ALYSSA M. PRONLEY                            DONALD S. ZAKARIN
ANTHONY C. LO MONACO                         PRYOR CASHMAN LLP
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New York, New York 10020                     (212) 421-4100
(212) 687-5464                               Attorneys for Defendant-Appellee
Attorneys for Defendants-Appellees             Songs of Universal, Inc.
  Donald McKinley Glover, II, Sony           ALEX SPIRO
  Music Entertainment, Young Stoner          PAUL B. MASLO
  Life Publishing, LLC, Kobalt Music         QUINN EMANUEL URQUHART
  Publishing America, Inc., d/b/a Songs        & SULLIVAN LLP
  of Kobalt Music Publishing, 300            51 Madison Avenue, 22nd Floor
  Entertainment LLC (f/k/a Theory            New York, New York 10010
  Entertainment LLC, d/b/a 300               (212) 687-5464
  Entertainment), Atlantic Recording
  Corporation, Warner-Tamerlane              Attorneys for Defendant-Appellee
  Publishing Corp., Ludwig Emil Tomas          Roc Nation Publishing LLC,
  Göransson, and Jeffrey Lamar Williams        d/b/a Songs of ROC Nation
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------x
EMELIKE NWOSUOCHA,                  :
                                    :
                     Plaintiff,     :
                                    : 1:21-cv-04047 (VM)
                  v.                :
                                    : DECLARATION OF
DONALD MCKINLEY GLOVER, II, et al., : JONATHAN D. DAVIS
                                    :
                     Defendants.    :
                                    :
                                    :
------------------------------------x

       JONATHAN D. DAVIS declares as follows:

       1. I am the sole shareholder of Jonathan D. Davis, P.C., attorneys for Defendant Donald

Glover in the above-captioned action. I am fully familiar with the matters set forth herein.

       2. I submit this declaration in support of the Defendants 1 joint motion, in accordance with

the Order, dated June 24, 2022, under Fed. R. Civ. P. 12(b)(6) for an order: (1) dismissing the

Complaint [ECF Dkt. No. 1] because neither the musical composition “Made in America”

(“Plaintiff’s Composition”), nor the music video embodying Plaintiff’s Composition, is registered

with the United States Copyright Office, which is a prerequisite to filing a copyright claim; or,

alternatively, (2) dismissing the copyright infringement claim for failure to adequately plead

“access” or “substantial similarity” between Plaintiff’s Composition and “This is America” (the

“Challenged Composition”).



1
  “Moving Defendants” refers to Donald McKinley Glover, II, Ludwig Emil Tomas Göransson,
Jefferey Lamar Williams, Kobalt Music Publishing America, Inc. d/b/a Songs of Kobalt Music
Publishing, RCA Records, Sony Music Entertainment, Young Stoner Life Publishing, LLC, 300
Entertainment LLC (f//k/a Theory Entertainment LLC d/b/a 300 Entertainment), Roc Nation
Publishing LLC d/b/a Songs of Roc Nation, Atlantic Recording Corporation, Songs of Universal,
Inc., Warner Music Group Corp., and Warner-Tamerlane Publishing Corp.

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        3. Attached as Exhibit A is a copy of the Complaint.

        4. Attached as Exhibit B is U.S. Copyright Registration (Pau000354788) for the musical

composition “Made In America,” registered in 1981, and authored by David Doyle and A.J. Loria.

        5. Attached as Exhibit C is U.S. Copyright Registration (PA0000890766) for the musical

composition “Made In America,” registered in 1998, and authored by Richie Sambora and Richie

Supa.

        6. Attached as Exhibit D is U.S. Copyright Registration (PA0001768256) for the musical

composition “Made In America” registered in 2011, and authored by Frank Ocean, Kanye West,

Shawn Carter, Shama Joseph, and Mike Dean.

        7. Attached as Exhibit E is U.S. Copyright Registration (PA0001776533) for the musical

composition “Made In America,” registered in 2011, and authored by Toby Keith Covel, Bobby

Pinson, and Gregory Scott Reeves.

        8. Attached as Exhibit F is U.S. Copyright Registration (PA0001786233) for the musical

composition “Made In America,” registered in 2012, and authored by John Sembello.

        9. Attached as Exhibit G is U.S. Copyright Registration (PA0001864125) for the musical

composition “Made In America,” registered in 2013, and authored by Kevin Fransen, Tim Kmet,

and Gail Irmen.

        10. Attached as Exhibit H is U.S. Copyright Registration (PA0002119555) for the musical

composition “Made In America,” registered in 2017, and authored by Jayceon Terrell Taylor and

Marcus Black.

        11. Attached as Exhibit I are the lyrics for Plaintiff’s Composition.

        12. Attached as Exhibit J are the lyrics for Challenged Composition.




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       Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing is true

and correct. Executed at New York, New York, on this 9th day of September 2022.



                                                       /s/ Jonathan D. Davis
                                                       JONATHAN D. DAVIS




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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF NEW YORK
 – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – –X

EMELIKE NWOSUOCHA,                                               :
                                         Plaintiff,              :
                            against                              :    COMPLAINT

DONALD MCKINLEY GLOVER, II,
                                      :                               JURY TRIAL DEMANDED
JEFFEREY LAMAR WILLIAMS, LUDWIG
EMIL TOMAS GÖRANSSON, KOBALT
MUSIC PUBLISHING AMERICA, INC. d/b/a/
SONGS OF KOBALT MUSIC PUBLISHING,
RCA RECORDS, SONY MUSIC
ENTERTAINMENT, YOUNG STONER LIFE
PUBLISHING LLC, THEORY
ENTERTAINMENT LLC d/b/a 300
ENTERTAINMENT, ATLANTIC RECORDING
CORPORATION, ROC NATION PUBLISHING
LLC d/b/a SONGS OF ROC NATION, SONGS
OF UNIVERSAL, INC., WARNER MUSIC
GROUP CORP., and WARNER-TAMERLANE
PUBLISHING CORP.

                                         Defendants.             :
 – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – – –X


Plaintiff Emelike Nwosuocha ("Nwosuocha"), by and through his attorneys, Aidala, Bertuna &

Kamins P.C., for his Complaint against defendants Donald McKinley Glover, II (“Glover”),

Jefferey Lamar Williams (“Williams”), Ludwig Emil Tomas Göransson ("Göransson"), Songs of

Kobalt Music Publishing (“Kobalt Music”), RCA Records (“RCA”), Sony Music Entertainment

(“Sony Music”), Young Stoner Life Publishing LLC (“YSL”), Theory Entertainment LLC d/b/a

300 Entertainment (“300”), Atlantic Recording Corporation (“Atlantic”), Warner Music Group

Corp. (“WMG”), Roc Nation Publishing LLC d/b/a Songs of Roc Nation (“Roc Nation”), Songs

of Universal, Inc. (“Universal”), and Warner-Tamerlane Publishing Corp (“Warner-Tamerlane”)
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(collectively, “Defendants”), alleges, on knowledge as to his own actions, and otherwise on

information and belief, as follows:

                                PRELIMINARY STATEMENT

       1.      Nwosuocha brings this action seeking injunctive and monetary relief for

Defendants’ infringement via direct and/or indirect copying of Nwosuocha's copyright in

Nwosuocha’s song entitled “Made in America” (the "Copyrighted Work"), which Nwosuocha

registered with the U.S. Copyright Office on May 24, 2017 and owns full copyright in.

       2.      The crux of the claims in this action brought pursuant to the to the Copyright Act

of 1976, as amended (the “Copyright Act”), 17 U.S.C. §§ 101 et seq. is that there are substantial

similarities between the Copyrighted Work and the song “This is America,” which was released

pseudonymously by Defendant Glover under his musical stage name, Childish Gambino.

Specifically, the substantial similarities between both songs include, but are not limited to,

nearly-identical unique rhythmic, lyrical, and thematic compositional and performance content

contained in the chorus – or “hook” – sections that are the centerpieces of both songs.

       3.      Defendants are the writers, producers, performers, record labels, publishers,

distributors, managers, administrators, and/or distributors of the infringing work “This is

America” (the “Infringing Work”).

       4.      In or about early September, 2016 Nwosuocha wrote and created the Copyrighted

Work. Nwosuocha subsequently displayed the Copyrighted Work to the public on September 11,

2016 by uploading it to popular streaming platform Soundcloud, where end users were allowed

to listen to the song on the Soundcloud platform as a free stream. Nwosuocha later again publicly

displayed the Copyrighted Work by uploading it, accompanied by a music video, to YouTube on

or about November 9, 2016, where end users were allowed to listen to the song on the YouTube




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platform as a free stream. A screenshot reflecting these initial two public displays of the

Copyrighted Work by Nwosuocha is annexed hereto as EXHIBIT A.

        5.    Subsequent to publicly displaying the Copyrighted Work on Soundcloud and

YouTube, Nwosuocha registered his full and exclusive copyright in the Copyrighted Work with

the U.S. Copyright Office on May 24, 2017 in advance of the Copyrighted Work’s first

publication. The Copyrighted Work would be published for the first time as the lead single for

his then-unpublished album entitled “Eleven: The Junior Senior Year” (the “Album”), which he

also owns full copyright to. The Certificate of Copyright reflecting the foregoing registration is

annexed hereto as EXHIBIT B. Nwosuocha is the owner of all copyrights in the Copyrighted

Work.

        6.    Since creating the Copyrighted Work and fixing it to a tangible medium,

Nwosuocha has published, distributed, advertised, licensed, performed, publicly displayed, and

sold the Copyrighted Work in the United States by, among other means, uploading the

Copyrighted Work to all major music streaming platforms, including YouTube, Apple Music,

Spotify, Tidal, and Soundcloud, and by selling downloadable digital copies of the Copyrighted

Work.

        7.    All of the claims asserted herein arise out of and are based on Defendants’

copying, reproduction, distribution, public display, performance, sale, licensing, marketing,

promotion and/or other exploitation of the Copyrighted Work without Nwosuocha's consent.

Nwosuocha sues for copyright infringement under the United States Copyright Act of 1976, as

amended (the "Copyright Act"), 17 U.S.C. § 101 et seq.




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       8.     Nwosuocha seeks all remedies afforded to him by the Copyright Act, including

preliminary and permanent injunctive relief, Nwosuocha's damages and Defendants’ profits from

Defendants’ infringing conduct, and other monetary relief.

                                 JURISDICTION AND VENUE

       9.     This court has jurisdiction over this copyright infringement action pursuant to 28

U.S.C. §§ 1331 and 1338(a) because this action arises under the Copyright Act. Federal Courts

have exclusive jurisdiction over such claims pursuant to 28 U.S.C. § 1331.

       10.    This court has personal jurisdiction over the enumerated Defendants because they

have directed their infringing activities with respect to the Infringing Work to New York

residents, and New York residents are able to purchase, download, and stream the Infringing

Work and works that are derivative of the Infringing Work.

       11.    Defendants have engaged in systematic and continuous business activities,

including those relating to the Infringing Works, in New York. As such, the Defendants have

engaged in continuing business activities in the instant jurisdiction.

       12.    Defendants are, at minimum, constructively aware of their continuous and

substantial commercial interactions with New York residents.

       13.    Defendant Glover has performed, and he and the other Defendants have

authorized, organized, and promoted performances of the Infringing Work in New York.

       14.    The Defendants have generated touring and recording revenues from the

unauthorized and unlawful exploitation of the infringing work, including receiving substantial

revenue from such exploitation in New York. They have advertised the Infringing Works to New

York residents.




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        15.    The Defendants, individually and collectively, have generated substantial revenue

from the exploitation of the infringing works in New York.

        16.    New York has a considerable interest in adjudicating disputes wherein New York

residents are the target of the harm resulting from exploitation of the infringing work

        17.    Venue is proper in this district under 28 U.S.C. §§ 1391(b), 1391(c) and 1400(a)

because Defendants maintain offices in and are subject to personal jurisdiction in this Judicial

District and have committed unlawful acts of infringement in this judicial district, and because a

substantial part of the events giving rise to the within claims occurred in this judicial district.

                                              PARTIES

        18.    Nwosuocha is an individual who resides in and is a citizen of Miami-Dade

County, Florida. Nwosuocha is a musician, singer, vocalist, songwriter, and producer who

disseminates and/or performs his musical works under the pseudonym/stage name “Kidd Wes.”

Nwosuocha is further engaged in, among other things, conducting the business of publicly

performing, distributing, selling, marketing, licensing, promoting, and/or otherwise exploiting

his musical works.

        19.    Upon information and belief, Defendant Glover resides in Los Angeles County,

California. Among other ventures, Defendant Glover is an American singer, songwriter, and

rapper who releases music under the stage name Childish Gambino, and who caused the public

release of the Infringing Work on May 6th, 2018, and who has since then has caused the

Infringing Work to be widely published distributed, performed, licensed, displayed, marketed,

promoted, reproduced, copied and/or otherwise exploited. Upon further information and belief,

Defendant Glover has derived substantial revenues and/or profits from the exploitation of the

Infringing Work.




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       20.    Upon information and belief, Defendant Kobalt Music is a Delaware corporation

in the business, among others, of music publishing, with a principal place of business in New

York, New York. Upon further information and belief, Kobalt Music is one of the publishers of

the Infringing Work, has been responsible for, among other things, coordinating publishing,

administrative, and creative support services with respect to the Infringing Work. Upon further

information and belief, Defendant Kobalt Music has derived substantial revenues and/or profits

from the exploitation of the Infringing Work.

       21.    Upon information and belief, Defendant Sony Music is a major global music

company that produces, manufactures, publishes, licenses, distributes, administers, markets,

and/or exploits prerecorded music, among other business ventures. Upon further information and

belief, Defendant Sony Music is the parent entity that owns Defendant RCA. Upon further

information and belief, Defendant Sony Music has assisted in and/or directly facilitated, among

other things, the publication, licensing, promotion, reproduction, sale and/or exploitation of the

Infringing Work. Upon further information and belief, Defendant Sony Music conducts

systematic and continuous business in this district and has derived substantial revenues and/or

profits from the exploitation of the Infringing Work.

       22.    Upon information and belief, Defendant RCA is an unincorporated division of

Sony Music that does regular business in New York and maintains an office in New York.

Defendant RCA is the record label entity to which Defendant Glover is signed for the purposes

of creating, producing, manufacturing, publishing, licensing, distributing, performing,

displaying, marketing, promoting, and/or otherwise exploiting the music he creates, writes and/or

performs under his stage name Childish Gambino, including the Infringing Work. Upon

information and belief, Defendant RCA has assisted in and/or directly facilitated, among other




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things, the publishing, licensing, administration, distribution, dissemination, and/or the

exploitation of the Infringing Work, and has caused copies of the Infringing Work to be widely

published, distributed, performed, displayed, marketed, promoted, reproduced, copied and/or

otherwise exploited to the public. Upon further information and belief, Defendant RCA has

derived substantial revenues and/or profits from the exploitation of the Infringing Work.

       23.    Upon information and belief, Defendant Williams resides in Fulton County,

Georgia. Among other ventures, Defendant Williams is an American singer, songwriter, and

rapper who releases music under the stage name Young Thug, who regularly does business in

New York, and who is credited as a writer of the Infringing Work and who vocally performs on

the Infringing Work. Defendant Williams has caused the Infringing Work to be widely

published, distributed, licensed, performed, displayed, marketed, promoted, reproduced, copied

and/or otherwise exploited. Upon information and belief, Defendant Williams has derived

substantial revenues and/or profits from the exploitation of the Infringing Work.

       24.    Upon information and belief, Defendant YSL is a Georgia limited liability

company whose principal and sole member is Defendant Williams, and which functions as

Defendant Williams’ publishing imprint. Upon further information and belief, Defendant YSL

has caused the Infringing Work to be widely published, distributed, licensed, performed,

displayed, marketed, promoted, reproduced, copied and/or otherwise exploited, and has derived

substantial revenues and/or profits therefrom.

       25.    Upon information and belief, Defendant 300 is a Delaware limited liability

company doing regular business in New York, and with a principal place of business in New

York, New York. Upon further information and belief, Defendant 300 is the record label to

which Defendant Williams is signed for the purposes of creating, producing, manufacturing,




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publishing, licensing, distributing, performing, displaying, marketing, promoting, and/or

otherwise exploiting the music he creates, writes and/or performs under his stage name Young

Thug, including the Infringing Work, and is the record label that has acted as the distributor for

music released and/or published through Defendant YSL’s imprint. Upon further information

and belief, Defendant 300 has assisted in and/or directly facilitated, among other things, the

publishing, licensing, administration, distribution, dissemination, and/or the exploitation of the

Infringing Work, and has caused copies of the Infringing Work to be widely published,

distributed, performed, displayed, marketed, promoted, reproduced, copied and/or otherwise

exploited to the public. Upon further information and belief, Defendant 300 has derived

substantial revenues and/or profits from the exploitation of the Infringing Work.

       26.    Upon information and belief, Defendant Atlantic is a Delaware corporation with

offices in, and doing regular business in, the State of New York. Upon further information and

belief, Defendant Atlantic has acted as the distributor of all music distributed by and through

Defendant 300, including the Infringing Work. Upon further information and belief, Defendant

Atlantic has assisted in and/or directly facilitated, among other things, the publishing, licensing,

administration, distribution, dissemination, and/or the exploitation of the Infringing Work, and

has caused copies of the Infringing Work to be widely published, distributed, performed,

displayed, marketed, promoted, reproduced, copied and/or otherwise exploited to the public.

Upon further information and belief, Defendant Atlantic has derived substantial revenues and/or

profits from the exploitation of the Infringing Work.

       27.    Upon information and belief, Defendant WMG is a major global music

corporation organized under the laws of Delaware with its principal offices in New York, New

York. Defendant Upon further information and belief, WMG is the parent company Defendant




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Atlantic, and Defendant WMG has assisted in and/or directly facilitated, among other things, the

publishing, licensing, administration, distribution, dissemination, and/or the exploitation of the

Infringing Work, and has caused copies of the Infringing Work to be widely published,

distributed, performed, displayed, marketed, promoted, reproduced, copied and/or otherwise

exploited to the public. Upon further information and belief, Defendant WMG has derived

substantial revenues and/or profits from the exploitation of the Infringing Work.

       28.    Upon information and belief, Defendant Göransson resides in Los Angeles

County, California. Among other ventures, Defendant Göransson is a music producer who is

credited as a writer of the Infringing Work, whose composition and performance of the

instrumental track that underlies the Infringing Work is embodied within the Infringing Work,

and who does regular business in New York. Upon further information and belief, Defendant

Göransson has caused the Infringing Work to be widely published, distributed, licensed,

performed, displayed, marketed, promoted, reproduced, copied and/or otherwise exploited. Upon

information and belief, Defendant Göransson has derived substantial revenues and/or profits

from the exploitation of the Infringing Work.

       29.    Upon information and belief, Defendant Roc Nation is a Delaware limited

liability company doing regular business in New York, and with a principal place of business in

New York, New York. Upon further information and belief, Defendant Roc Nation is the record

label to which Defendant Göransson is signed for the purposes of creating, producing,

manufacturing, publishing, licensing, distributing, performing, displaying, marketing, promoting,

and/or otherwise exploiting the music he creates, writes and/or performs under his given name,

including the Infringing Work. Upon further information and belief, Defendant Roc Nation has

assisted in and/or directly facilitated, among other things, the publication, reproduction,




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licensing, administration, distribution, dissemination, and/or the exploitation of the Infringing

Work, and has caused copies of the Infringing Work to be widely published, distributed,

performed, displayed, marketed, promoted, reproduced, copied and/or otherwise exploited to the

public. Upon further information and belief, Defendant Roc Nation has derived substantial

revenues and/or profits from the exploitation of the Infringing Work.

       30.    Upon information and belief, Defendant Universal is a corporation organized

under the laws of the State of California registered and doing regular business in the State of

New York as a foreign business corporation. Upon further information and belief, Defendant

Universal has acted as the distributor of music distributed and/or published by and through

Defendant Roc Nation that includes the Infringing Work. Upon further information and belief,

Defendant Universal has assisted in and/or directly facilitated, among other things, the

publishing, licensing, administration, distribution, dissemination, and/or the exploitation of the

Infringing Work, and has caused copies of the Infringing Work to be widely published,

distributed, performed, displayed, marketed, promoted, reproduced, copied and/or otherwise

exploited to the public. Upon further information and belief, Defendant Universal has derived

substantial revenues and/or profits from the exploitation of the Infringing Work.

       31.    Upon information and belief, Defendant Warner-Tamerlane is a corporation

organized under the laws of the State of California registered and doing regular business in the

State of New York as a foreign business corporation. Upon further information and belief,

Defendant Warner-Tamerlane has acted as the publisher and/or distributor of music published

and/or distributed by and through Defendant Roc Nation and Defendant Atlantic, including the

Infringing Work. Upon further information and belief, Defendant Warner-Tamerlane has assisted

in and/or directly facilitated, among other things, the publishing, licensing, administration,




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distribution, dissemination, and/or the exploitation of the Infringing Work, and has caused copies

of the Infringing Work to be widely published, distributed, performed, displayed, marketed,

promoted, reproduced, copied and/or otherwise exploited to the public. Upon further information

and belief, Defendant Warner-Tamerlane has derived substantial revenues and/or profits from the

exploitation of the Infringing Work.

                                                FACTS

       A.     Plaintiff and his Copyrighted Work

       32.    Nwosuocha wrote the Copyrighted Work, and thereafter fixed it to a tangible

medium by recording his performance of the Copyrighted Work, in or about early September of

2016. Nwosuocha has since then continued to retain ownership of the full and exclusive

copyright in the Copyrighted Work, and registered his full ownership of copyright in the

Copyrighted work with the U.S. Copyright Office on May 24th, 2017, prior to its publication.

Nwosuocha accomplished registering his full copyright ownership in the Copyrighted Work by

registering on May 24th, 2017 his full copyright ownership of the entirety of his then-

unpublished album entitled “Eleven: The Junior Senior Year” (the “Album”), on which the

Copyrighted Work was included.

       33.    Subsequent to registering his full copyright to the entirety of the fully-

unpublished Album on May 24th, 2017, Nwosuocha made the first publication of the

Copyrighted Work as a purchasable lead single to the Album. This initial publication of the

Copyrighted Work occurred on or about June 8th, 2017.

       34.    As a result of the foregoing, Nwosuocha owns any and all copyright rights in the

Copyrighted Work.




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        35.   The Copyrighted Work is wholly original, and Nwosuocha is the lawful exclusive

owner of all rights, title, and interest, including all rights under copyright, in the Copyrighted

Work.

        36.   Nwosuocha is the owner of valid and subsisting United States Copyright

Registration No. SRu 1-301-922 for the Copyrighted Work, issued by the United States

Copyright Office on May 24th, 2017. See Ex. B.

        37.   As previously set forth, Nwosuocha has published, distributed, licensed,

displayed, sold, performed, promoted, marketed and/or otherwise exploited the Copyrighted

Work by, among other means, uploading the Copyrighted Work to all major music streaming

platforms, including YouTube, Apple Music, Spotify, Tidal, and Soundcloud, and by selling

copies of the Copyrighted Work.

        B.    Defendants’ Infringing Conduct

        38.   Defendants Glover, Williams, and Göransson are credited as the writers of the

Infringing Work, “This is America,” which publicly-accessible records filed by and/or on behalf

of the Defendants affirmatively state was created in 2018.

        39.   The Infringing Work, which won the 2019 Grammy for Record of the year and

has continuously generated massive amounts of revenue, praise, and publicity since its initial

public release, is centered on a chorus, or “hook,” wherein Defendant Glover recorded his vocal

performance of the rapping of the chorus’ lyrics while employing a distinct and unique vocal

cadence, delivery, rhythm, timing, phrasing, meter and/or pattern – or a “flow,” as the various

elements making up a vocal performance are known and referred to in the realm of hip-hop

music. The distinctive flow employed in Defendant Glover’s recorded performance of the

Infringing Work’s chorus, which is the musical centerpiece of the Infringing Work and forms the




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namesake for the Infringing Work’s song title, is unmistakably substantially similar, if not

practically identical, to the distinct and unique flow that was employed by Nwosuocha in

recording his vocal performance of his rapping of the hook to his Copyrighted Work.

       40.    In addition to the substantially similar unique “flow” employed first in the

Copyrighted Work and almost two years later in the Infringing Work, the lyrical theme, content,

and structure of the identically-performed choruses are also glaringly similar. In the chorus to the

Copyrighted Work, as first made available by Nwosuocha on major streaming platforms for

widespread public listening as early as September 11th, 2016, Nwosuocha’s lyrical refrain is:

               “Made in America
               Flex on the radio
               Made me a terrorist
               Pessimistic n***as
               You should just cherish this”

Similarly, in the later-released Infringing Work, as created in 2018 and released on May 6th,

2018, the hook’s central lyrical refrain, which is repeated and reincorporated throughout the song

with occasional minor variances in the specific words rapped is:

               “This is America
               Guns in my area
               I got the strap
               I gotta carry ‘em”

               - or -

               “This is America
               Don’t catch you slippin’ now
               Don’t catch you slippin’ now
               Look what I’m whippin’ now”

       41.    The unmissable substantial similarity of the two flows used in the songs’

respective hooks, as augmented by the two hooks’ substantially similar structure and lyrical

content, is striking to an extent beyond coincidence and is accordingly audible to the average lay




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person who listens to both songs. Indeed, a number of end users from the general public who

have listened to the Copyrighted Work as uploaded by Nwosuocha to major streaming platforms

have left comments on the Copyrighted Work explicitly noting their opinions as members of the

disinterested listening general public that the Infringing Work represents a clear infringement of

the Copyrighted Work. For example, on major streaming platform SoundCloud, one listener

commented on Nwosuocha’s posting of the Copyrighted Work for public streaming: “Gambino

ripped this shit off you G.” Other examples, which appear in the comment section of

Nwosuocha’s upload of the Copyrighted Work’s music video to YouTube for public streaming,

include one listener commenting “Childish gambino gotta give you creds for the flow and

everything” and another listener commenting “anyone gonna ask Childish Gambino about this

song???” Annexed hereto as EXHIBIT C are screenshots containing the relevant portions of the

comment sections of Kidd Wes’ “Made in America,” as uploaded to SoundCloud and YouTube,

reflecting the foregoing examples of comments made by the listening public.

       42.    Beyond the fact that the striking substantial similarities between the Copyrighted

Work and the Infringing Work are manifestly audible to listening lay persons of the general

public, the striking substantial similarities are also qualifiable and quantifiable from a scientific

perspective. Esteemed University of Miami Musicologist Dr. Brent Swanson (“Dr. Swanson”)

has undertaken an investigation into the similarities between the Copyrighted Work and the

Infringing Work and concluded in his investigation’s report as follows:

       “This report has detailed the thematic, lyrical, visual, rhythmic, and melodic
       similarities between the music videos ‘Made in America’” by Kidd Wes, and ‘This
       is America,’ by Childish Gambino. The videos and lyrics share the themes of gun
       violence, and oppression of African-Americans and People of Color by police, the
       political establishment, conservative organizations (in particular the NRA and the
       GOP), White nationalism (Charleston shooting), and racist structures in the U.S.
       They also use of imagery related to Blackface Minstrelsy (Jim Crow, Coon, and
       Uncle Tom), and deride stereotypical Black culture in an ironic way to poke fun


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       at and bring attention to the aforementioned racist power structures in the U.S or
       Whiteness. There are distinct similarities in melodic contour, rhythmic triplet flow
       in each performance, and the lines ‘Made in America’ and ‘This is America’ line-
       up nearly perfectly in time despite being different tempos. They also both use
       rhythmic utterances in their performances. It is authors’ opinion that these
       similarities are likely not coincidences.”

       See Dr. Swanson’s Report annexed hereto as EXHIBIT D at 15. (emphasis added).

       43.    In arriving at the above expert conclusion, Dr. Swanson, among other things,

conducted an in-depth forensic sonic analysis and comparison of the audio making up the two

songs. Based on his analysis and comparison of the two songs’ audio using a number of

scientific methods of audio analysis, Dr. Swanson determined that the songs’ hooks are

substantially similar from a scientific qualifiable and quantifiable perspective. See id. at 9-15.

       44.    When viewed in light of the fact that the Copyrighted Work had been made

continuously widely publicly accessible by Nwosuocha significantly before the Infringing Work

was created and/or released, the clearly audible (and scientifically-confirmed) substantial

similarity between the Copyrighted Work and the Infringing Work cannot be reasonably ascribed

to mere coincidence. Indeed, as has been opined by Dr. Swanson and a number of commenting

members of the disinterested listening general public, the clear substantial similarity between the

works is most reasonably ascribable to Defendants’ willful unauthorized infringement of the

Copyrighted Work that was widely and continuously publicly accessible, and copyrighted, well

before the Infringing Work was ever released to the public.

       45.    Despite the foregoing unauthorized copying of the Copyrighted Work in the

Infringing Work, on or about May 6th, 2018, the Infringing Work was publicly released for the

first time when: (a) Defendant Glover performed it on television while hosting Saturday Night

Live; and (b) simultaneously, or soon thereafter, upon information and belief, Defendants

Glover, Kobalt Music, Sony Music and RCA, as administrators and/or managers of Defendant



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Glover’s music, caused a music video (the “Infringing Work Music Video”) derivative of and

accompanying the Infringing Work to be uploaded to his “Donald Glover” official YouTube

channel for public streaming.

       46.    The Infringing Work and the derivative Infringing Work Music Video were an

instant sensation of historical proportions. In an article published online on May 9th, 2018

Billboard reported that the Infringing Work Music Video had been viewed nearly one million

times on the “Donald Glover” YouTube channel within the first hour of its public release, had

amassed 12.9 million views within the first twenty-four hours of its initial release, and had

reached over 50 million views at the time of reporting (just a few days after the initial release).

Nerisha Penrose, “Childish Gambino's Record-Breaking 'This Is America' Video Hits 50 Million

Views in Mere Days,” Billboard, May 9, 2018, https://www.billboard.com/articles/columns/hip-

hop/8455253/childish-gambino-breaks-his-youtube-record-this-is-america-video.

       47.    As of the date of the within, the Infringing Work Music Video remains uploaded

to the Donald Glover YouTube channel for public streaming and has a total view count of

approximately 772.4 million views since its upload on May 6th, 2018.

       48.    Beyond the unprecedented astronomical number of streams that the Infringing

Work and the Infringing Work Music Video garnered instantly after Defendants Glover, Kobalt

Music Sony Music, and RCA first publicly released both, the Infringing Work quickly began

receiving widespread critical acclaim that often specifically referenced and praised the infringing

flow, structure, and/or lyrical content and themes of the Infringing Work’s hook. For example, in

a glowing song review of the Infringing Work published on May 7th, 2018 by Pitchfork (one of

the best-known and most influential music review outlets in the world), contributor Stephen

Kearse noted of the sonics of Defendant Glover’s vocal performance in the Infringing Work that:




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       “’This Is America,’ then, is a bit of a reset. Here, [Glover] uses the ambivalent
       reception of black art to represent the tightrope of being black. Built on the sharp
       contrast between jolly, syncretic melodies and menacing trap cadences, the song
       presents Childish Gambino as confident and cutting. ‘This is America!’ he chants
       as the song swings between harmony and discord … Glover’s voice bridges the
       two worlds, dropping to an austere deadpan for his rapping and ascending to a
       syrupy coo for his singing. ‘Don’t catch you slippin’ up,’ Glover warns as he
       pulls off the balancing act with ease …”

       Stephen Kearse, “Childish Gambino - This is America,” Pitchfork, May 7, 2019,

https://pitchfork.com/reviews/tracks/childish-gambino-this-is-america/ (emphasis added).

       49.    Similarly, writing for Vulture (one of the world’s foremost entertainment news

outlets), and echoing Dr. Swanson’s descriptions of certain unique lyrical/thematic/vocal

elements from the Copyrighted Work that he found were strikingly substantially copied in the

Infringing Work, Frank Guan specifically commented on the lyrics, thematic elements, and vocal

performances embodied in the Infringing Work:

       “… with its cash-grabbing, fashion-mongering, gun-waving, drug-slinging
       rhetoric delivered in a clipped triplet flow, the song is a trap number in all but
       name. The incongruousness of Glover, raised middle-class and a NYU graduate,
       bragging about his Mexican drug supplier and threatening to have you gunned
       down, is intentional: it’s a tribute to the cultural dominance of trap music and a
       reflection on the ludicrous social logic that made the environment from which
       trap emerges, the logic where money makes the man, and every black man is a
       criminal.”

       Frank Guan, “What It Means When Childish Gambino Says ‘This Is America,’” Vulture,

May 8, 2018, https://www.vulture.com/2018/05/what-it-means-when-childish-gambino-says-

this-is-america.html (emphasis added).

       50.    The Infringing Work reportedly debuted at number one in the Billboard Hot 100

chart after selling 78,000 downloadable copies and garnering 65.3 million U.S. streams within its

first week of release, remained number one on the Billboard Hot 100 for two weeks, and

remained in the top ten of the Billboard Hot 100 for a total of five weeks.




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       51.    The immediate sensation of the Infringing Work and the derivative Infringing

Work Music Video spanned well beyond the United States in scope and extent. As reported by

Billboard in an article published on August 2nd, 2018, many derivative works, or “remixes,” of

the Infringing Work and/or the Infringing Work Music Video began to be disseminated on a

global scale by musicians hailing from countries all over the world in the few months following

the initial public release of the Infringing Work and the Infringing Work Music Video. See

EXHIBIT E annexed hereto, Gil Kaufman, “This Is Earth: Watch 12 Global Remixes of

Childish      Gambino's     'This     Is     America',”    Billboard,     Aug.     2,     2018,

https://www.billboard.com/articles/columns/hip-hop/8468356/this-is-america-global-remixes-

childish-gambinos-india-brazil-iraq-india.

       52.    In keeping with the prevailing musical custom for “remixes” within the hip-hop

music genre (to which both the Copyrighted Work and the Infringing Work belong), the vast

majority of these international derivative works remixing the Infringing Work have substantially

featured identical copies of the compositional and performance elements embodied in the

Infringing Work - including those the Defendants copied from the Copyrighted Work without

authorization - except that in many instances the specific words in the Infringing Work’s lyrics

were swapped out in the remixes for the international remixers own chosen words.

       53.    Indeed, in a number of the more well-known examples of these international

derivative remix works, the international remixers/rappers who created and disseminated their

own remixes of the Infringing Work rapped over substantially the exact backing instrumental (or

“beat,” in hip-hop parlance) of the Infringing Work, and did so deliberately employing the same

distinct and unique cadences, delivery (or deliveries), and/or phrasing(s) of the vocal

performance(s) embodied in the original recording of the Infringing Work, including those




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distinct and important vocal elements copied without authorization from the Copyrighted Work.

The central musical idea underlying these examples of the international derivative remixes was

to substantially sonically remake the Infringing Work but to do so rapping lyrics specifically

referencing the remixer’s own home country instead of America. Each of any such derivative

remix of the Infringing Works has thus been, by design, patently referential to and promotional

of the Infringing Work, and has also necessarily constituted a widespread international public

distribution and/or exploitation of the Infringing Work.

       54.    For all intents and purposes, the phenomena of these international derivative

remixes, including the attendant major media outlet coverage, has functioned as a massively

effective low-budget global advertisement campaign for the Infringing Work and Defendants’

various lucrative infringing endeavors with respect to the Infringing Work.

       55.    In addition to globally promoting, advertising, and/or otherwise facilitating the

Defendants’ continuing infringement of the Copyrighted Work, because many of the

international derivative remixes, by design, used the same vocal elements wrongfully and

unlawfully copied by Defendants from the Copyrighted Work, those international derivative

remixes themselves represent infringements of the Copyrighted Work.

       56.    Some examples of the infringing international derivative remixes described in the

foregoing have garnered significant streams and international fame in their own rights. For

instance, Nigerian rapper Falz’s infringing derivative remix “This is Nigeria” has been streamed

on YouTube approximately 20.1 million times to date, and has been reported on by NPR and

CNN, amongst other preeminent global news outlets. In another example, Dubai-based Iraqi

rapper I-NZ’s infringing derivative remix “THIS IS IRAQ” has been streamed on YouTube

approximately 7.9 million times to date, has been reported to have amassed 350 million streams




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overall, and has been the subject of reports by Newsweek, amongst other notable major media

outlets. As further evidence highlighting the direct benefits Defendants have enjoyed as a direct

result of these infringing derivative remixes of their Infringing Work, on the popular major

online music streaming/purchase platform BandCamp, “THIS IS IRAQ” is made available by the

rapper I-NZ for free streaming and for digital download with an express acknowledgement and

disclaimer from I-NZ that “All rights to the musical composition belong to Childish Gambino

and the record label GlassNote Records,” and additionally includes the name Childish Gambino

in the posting’s tagline. A screenshot of “THIS IS IRAQ,” as uploaded to BandCamp by I-NZ,

reflecting the foregoing is annexed hereto as EXHIBIT F.

       57.     Upon information and belief, none of the Defendants have caused any of the more

popular/widely-consumed examples of the international derivative remixes to be removed from

YouTube. Upon further information and belief, all of the Defendants have possessed the

presumptive ability to cause the aforesaid international derivative remixes to be taken down from

YouTube, pursuant to YouTube’s DMCA copyright takedown policy, because the Defendants

are all either: (a) parties with registered writing and/or publishing interests in and to the

Infringing Work; and/or (b) are major parent record corporations, distribution companies, and/or

publishing companies who are responsible for the administration and/or management of the

Infringing Work and the registered writing and/or publishing interest therein.

       58.     As a further testament to the tremendous global scale on which the Infringing

Work has been disseminated and exploited, to date the Infringing Work has been reportedly been

Certified:

             a. three-times Platinum in the U.S. (3,000,000 Certified Units/Sales);

             b. three-times Platinum in Australia (210,000 Certified Units/Sales);




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           c. three-times Platinum in Canada (240,000 Certified Units/Sales);

           d. Platinum in Poland (20,000 Certified Units/Sales);

           e. Gold in France (100,000 Certified Units/Sales);

           f. Gold in New Zealand (15,000 Certified Units/Sales); and

           g. Gold in the United Kingdom (40,000 Certified Units/Sales).

       59.   In addition to garnering massive numbers of streams and/or sales, as well as

spawning a swath of infringing derivative international works that furthered the Infringing

Work’s dissemination and themselves generated significant streams and/or sales, upon

information and belief, the Infringing Work has also been exploited by the Defendants via other

means, such as via live performance and via audiovisual synchronization licensing.

       60.   For example, in a notable instance of audiovisual synchronization licensing of the

Infringing Work, the Infringing Work, including its infringing hook, can be heard prominently

featured as a musical score appearing in the 2019 film “Guava Island,” which was/is distributed

by Amazon Prime Video, stars Defendant Glover alongside global pop phenom Rihanna, has

been the subject of much widespread publicity and promotion, and remains widely streamable by

the public via Amazon Prime’s streaming service. Upon information and belief, since the date of

its public release in the U.S., “Guava Island” has also been accessible for public streaming in

numerous foreign countries including Brazil, Germany, Singapore, France, and Canada, among

others. Upon further information and belief, as parties who possess and/or control and/or

administrate the registered writing and publishing interests in the Infringing Work, all of the

Defendants have reaped significant revenues and profits derived from this international

synchronization license.




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       61.    Though the exact extent to which Defendants Glover, Williams, and/or Göransson

have individually and/or jointly publicly participated in live performances of the Infringing Work

may not be fully ascertainable by Nwosuocha until discovery in this action is complete, it is

presently known that, in 2018 through 2019, Defendant Glover went on the international “This is

America Tour.” During the tour, which was named/branded after the Infringing Work, upon

information and belief as well as publicly-available setlists/recordings, Defendant Glover gave

live performances of the Infringing Work approximately thirty to thirty-five separate times at

concerts dates spanning the United States and various locations in Canada, Australia, England,

and France.

       62.    It is not yet known to Nwosuocha precisely how many total concert tickets were

sold during the entire span of the This is America Tour, or precisely how much gross revenue

was generated from the total sales from the entire span of the tour. Nonetheless, publicly-

available concert box office data reported by Billboard, which does not include sales/revenue

data for the majority of the venues where Defendant Glover performed during the tour, makes

presently knowable that the This is America Tour garnered approximately 190,707 total concert

ticket sales, resulting in a total gross revenue of $16,286,160.00, from the tour performances that

occurred in just twelve out of the thirty total venues that hosted the tour. Because the foregoing

astronomical $16,286,160.00 gross revenue figure represents roughly just 40% (12 out of 30 tour

venues) of the entire tour, it is reasonable to assume that the tour’s total gross revenue, derived in

significant part from Defendants’ infringing use of the Copyrighted Work in the Infringing

Work, far exceeds this figure. Upon further information and belief, as the parties who possess

and/or control and/or administrate the writing and publishing interests in the Infringing Work, all

of the Defendants have reaped significant revenues and profits derived from the tour.




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       63.    Upon information and belief, the Infringing Work was also merchandised in tour

merchandise sold during the tour, and Defendants have derived revenue from this merchandising.

       64.    Upon information and belief, the Infringing Work has also been performed live

outside the context of the This is America Tour, including, but not necessarily limited to, at the

2018 BET Awards.

       65.    Upon information and belief, Defendants Kobalt Music, RCA, Sony Music, YSL,

300, Atlantic, WMG, Roc Nation, Universal, and Warner-Tamerlane (collectively, the “Label

Defendants”) have individually and jointly been responsible for the continuing administration,

display, reproduction, distribution, performance, sale, marketing, promotion, and/or other

exploitation of the Infringing Work. Upon further information and belief, the Label Defendants’

joint and individual infringing conduct in this regard extends to conduct that continues to

infringe upon Nwosuocha’s full ownership of the copyright to the Copyrighted Material,

including, but not limited to, the various examples infringing conduct described above. For

instance, as just one example of Defendant RCA’s, and its parent company Defendant Sony

Music’s, role in carrying out and furthering the continuing infringement of Nwosuocha’s

Copyrighted Work is a press release dated May 6th, 2018 posted publicly to Defendant RCA’s

official website, wherein Defendant RCA: directly promotes both the Infringing Work and the

derivative Infringing Work Music Video; explicitly solicits public streaming of both the

Infringing Work and the derivative Infringing Work Music Video; and explicitly solicits the

public to purchase copies of the Infringing Work. See the May 6th, 2018 RCA online press

release annexed hereto as EXHIBIT G. In other examples, which are but two of numerous

examples where Defendant Roc Nation’s overtly has furthered the continuing infringement, Roc

Nation’s website directs visitors specifically to stream the “Guava Island” film prominently




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containing the Infringing Work and features a “news” update of the Infringing Work’s Grammy

award. Indeed, upon information and belief, all of the Label Defendants, personally and/or

through their subsidiaries, have overtly promoted and marketed multiple instances of the

continuing infringing use of the Copyrighted Material by way of its unauthorized inclusion in the

Infringing Work.

       66.    Upon further information and belief, the Label Defendants are individually and

jointly responsible for the administration and/or distribution of the various streams of revenue

derived from conduct that continues to infringe upon Nwosuocha’s full ownership of the

copyright to the Copyrighted Material, including, but not limited to, the various examples of

infringing conduct described above.

       67.    Upon information and belief, Defendants Glover, Williams, and Göransson, as the

three parties credited with writing the Infringing Work, have continuously derived significant

financial and professional benefits directly resulting from conduct that continues to infringe upon

Nwosuocha’s full ownership of the copyright to the Copyrighted Material, including, but not

limited to, the various examples of infringing conduct described above.

       68.    Further, Defendants Williams and Göransson both took affirmative public steps to

advance their financial interests as credited writers of the Infringing Work by promoting,

encouraging, and/or soliciting the widespread global dissemination of the Infringing Work.

Illustrative examples of such conduct by Defendants Williams and Göransson include, but are

not limited to, Defendant Williams doing a promotional video piece for major streaming

platform Spotify publicly released on or about May 8th, 2018 that solicited end users to stream

the Infringing Work on Spotify, and Defendant Göransson championing the Infringing Work as a

song that “speaks to people; it connects right to your soul. It calls out injustice, celebrates life




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and reunites us all at the same time" directly to the countless viewers of his highly-televised

acceptance speech for the Grammy given to the Infringing Work.

        69.   Upon information and belief, as a direct result of the streaming, licensing, sale,

derivative streaming/licensing/sale/exploitation, synchronization licensing, live performance,

reproduction, marketing, promotion, and/or other exploitation of the Infringing Work, all

Defendants have wrongfully benefited, and continue to wrongfully benefit, from their continued

wrongful uses of Infringing Work and/or the derivative Infringing Work Music Video that both

include material to which Nwosuocha owns full copyrights. Because the foregoing sets forth

only that portion of Defendants’ infringing conduct that has been reasonably discoverable and

ascertainable to Nwosuocha in the time since the Defendants’ infringing conduct first became

public on May 6th, 2018, the foregoing likely may only represent a portion of the totality of the

infringing conduct for which Defendants are liable to Nwosuocha either on individual and/or

joint bases.

        70.   On December 7th, 2020 Nwosuocha's undersigned counsel sent a letter to

Defendants Glover, Williams, Göransson, Sony, and RCA in order to put the Defendants on

formal notice of Nwosuocha’s objection to the Defendants’ unauthorized and infringing

reproduction, publication, promotion, distribution, license, public display, sale and/or

exploitation of the Copyrighted Work. The letter also, in good-faith, sought to provide the

Defendants an opportunity to discuss a pre-suit resolution to the issue of their continuing

infringement that may have avoided the need for Nwosuocha’s within resort to the courts.

Annexed hereto as EXHIBIT H is a true and correct copy of Nwosuocha's counsel's December

7th, 2020 letter to Defendants.




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       71.   Nwosuocha’s counsel received no response to the December 7th, 2020 letter from

any of the Defendants except Defendant Glover, whose counsel, Jonathan D. Davis, Esq. (“Mr.

Davis”), reached out to the undersigned to ask for materials supporting Nwosuocha’s copyright

claims, such as Dr. Swanson’s report, for Defendant Glover’s review. On February 16th, 2021,

given that Defendant Glover had opened the lines of communication but still had failed to

demonstrate an intent to cure, or even temporarily mitigate, the continuing global infringement

of Nwosuocha’s Copyrighted Work, the undersigned sent Mr. Davis a cease and desist letter

demanding that Defendant Glover immediately cease all of his infringing conduct with respect to

the Copyrighted Work, destroy all infringing materials in his possession, custody, and control,

and provide Nwosuocha with a full accounting of all proceeds he derived from the Infringing

Work. Annexed hereto as EXHIBIT I is a true and correct copy of Nwosuocha's counsel's

February 16th, 2021 cease and desist letter. In good-faith, and hoping to convince Defendant

Glover to begin abating the continuing infringement of the Copyrighted Work as soon as

possible, Nwosuocha also soon thereafter provided Mr. Davis with the corroborative materials he

requested for Glover’s review.

       72.   Despite the foregoing two letters sent by Nwosuocha’s counsel, as well as

Nwosuocha’s counsel’s good-faith communications with and informal document disclosure to

Glover’s counsel, to date none of the Defendants have communicated to Nwosuocha any

intention on their parts to cease, desist, and/or otherwise cure any of their continuing willful

infringing conduct with respect to the Copyrighted Work. Nwosuocha is not aware of any

evidence otherwise demonstrating that any of the Defendants have or will cease, desist, and/or

otherwise cure their massive ongoing global infringement of the Copyrighted Work. Given that

the notice provided by Nwosuocha was received by Defendants Glover, Williams, Göransson,




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Sony, and RCA, the remaining co-defendants (as Defendants Glover’s, Williams’, and

Göransson’s publishers and/or record labels and/or distributors, and/or parent corporations

thereof) had reasonable opportunity and cause to learn of Nwosuocha’s notice from Defendants

Glover, Williams, Göransson, Sony Music, and/or RCA. Accordingly, because Nwosuocha’s

notice clearly set forth his objection to the Defendants’ continuing infringement, the Defendants’

continuing infringement after that notice is evidence of the willfulness with which they continue

to engage in their infringement.

        73.    As a result of Defendants’ actions described above, Nwosuocha has been directly

damaged, and is continuing to be damaged, by Defendants’ willful unauthorized and infringing

reproduction, publication, promotion, distribution, license, public display, sale and/or

exploitation of the Copyrighted Work. Defendants have never accounted to or otherwise paid

Nwosuocha for their unauthorized use of the Copyrighted Work.

                      FIRST CAUSE OF ACTION
   (DIRECT, CONTRIBUTORY, AND VICARIOUS COPYRIGHT INFRINGEMENT
                     AGAINST ALL DEFENDANTS)
                        (17 U.S.C. § 101, et seq.)

        74.    Nwosuocha repeats and re-alleges each of the foregoing paragraphs as though

fully set forth herein.

        75.    Nwosuocha is the sole and exclusive owner of the U.S. Copyright in all rights,

titles, and interests in the Copyrighted Work, “Made in America” as written and recorded by

Nwosuocha.

        76.    The Defendants’ unauthorized reproduction, distribution, public performance,

display, creation of derivative works, and other exploitation and/or misappropriation of the

Copyrighted Work infringes Nwosuocha’s exclusive rights in violation of the Copyright Act, 17

U.S.C. § 101 et seq.



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       77.    The Defendants did not seek or receive permission to copy and/or interpolate any

portion of the Copyrighted Work into the Infringing Work, “This is America.”

       78.    The Defendants’ conduct has at all times been knowing, willful, and with

complete disregard for Nwosuocha’s rights.

       79.    As a direct and/or proximate cause of the Defendants’ wrongful conduct,

Nwosuocha has been irreparably harmed.

       80.    The Infringing Work copies quantitatively and qualitatively distinct, important,

and recognizable portions and/or elements of the Copyrighted Work.

       81.    Specifically, the Infringing Work copies distinctive and important vocal elements

of the composition and performance embodied in the Copyrighted Work.

       82.    The central inclusion of the foregoing important vocal elements from the

Copyrighted Work in the Infringing Work has greatly enhanced the musical and financial value

of the Infringing Work.

       83.    From the date of the creation of the Infringing Work, all of the Defendants have

infringed Nwosuocha’s copyright interest in the Copyrighted Work including: (a) by

substantially copying and publicly performing, or authorizing the copying and public

performances, including publicly performing the Infringing Work at radio, live concerts, and on

film, video, television, and otherwise; (b) by authorizing and/or playing a role in the facilitation

of the reproduction, distribution and sale of records and digital downloads containing the

Infringing Work through the execution of licenses, and/or actually selling, manufacturing, and/or

distributing the Infringing Work through various sources; (c) by substantially copying and

participating in the related marketing and promotion of the sale of the records, videos, tickets to

concerts and other performances, and other merchandise; and (d) by participating in and




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furthering the aforementioned infringing acts, and/or sharing in the proceeds therefrom, all

through substantial use of elements of the Copyrighted Work in and as part of the Infringing

Work, packaged in a variety of configurations and digital downloads, mixes and versions, and

performed in a variety of ways including via radio, streaming services, concerts, film, video,

television, and/or otherwise.

        84.    Nwosuocha has received no songwriter credit and no copyright ownership

interests in and for any exploitations of the Infringing Work or any of the works associated with

the Infringing Work.

        85.    The infringement by the Defendants has been, and continues to be, willful and

knowing.

        86.    With knowledge of the infringement, the Defendants have induced, caused, or

materially contributed to the infringing conduct of others, such that they should be found to be

contributorily liable.

        87.    The Defendants had the right and ability to control other infringers and have

derived a direct financial benefit from that infringement such that the Defendants should be

found vicariously liable.

        88.    The infringement is continuing, as the Infringing Work continues to be sold,

licensed, performed, displayed, merchandised, and/or otherwise used and/or exploited by the

Defendants or their agents.

        89.    As a direct and proximate result of the conduct of the Defendants, Nwosuocha has

suffered actual damages including lost profits, lost opportunities, and loss of goodwill, while

Defendants have profited in the amount of hundreds of millions of dollars and to be determined

at trial from their infringement.




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       90.    Pursuant to 17 U.S.C. § 504(b), Nwosuocha is entitled to damages including the

substantial profits of the Defendant, as will be proven at trial.

       91.    In the alternative, pursuant to 17 U.S.C. § 504(c), Nwosuocha is entitled to the

maximum statutory damages of $150,000 per infringement, since the Defendants’ willful and

continuing infringement occurred after Nwosuocha’s full-owned copyrights in the Copyrighted

Work were registered and after the Copyrighted Work had been published and made widely

publicly-accessible.

       92.    Nwosuocha is entitled to his costs, including reasonably attorneys’ fees, pursuant

to 17 U.S.C. § 505.

       93.    Defendants’ conduct is causing, and unless enjoined by this Court, will continue

to cause Nwosuocha irreparable injury that cannot be fully compensated or measured in

monetary terms. Nwosuocha has no adequate remedy at law. Pursuant to 17 U.S.C. § 502,

Nwosuocha is entitled to a permanent injunction prohibiting the reproduction, distribution, sale,

public performance, or other use or exploitation of the Infringing Work, including all derivatives

thereof, in any and all formats, configurations and/or media.

                                      RELIEF REQUESTED

       WHEREFORE, Nwosuocha respectfully requests that judgment be entered against the

enumerated Defendants, as follows:

       A.     A declaration that Defendants have willfully infringed Nwosuocha’s Copyrighted

Work in violation of the Copyright Act;

       B.     A declaration that Defendants are directly, vicariously and/or contributorily liable

for copyright infringement, as applicable;




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       C.        A permanent injunction requiring Defendants and their agents, employees,

officers, attorneys, successors, licensees, partners, and assigns, and all persons acting in concert

or participation with each or any one of them, to cease directly and directly infringing, and

causing, enabling, facilitating, encouraging, promoting, inducing, and/or participating in the

infringement of any of Nwosuocha’s rights protected by the Copyright Act;

       D.        An award of damages pursuant to 17 U.S. § 504(b), including actual damages,

and the profits of the Defendants as will be proven at trial, including all profits and damages

from exploitation of the Copyrighted Work domestically and internationally, as well as any and

all profits and damages in the following categories attributable to the infringement, including but

not limited to:

       (1)       Record sales;
       (2)       Downloads;
       (3)       Ringtones;
       (4)       Ringback tones;
       (5)       Public performance revenues;
       (6)       Digital revenue;
       (7)       Streaming revenue;
       (8)       Synchronization licensing;
       (9)       Merchandising;
       (10)      Public appearances;
       (11)      Endorsements;
       (12)      Sponsorships;
       (13)      Spokesperson work;
       (14)      Touring revenue;
       (15)      Advertising revenue;
       (16)      Appearance fees;
       (17)      Name and likeness income and increase in value;
       (18)      Rights of publicity income and increase in value;
       (19)      Increased value in all Defendants’ publishing and/or record company and/or
                  companies;
       (20)      Increased value of all Defendants’ catalogues;
       (21)      Increased value of music publishing and/or record royalties and rights;
       (22)      Increased value of social media rights, accounts and value;
       (23)      Increased goodwill;
       (24)      Promotional value;
       (25)      Increased value of royalty rate for record deals;



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       (26)   Increased value in distribution deals, negotiating power and reduction in costs;
       (27)   Value of obtaining lower cost of administration fees and/or increased advances
               for publishing deals;
       (28)   Value of obtaining better terms for record company advances and terms and
               multi-record deals;
       (29)   Value of obtaining better terms of publishing and/or recorded master deals for the
               existing catalogue and for future works of Defendants Glover, Williams, and
               Göransson;
       (30)   Increased value in negotiating 360 deals with record companies and/or publishers;
       (31)   Sheet music sales and sheet folio income;
       (32)   Any and all music publisher income;
       (33)   Any and all record master income;
       (34)   Any and all record income;
       (35)   Any and all SoundExchange, BMI, ASCAP, PRS, SESAC, PPL, SOCAN, MCPS,
               Harry Fox Agency, and any and all collection society, mechanical society and
               performance society income worldwide;
       (36)   Any and all producer royalty income;
       (37)   Any and all arrangement income;
       (38)   Any and all income derived from any existing medium or any medium hereinafter
               developed worldwide;
       (39)   Any and all income from any new collection society and/or collection agency to
               be created anywhere in the world, including by the U.S. Congress under the
               Music Modernization Act;
       (40)   Any and all income from any society to which any Defendant belongs or joins in
               the future;
       (41)   Any and all income and/or residuals from SAG-AFTRA;
       (42)   Any and all income from Apple, iTunes, Amazon, Spotify, Pandora, Rhapsody,
               and any and all download and streaming services; and
       (43)   Any and all of Defendants’ equity interests in Spotify, and any other music
               streaming or download services or companies in which one or more Defendant
               has an interest, as it relates to the value from the inclusion of the infringing song
               in the service.

       E.     In the alternative, an award of statutory damages, pursuant to 17 U.S. § 504(c), in

the amount of $150,000 for each act of infringement;

       F.     An award of compensatory and special damages in accordance with proof at trial;

       G.     An award of attorneys’ fees and full costs pursuant to 17 U.S. § 505 and under

other applicable law;

       H.     For pre-judgment and post-judgment interest according to law, as applicable; and

       I.     For such other and further relief as this Court may deem just and proper.



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                             REQUEST FOR TRIAL BY JURY

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Nwosuocha demands a

trial by jury as to all issues triable by jury, as enumerated and set forth in more detail in this

Complaint.

Dated: New York, New York
       May 5, 2021
                                             Respectfully submitted,

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Kidd Wes-Made In America (prod. by Mindlabs) VIDEO IN DESCRIPTION by Kidd Wes | Free Listening on SoundCloud                                                            5/5/21, 11:40 AM



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                 Kidd Wes-Made In America (prod. by Mindlabs)                                                          # Hip-hop & Rap

                 VIDEO IN DESCRIPTION




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                                                           # Clinton     # Drake    # 40   # YesJulz    # Trap




                                                                                                                                2 years ago
                                                                                                                                                       DigitalTraphouse
                                                                                                                                                       Best of the Week Vol. 10
                                                                                                                                                            2       1
                                     Gambino ripped this shit oﬀ you G
                                                                                                                                                       DigitalTraphouse
                                                                                                                                                       Best of the Month Vol. 3 - Sep
                                     Dj wakach at 1:43:                                                                         3 years ago
                                                                                                                                                            3       1
                                     i fw the bass

                                                                                                                                                       Jules Marchisio
                                     girls away at 1:40:                                                                        3 years ago            trap us
                                     loving it already


                                     phelp hawk at 1:09:                                                                        3 years ago
                                                                                                                                                 405 likes
                                     i want it on itunes and spotify


                                     KelseysKicksMusic at 3:10:                                                                 4 years ago
                                     MADE IN AMERICA, FLEX MADE ME A TERRORIST :) REPOST!!


                                     Nolan J Jackman at 3:00:                                                                   4 years ago      170 reposts
                                     Wonderfool voice


                                     mark m fleetwood at 0:11:                                                                  4 years ago
                                     Great job blue flame


                                     ccbutterfield1 at 0:24:                                                                    4 years ago   Go mobile
                                     it!!!!! Masterpiece!


                                     User 151735024 at 3:00:
                                     uper bra låt?? Keep up the god work !
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                              randychetsingh1960 at 0:09:                                            4 years ago   Popular searches
                              Blue the music is banging as always
                                                                                                                   Language: English (US)

                              c g mcdavid68 at 0:51:                                                 4 years ago
                              Is great song for my.


                              neiljeremyhudson17 at 2:38:                                            4 years ago
                              Love it blue


                              D G Linney at 2:36:                                                    4 years ago
                              Soo much talent...~~!!~


                              edforelli at 3:37:                                                     4 years ago
                              this song is amazing , i like


                              Blair T x Panasik at 1:33:                                             4 years ago
                              I look froward! I love this song!


                              ydimirybe at 3:15:                                                     4 years ago
                              Great song and awesome smile emoticon


                              philiphypaoli1988 at 3:03:                                             4 years ago
                       (/     Amazing, it really is


                              yqomibonu58 at 2:14:                                                   4 years ago
                              sneakers on point


                              pat s a cooper at 2:58:                                                4 years ago
                              So excited for you! Good luck!


                              eqokabyvugi at 0:15:                                                   4 years ago
                              uper bra låt?? Keep up the god work !


                              CPBrooks at 3:21:                                                      4 years ago
                              I love this song ***


                              trentnobriggs6 at 2:50:                                                4 years ago
                              it!!!!! Masterpiece!


                              arebylukiwi at 1:52:                                                   4 years ago
                              A great song! Wish you all


                              F z Gossett3 at 1:03:                                                  4 years ago
                              very nice!!!Love it!


                              IJGormley3 at 1:55:                                                    4 years ago
                              Great song and awesome smile emoticon


                              joshlcrook at 2:13:                                                    4 years ago
                              My ambition was always my favorite


                              ocimakiwew56 at 3:22:                                                  4 years ago
                              It's fantastic!! ;D <333


                              uhabezuraty at 2:03:                                                   4 years ago
                              one word AMAZING


                              J L Forrester75 at 0:41:                                               4 years ago
                              good luck guys you deserve it~@#


                              c d webber7 at 0:28:                                                   4 years ago
                              Great job blue flame


                              SIWregget at 0:33:                                                     4 years ago
                              I love this song


                              Silas D D Emmery at 2:25:                                              4 years ago
                              Wonderfool voice



https://soundcloud.com/kiddwesischurch/made-in-america-prod-by                                                                              Page 2 of 3
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Kidd Wes-Made In America (prod. by Mindlabs) VIDEO IN DESCRIPTION by Kidd Wes | Free Listening on SoundCloud                       5/5/21, 11:40 AM



                              punutuw92 at 0:09:                                                     4 years ago
                              Loved the song was good


                              rossenadeau4 at 2:47:                                                  4 years ago
                              perfect song. one of my favourites


                              jacob fritshaw92 at 3:37:                                              4 years ago
                              Beautiful song well song


                              ragubuxefi at 3:00:                                                    4 years ago
                              So excited for you! Good luck!


                              austinbescobedo1983 at 1:41:                                           4 years ago
                              Again and again I Loved it


                              ywimepycyw1964 at 3:29:                                                4 years ago
                              My one and only voice...Love this voice


                              Jasmine at 2:33:                                                       4 years ago
                              bad ass rap <3


                              Sheila at 1:50:                                                        4 years ago
                              Lyrical GENIUS




                                                                                                                   Kidd Wes
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https://soundcloud.com/kiddwesischurch/made-in-america-prod-by                                                                           Page 3 of 3
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Certificate of Registration
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                                                                                  Effective Date of Registration:
                                                                                  May 24, 2017
                  United States Register of Copyrights and Director




     Title
                          Title of Work:     Eleven: The Junior Seni or Year


     Completion/Publication
                 Year of Completion:         20 I 7

     Author

                     •           Author:     Emelike Wesley Nwosuocha
                             Pseudonym:      Kidd Wes
                         Author Created:     sound recording
                               Citizen of:   United States
                            Domiciled in:    United States
                              Year Born:     1987
                          Pseudonymous:      Yes

     Copyright Claimant

                 Copyright Claimant:         Emelike Wesley Nwosuocha
                                             2237 NE 42nd Ave, Homestead, FL, 33033, United States




      Rights and Permissions __________ __________ ___

                                   Name:     Emelike Wesley Nwosuocha
                                   Email:    kiddwes@gmai l.com
                               Telephone:    (786)531-4022
                          Alt. Telephone:    (786)525-8939
                                 Address:    2237 NE 42nd Ave
                                             Homestead, FL 33033 United States

     Certification


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                      Registration #:   SRu00 1301922
                   Service Request#:    1-52 1928878 1




Emelike Wesley Nwosuocha
2237 NE 42nd Ave
Homestead, FL 33033 United States
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    This guy has talent and I can't wait to see how famous he'll become!
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              Kidd Wes                                                             4 years ago

              Kidd Wes-Made In America                                        # Hip-hop & Rap

              (prod. by Mindlabs) VIDEO
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Kidd Wes
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                             DD7@F)I3@EA@#736 @H7EF;93FAD
                                   $3D5GED3@FEEA5;3F7
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         @    F:7D3BB7D";66-7E?7>;=7%IAEG35:3BDA6G5763?GE;5H;67A
F;F>76O$367;@?7D;53P;@I:;5::77JB>AD7E8D;53@?7D;53@;67@F;FK3@6;FE
D7>3F;A@E:;BI;F:F:7    BA>;F;53>53?B3;9@47FI77@;>>3DK>;@FA@3@6A@3>6*DG?B
  @    :;>6;E:3?4;@AA@3>6>AH7DD7>73E763E;?;>3D?GE;5H;67AF;F>76O*:;E;E
?7D;53P @366;F;A@FAF:73@3>A9AGEF;F>7E3EB75FEA83?4;@AREB7D8AD?3@573D7
EFD;=;@9>K5A?B3D34>7FA-7EREB7D8AD?3@57F:7?3F;53>>K>KD;53>>KH;EG3>>K?7>A6;53>>K
3@6D:KF:?;53>>K*:73;?A8F:;ED7BADFFA67F3;>F:7E;?;>3D;F;7E47FI77@";66-7ERE
O$367;@?7D;53P3@63?4;@AREO*:;E;E?7D;53P 
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                                "
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        );@57$*,8;DEF>3G@5:76;@FAEG4GD43@:A?7E;@F:7  EF:7?GE;5H;67A
FD3@E;F;A@768DA?3OD7BD7E7@F3F;A@PA83>;H7B7D8AD?3@57FA3@AF:7D?76;G?F:DAG9:
I:;5:3DF;EFE5AG>67JBD7EEF:7?E7>H7E%A>A@97DI7D7;EEG7EA897@67DD357D7>;9;A@
E7JG3>;FK7F55A@8;@76FA3@6@79AF;3F76;@EA@;5?3F7D;3>>KD;5E3>4G?3DF3@6AF:7D
?7D5:3@6;E7*:7E7E:ADF8;>?EI7D7@AI4DA3653EFFA?;>>;A@EA8F7>7H;E;A@E;@F:7
+@;F76)F3F7EDF;EFE>;=7$36A@@3*:7GDKF:?;5E3@6*I;EF76);EF7D@79AF;3F76
97@67DE5D;BFEI:;>73DF;EFE>;=7$;5:37>!35=EA@:;D7683?AGE:ADDAD6;D75FAD!A:@
#3@6;EFABDA6G57:;EF:;DF77@?;@GF7>A@9?3EF7DB;757O*:D;>>7DP @AF:7DIAD6EF:7
?GE;5H;67A4753?73@AF:7DFKB7A8OF7JFPF:73DF;EFE;?B>;5;F>KEA?7F;?7E7JB>;5;F>K
7@5AGD39767H7@67?3@676F:73G6;7@57FA;@F7DBD7F7EB;F7F:7835FF:3FFA63K
$*,D3D7>KE:AIE?GE;5H;67AEF:797@D75A@F;@G7EF:DAG9:A@>;@7EFD73?;@9
B>3F8AD?EEG5:3E.AG*G47,7HA3@63;>K?AF;A@

         @F:753E7A8";66-7E3@6:;>6;E:3?4;@AF:7H;67AE3D7;@F79D3>FAF:7
?73@;@9735:3DF;EF;@F7@6EFA5A@H7K#;=7?AEF:;B:AB>KD;5EF:7?73@;@9;@F:7
H;67A;E5A67643E76A@?7F3B:AD;53>3@6>;F7D3>3EEA5;3F;A@ED3F:7DF:3@36;EF;@5F
@3DD3F;H7*:;ED7CG;D7EA@7FA7;F:7D43E7F:7H;EG3>E3@6IAD6EA@F:7;DAI@
7JB7D;7@57EAD47O;@F:7=@AIPBD;HKFAF:73DF;EFRE;@F7@F;A@E&@753@3D9G7F:3FF:7
H;EG3>5A@F7@FA84AF:A8F:7E73DF;EFERH;67AE:3H7>;FF>7FA@A6;EF;@5F@3DD3F;H74GF3D73
E7D;7EA8;?397E<GJF3BAE76;@363637ECG783E:;A@F:3FI:7@B>3K76;@D73>F;?7
3>A@9I;F:F:7>KD;5E3@6EA@;5?3F7D;3>D7CG;D7F:7>;EF7@7DFABGFF:7B;757EA8F:7
OBGLL>7PFA97F:7D
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ADF:7BGDBAE7EA8F:;ED7BADFF:73GF:ADEGE7F:73DF;EFEREF397@3?7ED3F:7DF:3@F:7;D>793>@3?7E
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         *:7>KD;5EA83?4;@AREEA@95A@F3;@@AEFADKADB>AF>;@7@AD6AF:7K9;H7F:7
3G6;7@573@K?3<AD5>G7E3EFAF:7@3DD3F;H7A8F:7EA@9AI7H7DF:7H;67A;E8;>>76
I;F:H3D;AGE;?397ED787D7@5;@9F:7:;EFADKA8D35;EF47:3H;ADFAI3D6E8D;53@
?7D;53@E*:73DF;EF?3=7EH;EG3>D787D7@57EFAF:7OAA@357P8DA?F:7;@83?AGE
AA@:;5=7@ @@$7@G  3@6!;?DAIBAE7  GE76;@>35=8357$;@EFD7>EK
GDF:7D?AD7:7D787D7@57EF:7?GD67DA8?7?47DEA8F:7??3@G7>$5:GD5:;@
:3D>7EFA@4K-:;F7)GBD7?35;EF %3F;A@3>;EFK>3@(AA8;@               35:A8
F:7E7;E7JBD7EE76;DA@;53>>K3?4;@ABAE7E3E!;?DAI)77;9GD7E 3@6 3
I;FFKFD;5=EF7D5:3D35F7D<GEF478AD7E:AAF;@939G;F3D;EFB>3K;@9=AD3>;=73DB799;3F76
B3FF7D@E;@3?3<AD?A67NA8F7@3EEA5;3F76I;F:O:3BB;@7EEPADOBAE;F;H;FKP;@35:3;D
I;F:3:3@69G@ !GEF478AD7F:;EH;A>7@F35F:763@57EE:;DF>7EEI;F:6;887D7@F
7JBD7EE;A@EA@:;E8357)A?7F;?7E:7;EE?;>;@9I:;>7AF:7DF;?7E:7:3E3E5AI>AD
B7@E;H7835;3>873FGD7E7?3=7EF:738AD7?7@F;A@76OAA@357P)77;9GD7E 3@6
  3FF:;EF;?7GDF:7DF:7O:3D>7EFA@5:A;DP?7?47DE3D73>>E?;>;@93@6E;@9;@9
O&AA:9AFFAF7>>EA?74A6KD3@6?3FA>6?7Q7FKAGD?A@7K>35=?3@RP<GEF478AD7
3?4;@A9G@EF:7?6AI@*:79G@;E;??76;3F7>KB>3576;@3D765>AF:3EI3EF:7
AD;9;@3>9G@:7GE76FA=;>>F:79G;F3D;EFI:;5:EK?4A>;L7E53D;@98ADF:79G@?AD7F:3@
F:7B7AB>7F:3FI7D7<GEF=;>>76*:;E;EA8B3DF;5G>3D;@F7D7EF3E;F3>>G67EFA5A@E7DH3F;H7
EGBBADF8ADF:7%(I:;5:;E5A@E;67D7635ADDGBFAD93@;L3F;A@4K>35=#;H7E$3FF7D
3EI7>>3E?3@K'DA9D7EE;H7BA>;F;5;3@E3@6HAF7DE @F:;E53E7F:7%(3@6
5A@E7DH3F;E?3D7-:;F7EFDG5FGD7EF:3FABBD7EE8D;53@?7D;53@E3@6'7AB>7A8
A>AD *:7835FF:3FF:75>AF:;ED76F:75A>ADA8F:7&'3@6A@3>6*DG?BRE$
:3FED7;@8AD57EF:7>;@=EFA5A@E7DH3F;E?*:7E75D;F;CG7E3D73;?763FF:7EFDG5FGD7A8
-:;F7@7EE7J;EF;@9BAI7DEFDG5FGD7E?AEF>KB7DB7FG3F764K-:;F7?7@3@6IA?7@
I:;5:;EDAAF76;@?7D;53RED35;EFB3EFA@7A8I:;5:>35=4A6;7E:3H7477@67D;676
3@667?A@;L76I:;>7E;?G>F3@7AGE>KE7DH;@93EF:7?3;@EAGD57A87@F7DF3;@?7@F
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 *:7=AD3;E3?G>F;EFD;@9L;F:7DB>3K764KF:7!3>;A8F:7$3@6;@=33@6D7>3F765G>FGD7E*:7?3<AD;FKA8
E>3H7E;@F:7+@;F76)F3F7EI7D74DAG9:F8DA?F:7)7@793?4;3D79;A@A8-7EF8D;53I:7D7$3@6;@=3
5G>FGD7;E?AEFBD7H3>7@F*:7!3>;3D7=@AI@3EAD3>:;EFAD;3@E3@6=77B7DEA8$3@6;=35G>FGD7
  @F:;ED7BADFF:7F7D?'7AB>7A8A>ADD787DEFA@A@-:;F7?;@AD;F;7EI:A6A@AF5A@E;67DF:7?E7>H7E
8D;53@?7D;53@I:;>7>35=D787DEFA3>>@A@-:;F7?;@AD;F;7E;@5>G6;@98D;53@?7D;53@E

  @F:;E3DF;5>7-:;F7@7EE6A7E@AFA@>KD787DFA-:;F7?7@3@6IA?7@4GFF:AE7I:AEGBBADFD35;EF
EFDG5FGD7EF:3F:3H7FD36;F;A@3>>K47@78;FF76-:;F7?7@3@6IA?7@3@6ABBD7EE768D;53@?7D;53@E3@6
'7AB>7A8A>AD
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)AGD57:FFBE 7@I;=;B76;3AD9 I;=; !;?2DAI25:3D35F7D ?76;3 ;>7*:A?3E(;57    <B9
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;9GD7 OAA@357P8DA?F:7AD;9;@3>AA@:;5=7@ @@?7@G




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    )AGD57:FFB 763@E;76G E>;67E:AI H;7I7D 736D78;6%$    2D78 
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         Case 23-703, Document 104, 11/07/2023, 3588268, Page61 of 173
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        );?;>3D>K";66-7EREH;67A5D;F;CG7E-:;F7@7EEF:DAG9:?A5=;@9F:75:A;57EA8
F:7     7>75F;A@$G5:A8F:7;?397DK5A?BD;E7EB7AB>76D7EE76;@53D;53FGD7
5AEFG?7EA8;>>3DK>;@FA@3@6A@3>6*DG?B<GJF3BAE76393;@EF5>AI@E3@693@9EF7D
8;9GD7EI;F:9G@E*:7>KD;5E5A@E;EFA8FKB;53>4A3EF;@9 FA3EF;@94K3D3BB7DA@7;@
I:;5:3D3BB7D4A3EFE34AGF:;E355A?B>;E:?7@FE4GFAF:7DF:3@O$3=7?7D;53D73F
93;@P;@F:7>3EF>;@7A8F:7EA@9F:7D73D7@AAGFEF3@6;@9BA>;F;53>D787D7@57E F;EF:7
;?397DKF:3F:A>6EF:7@3DD3F;H7FA97F:7D3@6>;=73?4;@AREH;67A?G5:A8F:AE7
>KD;5E3@6;?397E3D7BD7E7@F76;DA@;53>>K
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        *:7H;67A479;@EI;F:";66-7EEF3D;@9;@5D76G>AGE>K3F*,;?397EA8@7IE
736>;@7E34AGF>;@FA@RE7?3;>E*DG?B?A5=;@936;E34>76D7BADF7D3@6!3?7E
A?7KBDA@AG@5;@9>;@FA@RE;@@A57@57I:;5:;E8A>>AI764K3@;?397A83?3@;@3
5>AI@EG;F   %7JF3B7DEA@;@3*DG?B5AEFG?738F7DEF3D;@93F3B:AFAA8
:;?E7>8I;F:3>;=7>KG@67D3979;D>3@3>>GE;A@FA*DG?BREB76AB:;>;5EF3F7?7@F34AGF:;E
I;>>;@9@7EEFA:3H7E7JI;F::;E63G9:F7D H3@=3;8F:7KI7D7@RFD7>3F76;E=;6@3BB764K
93@9EF7DE4753GE73E75GD;FK9G3D6I3E6;EFD35F764K353>>A@:;E57>>G>3DB:A@7  
  B7DEA@;@3>;@FA@5AEFG?7;EF:7@E77@>AA=;@93FO>3EE;8;76P7?3;>EA@:7D
?3;>355AG@F3D787D7@57FA:7DGE7A8A88;5;3>7?3;>5ADD7EBA@67@57A@3@A@
9AH7D@?7@FE7DH7D3@6;EEG4E7CG7@F>K=;6@3BB764KF:7E3?79DAGBA893@9EF7DE
  *:7KB>357:7D;@F:7E3?753D3EA@3>6*DG?BF  3B7DEA@;@3
5>AI@?3E=;EE77@I;F:39G@FAF:7;D8AD7:736*:7BA>;F;53>53D;53FGD7E<GJF3BAE76
393;@EF5>AI@E;E3EF3F7?7@F34AGFF:7D;6;5G>AGE@7EEA8BA>;F;5E4GFF:AE7BA>;F;5;3@E
3>EAD7BD7E7@FBAI7D3@6;@B3DF;5G>3D-:;F7@7EE
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        EBD7H;AGE>K?7@F;A@76F:7>KD;5E5A@F3;@>;FF>7BA>;F;53>?3F7D;3>:AI7H7DF:7K
3D73E;DA@;53EF:7;?397E-7ED3BE;@34A3EF8G>?3@@7DFKB;53>A8D3BB7DE;@:;B:AB
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         >35=3@6I:;F77@L R??3=;@935:7EE?AH7+@:
           R?DG@@;@9F:75;FK R??3=;@9?K@7JF?AH7-:A3
         
         @69AF3F;9:F9D;B3@6F:7D7IA@RF47@A7H;67@57
         AI8G@@K &!R76F:793?73@6;FE77?EFA?3=7
         &:I:3F3D7>7H3@57
         '7EE;?;EF@;993EKAGE:AG>6<GEF5:7D;E:F:;E
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  @F:7E7>;@7E-7E;E<77D;@93FEF7D7AFKB;53>D3BB7DE3@6:;?E7>84KD787DD;@9FA:;?E7>8
3E&!3@+@5>7*A?8;9GD7FA67E5D;47:;ED;E7FAF:7FAB47EF;@9AF:7DD3BB7DEI:;>7
E;?G>F3@7AGE>KI3D@;@9F:7?FAF3=7:;?-7EE7D;AGE>K*:7;?397E3@6F:7>KD;5E
5A;@5;67:7D7*:7BA>;F;5;3@E3D75>AI@E4GFF:7K@776FA47F3=7@E7D;AGE>K4753GE7
F:7KD7BD7E7@F-:;F7@7EE3@6?7D;53RED35;EFB3EF-7E5A@5>G67EF:7E7F:AG9:FE
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9D73F393;@434KF:3FRE3>>;FF3=7EP*:7F7D?O!3=7EP;E5A678ADF:7BA>;57I:AE7
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3@6*DG?BREBA>;F;53>B>3F8AD?:3H7477@5D;F;5;L764KF:7>35=#;H7E$3FF7D?AH7?7@F
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EKEF7?F:DAG9:3@;?397A83KAG@9>35=?3@47:;@634D;697I;F:O43DEP:A>6;@93
57>>B:A@7*:;E;E355A?B3@;764KF:73?4;9GAGE>;@7OF:;E357>>KPD787DD;@9FA4AF:3
57>>B:A@73@63<3;>57>>N  GDF:7D3?4;@A;EDG@@;@93I3K8DA?3-:;F7?A43F
F:77@6A8F:7H;67AI:;>7F:78A>>AI;@9;DA@;5IAD6E3D7EG@94K.AG@9*:G9  
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D3B;63@66D3EF;55:3@97A8F:AE7I:A6A@AF:;@9FABDAF7EF;@7CG3>;FK3@6-:;F7@7EE
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=7KA8F7@3EEA5;3F;76I;F::3BB;@7EE355A?B3@K;@9F:7B>3EF;5>KD;5EO-7<GEFI3@FFA
B3DFKB3DFK<GEF8ADKAGP @-7EREH;67AF:7D3BB7DI:A;EF3>=;@9A@F:7B:A@7;@
5A676>3@9G397D7BD7E7@FEA@7A8F:7EF7D7AFKB;53>D3BB7DEF:73DF;EF-7E
5A@E;EF7@F>KFAKEI;F:;@:;E34AH7?7@F;A@764A3EF;@9)75A@6F:75D;?;@3>35FE393;@EF
F:79G;F3D;EF;@3?4;@AREH;67A3@6F:7D3BB7D;@-7EREH;67A53@47E77@3E3@
7J75GF;A@D7BD7E7@F;@9-:;F7@7EEAD7J;EF;@9BA>;F;53>EKEF7?BD7<G6;576393;@EF
8D;53@?7D;53@E3@6'7AB>7A8A>ADA8F:AE7I:A:3H7397@5KFAG@;F73@6
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-:;F7@7EE;@F:7+)
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47;@9B7D875F>KNAD@73DB7D875F>KN;@FG@7I;F:357DF3;@=7KAD?A63>;FKNEG5:3E
AB7D3AD5>3EE;53>B7D8AD?3@57BD35F;57*:;E@AFFAE3KF:3FD3BB7DEB3K@A?;@6FA3
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5A@E;EF7@F>KE;@9;@9 D3BB;@9EB75;8;5B;F5:7E;7N L*:;E8A5GEA@D:KF:?
AH7DEB75;8;5?7>A6;5B;F5:7E;E=@AI@3E3@$RED3BB7DREO8>AIP55AD6;@9FA
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3EB75FEA8D3BBDA6G5F;A@3@6D757BF;A@3@63@K6;E5GEE;A@A8D3BBDA6G5F;A@F:3F
F3=7E?GE;53>BA7FEE7D;AGE>K67?3@6E3HA534G>3DKA88>AIM FF:GE53@@AF47
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D3D7D7@F;D7EA@9ENI:7D7F:7$GE7E@AF:;@94GFFD;B>7FE;@F:7;D8>AIP 4;6 
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FD3@EBAE76GBA@7I:A>7EF7BFA?3F5:F:7E3?7EF3DF;@9B;F5:3E3?4;@A3@6
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@73D>K;67@F;53>;@F;?;@967EB;F73E;9@;8;53@F6;887D7@57;@F7?BA-7EREEA@9;E
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8A>>AI;@98;9GD7EH;EG3>;L7F:7E;?;>3D;F;7E3@66;887D7@57E;@8>AI3@6F7?BA;@
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3?4;@ARED7EB75F;H7EA@9E3FF:7;DAD;9;@3>F7?BA;9GD7;E3I3H78AD?A8735:
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E>AI;@96AI@-7EREHA53>EFA       '$F:7EG4E7CG7@FB:D3E7E3D7?G5:5>AE7D
FA97F:7DAI7H7D;9GD767?A@EFD3F7EF:3F67EB;F7F:7E;9@;8;53@F6;887D7@57;@
F7?BAF:78>AIEA8 735:D3BB7D>;@7GB3>?AEF7J35F>KF:7D7;EA@>K3 E75A@6
6;887D7@57*:;E;E@AF6;E57D@34>7FAF:7:G?3@73D;@D73>F;?7 @EG?F:78>AIA8
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67?A@EFD3F7F:7E7D:KF:?;5GFF7D3@57E;@I3H78AD?*:7?3;@6;887D7@5747FI77@F:7
FIA;EB;F5:-7ERE;E3>AI7DB;F5:I:;>73?4;@ARE;E3:;9:7DB;F5:3@6BAEE;4>K
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EB75;8;5B;F5:7E;@F:7355A?B3@;?7@F3D7;@F:7EK@F:7E;L7643EEI:;5:3>F7D@3F7E
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                                                           HIP-HOP




              This Is Earth: Watch 12 Global Remixes of Childish
                          Gambino's 'This Is America'

                                                      By Gil Kaufman
                                                          8/2/2018
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       I-NZ, "THIS IS IRAQ"

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                                                         ARTIST MENTIONED




                       Childish Gambi…


       From China to Iraq, Brazil and Nigeria, the world has given the tune its
       own spin.

       When Donald Glover dropped the powerful "This Is America" video back in early May the surprise

       Childish Gambino track immediately racked up way more YouTube views than any of the
       rapper/actor's other videos. But in addition to making a stark, funky statement on the state of the

       nation, the unapologetically blunt images of gun violence and allusions to racial proÕling also

       opened a Pandora's box of catharsis for budding rappers across the globe to use "America" as a
       template to dance through their own pain and strife.


       On Wednesday's (Aug.a1)aedition ofaPRI's The World,asome of the most striking remixed versions of
       the song and video from Iraq, Sierra Leone, Nigeria and France were proÕled as a doorway into how

       Gambino's mixture of elegant beats and in-your-face imagery has inspired artists around the world.
       From "This Is Nigeria," which weaves some traditional instruments over lyrics about political and

       police corruption to the violence against women in "This Is South Africa" and the war-torn chaos of

       "This Is Iraq," each video and song uses the song as a template to speak on national issues.




         =                Donald Glover Doesn't Want to Say What 'This Is America' Is About


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       "Take your clothes oà (rape), Take a photo (rape)/ I'm so petty, they don't get it," the MCain the Iraq
THREE SIXTY




       video raps as a hooded Õgure in the back VIEW
                                                alludes
                                                     AL L to the Abu Ghraib prisoner abuse scandal V I EW ALL
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       involving U.S. troops in 2003. The range of styles and customization (including some that are more
       like pointedaparodies than political statements) speaks to the song'sauniversal message, but the

       power of each remake is in the artist's inspiration to speak through the melody of Gambino'saworld-

       beat-infused track.


       Check out 12 of theabest "America" remixes below.


       This Is Sierra Leone




       This Is Nigeria




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                        Childish Gambino's 'This is America' is YouTube's Biggest First Week Debut This Year




       This Is Brazil




       This Is Iraq




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       This Is Barbados




       This Is Malaysia




       This Is South Africa


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                    Childish Gambino's 'This Is America' Is A Stunning Statement on Brutality, Gun Control: Watch




       This Is Afghanistan




       This Is Uganda




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       This Is Ghana




       This Is France




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       This Is India




       By Gil Kaufman
                                                                                              f     https://www
       8/2/2018




       WATCH NOW
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              VIDEOS



              Pete Davidson Recalls His Talk With Eminem After Impersonating Him on 'SNL' |
              Billboard News
              6 hours ago                                                                                         0




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                                                   Gambino
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                               Download Full
                               Press Release
                                                   Video
                                                   “This Is
                                                   America”

                                                   CLICK HERE TO LISTEN AND
                                                   WATCH THE VIDEO DIRECTED BY
                                                   HIRO MURAI

                                                   [New York, NY – May 6, 2018]
                                                   Today, Grammy, Golden Globe and
                                                   Emmy Award winning recording
                                                   artist, actor and producer Childish
                                                   Gambino (né Donald Glover)
                                                   releases a new song and video
                                                   entitled “This Is America.” Click
                                                   here to listen and watch the
                                                   captivating video directed by Hiro
                                                   Murai.
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                                  Gambino announced new tour
                                  dates with Vince Staples, which
                                  will follow the ¦rst leg of his
                                  previously announced tour with
                                  Rae Sremmurd. Produced by Live
                                  Nation in partnership with Wolf +
                                  Rothstein, the tour will now visit
                                  19 cities across North America,
                                  kicking off in Atlanta on
                                  September 6 and wrapping in
                                  Nashville, TN on October 12. See
                                  below for updated tour dates.

                                  Gambino’s successful live music
                                  production PHAROS, returns for
                                  its second installation this year in
                                  New Zealand on November 23, 24
                                  and 25. More information and
                                  tickets are available now through
                                  the Pharos Earth mobile app
                                  https://pharos.earth.

                                  Childish Gambino with special
                                  guests Rae Sremmurd and Vince
                                  Staples tour dates:

                                  09-06 Atlanta, GA – In¦nite Energy
                                  Arena $

                                  09-08 Chicago, IL – United Center
                                  $

                                  09-10 Toronto, Ontario – Air
                                  Canada Centre $

                                  09-12 Boston, MA – TD Garden $

                                  09-14 New York, NY – Madison
                                  Square Garden $
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                                09-15 New York, NY – Madison
                                Square Garden $

                                09-18 Philadelphia, PA – Wells
                                Fargo Center $

                                09-19 Washington, DC – Capital
                                One Arena $

                                09-22 Houston, TX – Toyota
                                Center $

                                09-23 Dallas, TX – American
                                Airlines Center $

                                09-26 Inglewood, CA – The Forum
                                $

                                09-27 Oakland, CA – Oracle Arena
                                $

                                09-29 Seattle, WA – Key Arena $

                                09-30 Vancouver, British
                                Columbia – Rogers Arena $

                                10-02 San Jose, CA – SAP Center
                                at San Jose ^

                                10-03 Inglewood, CA – The Forum
                                ^

                                10-05 Glendale, AZ – Gila River
                                Arena ^

                                10-09 Denver, CO – Pepsi Center ^

                                10-12 Nashville, TN – Bridgestone
                                Arena ^
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                                                               Vince
                                 Staples

                                 Stream/purchase “This Is
                                 America” –
                                 http://smarturl.it/TcIgA

                                 *”This      America” is cwt
                                             America”
                                 'lt"This Is America"    nott the ¦rst
                                                                  first
                                 o¨cial
                                 official single from Childish
                                 Gambino’s
                                 Gambino's upcoming album on
                                 Wolf
                                 Wolf++ Rothstein/RCA Records.
                                                          Records.


                                 -Keep- up-with
                                            --  Childish
                                                  ---    Gambino:
                                                          ---

                                 http://childishgambino.com

                                 http://facebook.com/donaldglover

                                 http://instagram.com/childishgambino

                                 http://twitter.com/donaldglover




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             Childish    Childish  Childish             Childish
ÁDonald      Gambino     Gambino   Gambino’s            Gambino
Glover       Receives    Releases  “This Is             Debuts
Presents     5           A         America”             At #1 On
“3.15.20”    Grammy      Summer    Certi¦ed             The
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             Song Of     And                            America”
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             And Best    Like
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                                                       NEW YORK. NY I 0036
     MICHA EL T JACCARINO
        IMRAN H ANSARI                              TELEPHONE: ( 2 1 2 ) 486· 001 1                         OF COUNSEL
       A NDREA M . ARRIGO
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      DIANA FABI SAMSON                             FACSIMILE: (2 1 2 ) 750-8297
                                                                                                        AN TOINETTE LANTERI
       SENIOR COUNSEL                                  WWW .AIDALALAW .COM                                WI LLI AM R SANTO
        L OUIS R AIDALA                                                                                   P ETER 5 THOMA S
      JOSEPH P BARAT TA                                                                                LAWRENCE SPASOJEVICH



                                                                      December 7, 2020

              Via Certified Mail
              Sony Music Entertainment                                 RCA Records
              c/o Business & Legal Affairs                             25 Madison Avenue
              25 Madison Avenue                                        New York, NY 10010
              New York, NY 10010

               Donald McKinley Glover, II                              Jefferey Lamar Williams
               c/o Ziffren Brittenham LLP                              c/o United Talent Agency
               1801 Century Park W.                                    9336 Civic Center Drive
               Los Angeles, CA 90067                                   Beverly Hills, CA 90210

               Ludwig Emil Tomas Göransson
               c/o Amos Newman
               William Morris Endeavor Entertainment
               9601 Wilshire Blvd, 8th Fl
               Beverly Hills, CA 90210

                         Re:     Infringement of Copyright Owned by Emelike Nwosuocha

              Dear Sir or Madam:

                      Please be advised that our firm represents Emelike Nwosuocha, a professional recording
              artist who performs under the stage name “Kidd Wes.” Mr. Nwosuocha has retained our firm to
              investigate and pursue a copyright infringement claim against you in regard to the unauthorized
              use of protected elements of Mr. Nwosuocha’s copyrighted sound recording entitled “Made in
              America” for the purposes of composing and recording the 2018 Childish Gambino song entitled
              “This is America.”

                    Child Gambino’s “This is America” contains certain distinct thematic, lyrical, rhythmic,
              and melodic central elements that are strikingly similar to those found in Mr. Nwosuocha’s
              “Made in America,” which was composed, recorded, widely publicly-distributed, and


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    copyrighted well-before “This is America.” The glaring similarities between unique shared
    central elements of the two songs - especially, but not only, unmistakable in the songs’
    respective chorus sections - are blatant to a degree beyond coincidence; no listener comparing
    the two songs, whether layperson or musicologist, could reasonably conclude otherwise.

            There is no question but that these materials are substantially similar to the copyright-
    protected work of Mr. Nwosuocha, and that you had access to Mr. Nwosuocha’s work, which
    has been continually available for public access on YouTube, among other major streaming
    platforms, since as early as November 9th, 2016. Furthermore, Mr. Nwosuocha has reserved all
    of its rights in its works under copyright and has not authorized you to reproduce, publish,
    provide, distribute, transmit, display, publicly perform, or otherwise make any use of such
    works. Therefore, your use of these works is a clear infringement of Mr. Nwosuocha’s
    copyrights in violation of Sections 106 and 501 of the federal Copyright Act.

            As a result of your unauthorized use of Mr. Nwosuocha’s copyright, Mr. Nwosuocha has
    suffered significant damages. Because Mr. Nwosuocha’s copyrights were registered prior to your
    infringing activity, his damages also include those statutorily provided for under the Copyright
    Act.

            Prior to commencing a court proceeding, we are herein affording you an opportunity to
    discuss a pre-suit resolution so that both parties may avoid the need for lengthy, and likely
    costly, litigation and public scrutiny.

           Please contact our office to discuss further. Should we fail to hear from you or your legal
    representative within ten (10) business days of the date of this letter, we will assume that you are
    not interested in resolving this matter; we will proceed without further notice, and take all
    necessary measures to protect our client’s rights and interests under the law.

            The above is not an exhaustive statement of all the relevant facts and law, and Mr.
    Nwosuocha expressly reserves all of his equitable and legal rights and remedies, including the
    right to seek injunctive relief and recover monetary damages.



                                                         Very Truly Yours,


                                                                 /s/ Imran H. Ansari
                                                                 Imran H. Ansari, Esq.




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 JOSEPH P. BARA TT A                                                                              LAWRENCE SPASOJEVI C H




                                                                                  February 16, 2021


           VIA EMAIL

           Jonathan D. Davis, P.C.
           Jonathan Davis, Esq.
           10 Rockefeller Plaza, Suite 1015
           New York, New York 10020
           jdd@jddavispc.com

                     Re:    Cease and Desist - Infringement of Copyright Owned by Emelike Nwosuocha

           Dear Mr. Davis:

                   I write as counsel for Emelike Nwosuocha, a professional recording artist who performs
           under the stage name “Kidd Wes,” in follow-up to a letter I sent you, dated December 7, 2020, to
           put you on notice of Mr. Nwowsuocha’s retention of this firm to investigate and pursue a
           copyright infringement claim against you regarding the unauthorized use of protected elements
           of Mr. Nwosuocha’s copyrighted sound recording entitled “Made in America” for the purposes
           of composing and recording the 2018 Childish Gambino (Donald Glover) song entitled “This is
           America.” That previous letter’s stated purpose was to afford you an opportunity to discuss a
           pre-suit resolution in good-faith, enabling both parties to avoid the need for lengthy, and likely
           costly, litigation and public scrutiny. We look forward to discussing this with you, but we also
           would like to reiterate our client’s position prior to our discussion.

                   Mr. Nwowsuocha herein demands that Donald Glover, et al, immediately cease the
           infringing activity with regard to his copyright, desist from such infringing activity in the future
           and comply with Mr. Nwowsuocha’s other requirements set forth in this letter.

                   As stated in my previous letter, Mr. Nwowsuocha composed, recorded, widely publicly-
           distributed, and copyrighted the infringed work, entitled “Made in America,” well-before the
           infringing work, “This is America,” was produced and/or publicly distributed. Mr. Nwowsuocha
           has exclusive rights per US copyright in the infringed work, which has been widely distributed
           by Mr. Nwowsuocha through YouTube, Apple Music, Spotify, Soundcloud, and Tidal, among
           other platforms, and is of substantial value to Mr. Nwowsuocha. Mr. Nwowsuocha has registered
           the copyright in the infringed work, “Made in America,” with the US Copyright Office.
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                 Mr. Glover, et al, have published, distributed, transmitted, disseminated, and publicly
         performed materials that incorporate substantial portions of Mr. Nwowsuocha copyright work.
         Specifically, as you know, the infringing work, “This is America,” contains certain unique
         distinct thematic, lyrical, rhythmic, and melodic central elements that are strikingly and
         unmistakably similar to those found in Mr. Nwosuocha’s “Made in America” to a degree clearly
         beyond coincidence. No listener comparing the two songs, whether layperson or musicologist,
         will reasonably conclude otherwise.

                 There is no question but that “This is America” is substantially similar to the copyright-
         protected works of Mr. Nwowsuocha, and that Mr. Glover, et al, had access to Mr.
         Nwowsuocha’s infringed work that has been publicly accessible on all major music streaming
         platforms since significantly prior to production and/or wide public dissemination of infringing
         work “This is America.” Furthermore, Mr. Nwowsuocha’s has reserved all of its rights in his
         infringed work under copyright and has not authorized anyone to copyright, to reproduce,
         publish, provide, distribute, transmit, display, publicly perform, or otherwise make any use of
         such infringed work. Therefore, the continued use of Mr. Nwowsuocha’s copyright work is a
         clear infringement of Mr. Nwowsuocha’s copyrights in violation of Sections 106 and 501 of the
         Copyright Act.

                 Moreover, the extent of practically-identical copying from elements of Mr.
         Nwowsuocha’s copyrighted work establishes that the infringement was knowing and intentional.
         Because Mr. Nwowsuocha’s copyright was registered prior to Mr. Glover’s infringing activity,
         he may be liable for significant statutory damages for each instance of infringement, in addition
         to attorneys' fees and other costs incurred by Mr. Nwowsuocha to enforce his rights.

                Mr. Nwowsuocha treats copyright infringement as a very serious matter and fully
         enforces his rights against those who infringe. However, Mr. Nwowsuocha is currently still
         prepared to try to resolve this matter amicably – provided, however, that Mr. Glover, et al,
         cooperate fully with Mr. Nwowsuocha and establish to his satisfaction that this was an error of
         judgment and not a systematic effort by you, as a significant player in the music industry, to
         attempt to profit from infringing upon the intellectual property of Mr. Nwowsuocha as an
         independent artist.

                  Giving the foregoing, we demand that Mr. Glover, et al:

                1.     Immediately cease and desist from all further production, reproduction,
         publishing, provision, distribution, transmission, display, performance, advertising, licensing,
         and sale of materials that infringe Mr. Nwowsuocha’s works;

                2.      Destroy all such materials in inventory or otherwise in its possession or control,
         including all copies in electronic or printed form; and

                3.     Provide Mr. Nwowsuocha with a full accounting of all copies sold, licensed, or
         otherwise distributed and all proceeds therefrom.




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                 Mr. Glover, et al, are specifically advised that any failure or delay in complying with
         these demands will likely compound the damages for which they may be liable. The above is not
         an exhaustive statement of all the relevant facts and law, and Mr. Nwowsuocha expressly
         reserves all of its equitable and legal rights and remedies, including the right to seek injunctive
         relief and recover monetary damages.



                                                                   Very Truly Yours,


                                                                           /s/ Imran H. Ansari
                                                                           Imran H. Ansari, Esq.




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  Search Request: Left Anchored Copyright Number = PAu000354788
  Search Results: Displaying 1 of 1 entries
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                                                                Made in America.

                Type of Work: Music
  Registration Number / Date: PAu000354788 / 1981-11-30
                         Title: Made in America.
                  Description: 1 sound cassette + lyrics (3 p.)
                        Notes: Songs for musical play.
         Copyright Claimant: David Doyle & A. J. Loria
             Date of Creation: 1981
   Authorship on Application: words: David Doyle; music: A. J. Loria.
                          Names: Doyle, David, 1952-
                                 Loria, A. J., 1947-

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                                                                Made in America.

                Type of Work: Music
  Registration Number / Date: PA0000890766 / 1998-03-26
                        Title: Made in America.
                  Appears in: Undiscovered soul. Mercury 314 536 972-2, c1998. Compact disc
           Publisher Number: Mercury 314 536 972-2
                   Performer: Performed by Richie Sambora.
         Copyright Claimant: Polygram International Publishing, Inc., Aggressive Music, EMI April Music, Inc.
             Date of Creation: 1997
          Date of Publication: 1998-02-24
   Authorship on Application: words & music: Richie Sambora, Richie Supa.
                           Names: Sambora, Richie
                                  Supa, Richie
                                  Polygram International Publishing, Inc.
                                  Aggressive Music
                                  EMI April Music, Inc.

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  Search Request: Left Anchored Copyright Number = PA0001768256
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                                                            "Made In America".

                Type of Work: Music
  Registration Number / Date: PA0001768256 / 2011-09-12
             Application Title: "Made In America" (as recorded by Jay-Z and Kanye West on CD titled "Watch The
                                Throne" on Roc-A-Fella Records)
                         Title: "Made In America".
                   Description: Compact disk (CD)
         Copyright Claimant: Kanye West. Address: street Not Known, city Not Known.
                                Shawn Carter. Address: street Not Known, city Not Known.
                                Shama Joseph. Address: street Not Known, city Not Known.
                                Mike Dean. Address: street Not Known, city Not Known.
                                Bug Music, Transfer: By written agreement. Address: 6100 Wilshire Blvd. Suite
                                1600, Los Angeles, CA, 90048, United States.
                                Heavens Research, Transfer: By written agreement. Address: street Not Known, city
                                Not Known.
             Date of Creation: 2011
          Date of Publication: 2011-08-12
   Nation of First Publication: United States
   Authorship on Application: Frank Ocean, pseud. of Bug Music, Inc. as employer for hire of Christopher Breaux
                                (author of pseudonymous work), employer for hire; Domicile: United States;
                                Citizenship: United States. Authorship: music, lyrics.
                                Kanye West; Domicile: United States; Citizenship: United States. Authorship: music,
                                lyrics.
                                Jay-Z, pseud. of Shawn Carter; Domicile: United States; Citizenship: United States.
                                Authorship: music, lyrics.
                                Sak Pase, pseud. of Shama Joseph; Domicile: United States; Citizenship: United
                                States. Authorship: music, lyrics.
                                Mike Dean; Domicile: United States; Citizenship: United States. Authorship: music,
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                               lyrics.
                          Names: Ocean, Frank, pseud.
                                 West, Kanye
                                 Carter, Shawn
                                 Jay-Z, pseud.
                                 Joseph, Shama
                                 Sak Pase,
                                 -    -pseud.
                                            -
                                 Dean, Mike
                                 Bug Music,
                                 -       -   Inc.-
                                                 as employer for hire of Christopher Breaux
                                 Bug Music
                                 Heavens Research

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                                                               Made In America.

                Type of Work: Music
  Registration Number / Date: PA0001776533 / 2011-12-09
             Application Title: Made In America.
                         Title: Made In America.
                   Description: Compact disc.
         Copyright Claimant: Tokeco Tunes, Transfer: Written agreement. Address: 2303 21st Ave South, 3rd
                                Floor, Nashville, TN, 37212, United States.
             Date of Creation: 2011
          Date of Publication: 2011-06-09
   Nation of First Publication: United States
   Authorship on Application: Toby Keith Covel, 1961- ; Citizenship: United States. Authorship: music, lyrics.
                                Bobby Pinson; Citizenship: United States. Authorship: music, lyrics.
                                Gregory Scott Reeves; Citizenship: United States. Authorship: music, lyrics.
                          Names: Covel, Toby Keith, 1961-
                                 Pinson, Bobby
                                 Reeves, Gregory Scott
                                 Tokeco Tunes

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                                                                Made in America.

                Type of Work: Music
  Registration Number / Date: PA0001786233 / 2012-05-13
             Application Title: Made in America.
                         Title: Made in America.
                   Description: Electronic file (eService)
         Copyright Claimant: John Sembello, 1945- . Address: 2508 Chestnut Avenue, Ardmore, PA, 19003.
             Date of Creation: 2010
          Date of Publication: 2010-01-01
   Nation of First Publication: United States
   Authorship on Application: John Sembello, 1945- ; Domicile: United States; Citizenship: United States.
                                Authorship: music, lyrics, musical arrangement.
      Rights and Permissions: Expect Magic Music, 1314 E Las Olas Blvd, #1074, Fort Lauderdale, FL, 33301,
                                United States
                           Names: -
                                  Sembello,
                                    - - -John,
                                            - -1945-
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                                                            Made In America.

                Type of Work: Music
  Registration Number / Date: PA0002119555 / 2017-07-07
             Application Title: Made In America.
                         Title: Made In America.
                   Appears in: "The Documentary 2" by The Game on E One Music Group, no. 9469, 10/9/2015
                   Description: Compact disk (CD)
         Copyright Claimant: Marcus Black, Transfer: By written agreement. Address: street not known, city not
                                known.
                                Warner-Tamerlane Publishing Corp., Transfer: By written agreement. Address:
                                10585 Santa Monica Blvd., Los Angeles, CA, 90025.
                                Baby Game, Transfer: By written agreement. Address: street not known, city not
                                known.
             Date of Creation: 2016
          Date of Publication: 2016-10-09
   Nation of First Publication: United States
   Authorship on Application: The Game, pseud. of Jayceon Terrell Taylor (author of pseudonymous work);
                                Domicile: United States; Citizenship: United States. Authorship: music, lyrics.
                                Marcus Black; Domicile: United States; Citizenship: United States. Authorship:
                                music, lyrics.
        Previous Registration: 1990, V2560P469.
        Pre-existing Material: Sample "You Got Your Hooks In Me" by Sigler.
               Basis of Claim: music, lyrics, musical arrangement.
                                  Taylor,
                           Names: - - -Jayceon
                                          - - -Terrell
                                                 --
                                  The
                                  - -Game,
                                       - - -pseud.
                                              --
                                  Black, Marcus
                                  Warner-Tamerlane Publishing Corp.

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                                                            Made In America.

                Type of Work: Music
  Registration Number / Date: PA0002119555 / 2017-07-07
             Application Title: Made In America.
                         Title: Made In America.
                   Appears in: "The Documentary 2" by The Game on E One Music Group, no. 9469, 10/9/2015
                   Description: Compact disk (CD)
         Copyright Claimant: Marcus Black, Transfer: By written agreement. Address: street not known, city not
                                known.
                                Warner-Tamerlane Publishing Corp., Transfer: By written agreement. Address:
                                10585 Santa Monica Blvd., Los Angeles, CA, 90025.
                                Baby Game, Transfer: By written agreement. Address: street not known, city not
                                known.
             Date of Creation: 2016
          Date of Publication: 2016-10-09
   Nation of First Publication: United States
   Authorship on Application: The Game, pseud. of Jayceon Terrell Taylor (author of pseudonymous work);
                                Domicile: United States; Citizenship: United States. Authorship: music, lyrics.
                                Marcus Black; Domicile: United States; Citizenship: United States. Authorship:
                                music, lyrics.
        Previous Registration: 1990, V2560P469.
        Pre-existing Material: Sample "You Got Your Hooks In Me" by Sigler.
               Basis of Claim: music, lyrics, musical arrangement.
                                  Taylor,
                           Names: - - -Jayceon
                                          - - -Terrell
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                                  The
                                  - -Game,
                                       - - -pseud.
                                              --
                                  Black, Marcus
                                  Warner-Tamerlane Publishing Corp.

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                            Lyrics.com




          Made in America
                           By Kidd Wes




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I'm making a mission
Im made in america
Flex on the radio, it made me a terrorist
Pessimist niggas, you should just cherish this
2016 Rappers?
(Yeah) you should beware of this

Flex on a hater, finesse on your ex move (Yeah)
Black and white benz, Im making a chess move (Unh)
I'm running the city, I'm making my next move (Woah)
You don't gotta pass? I hope that they checked you (Unh)
I'm making a milestone, coming straight from the south
You hearing my name though? Well don't wear it out
Excellent, Excellent, Excellent Excellent
Your WCW probably on xans and looking for benefits
I'm killing the game
And got a tight grip and there won't be no evidence
How funny I OJ'ed the game and it seems to make
Oh what a relevance
Pessimist niggas, you should just cherish this
2016 Rappers?
(Yeah) you should beware of this

Aux-cord Steve Austin on any beat
I somersault the flow, pick up any hoe
On any street
There's been a lot of talk, There's been a lot of talk
Especially in the street
That's why the numbers count, I can always count
Especially on enemies
Rolling around in an S, feeling like Lex Luger
Mafia style, sorry Benny boy this how I do ya
One for the money, two for the snakes
Heads up for the bullets thats coming from the Jakes
Making America great again, baby that's all it takes




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  This Is America
  Childish Gambino
      8 Comments           0 Tags




  Yeah, yeah, yeah, yeah, yeah
  Yeah, yeah, yeah, go, go away
  Yeah, yeah, yeah, yeah, yeah
  Yeah, yeah, yeah, go, go away
  Yeah, yeah, yeah, yeah, yeah
  Yeah, yeah, yeah, go, go away
  Yeah, yeah, yeah, yeah, yeah
  Yeah, yeah, yeah, go, go away

  We just wanna party
  Party just for you
  We just want the money
  Money just for you
  I know you wanna party (yeah)
  Party just for free
  Girl, you got me dancin' (girl, you got me dancin')
  Dance and shake the frame
  We just wanna party (yeah)
  Party just for you (yeah)
  We just want the money (yeah)
  Money just for you (ooh)
  I know you wanna party (yeah)
  Party just for free (yeah)
  Girl, you got me dancin' (girl, you got me dancin')
  Dance and shake the frame (ooh)

  This is America
  Don't catch you slippin' now
  Don't catch you slippin' now
  Look what I'm whippin' now
  This is America (woo)
  Don't catch you slippin' now
  Don't catch you slippin' now
  Look what I'm whippin' now
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  This is America (skrrt, skrrt, woo)
  Don't catch you slippin' now (ayy)
  Look at how I'm livin' now
  Police be trippin' now (woo)
  Yeah, this is America (woo, ayy)
  Guns in my area (word, my area)
  I got the strap (ayy, ayy)
  I gotta carry 'em
  Yeah, yeah, I'ma go into this (ugh)
  Yeah, yeah, this is guerilla, woo
  Yeah, yeah, I'ma go get the bag
  Yeah, yeah, or I'ma get the pad
  Yeah, yeah, I'm so cold like yeah (yeah)
  I'm so dope like yeah (woo)
  We gon' blow like yeah (straight up, uh)

  Ooh-ooh-ooh-ooh-ooh, tell somebody
  You go tell somebody
  Grandma told me
  Get your money, black man (get your money)
  Get your money, black man (get your money)
  Get your money, black man (get your, black man)
  Get your money, black man (get your, black man)
  Black man

  This is America (woo, ayy)
  Don't catch you slippin' now (woo, woo, don't catch you slippin', now)
  Don't catch you slippin' now (ayy, woah)
  Look what I'm whippin' now (Slime!)
  This is America (yeah, yeah)
  Don't catch you slippin' now (woah, ayy)
  Don't catch you slippin' now (ayy, woo)
  Look what I'm whippin' now (ayy)

  Look how I'm geekin' out (hey)
  I'm so fitted (I'm so fitted, woo)
  I'm on Gucci (I'm on Gucci)
  I'm so pretty (yeah, yeah)
  I'm gon' get it (ayy, I'm gon' get it)
  Watch me move (blaow)

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  This a celly (ha)
  That's a tool (yeah)
  On my Kodak (woo, Black)
  Ooh, know that (yeah, know that, hold on)
  Get it (get it, get it)
  Ooh, work it (21)
  Hunnid bands, hunnid bands, hunnid bands (hunnid bands)
  Contraband, contraband, contraband (contraband)
  I got the plug on Oaxaca (woah)
  They gonna find you like blocka (blaow)

  Ooh-ooh-ooh-ooh-ooh, tell somebody
  (America, I just checked my following list and)
  You go tell somebody
  (You mothafuckas owe me)
  Grandma told me
  Get your money, black man (black man)
  Get your money, black man (black man)
  Get your money, black man (black man)
  Get your money, black man (black man)
  Black man (one, two, three, get down)

  Ooh-ooh-ooh-ooh-ooh, tell somebody
  You go tell somebody
  Grandma told me, "Get your money," black man
  Get your money, black man (black man)
  Get your money, black man (black man)
  Get your money, black man (black man)
  Black man

  You just a black man in this world
  You just a barcode, ayy
  You just a black man in this world
  Drivin' expensive foreigns, ayy
  You just a big dawg, yeah
  I kenneled him in the backyard
  No proper life to a dog
  For a big dog


     Edit Lyrics


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  Lyrics submitted by crazycrackah, edited by WGW
  This Is America Lyrics as written by Ludwig Goransson Donald Glover
  Lyrics © Universal Music Publishing Group, Kobalt Music Publishing Ltd., RESERVOIR MEDIA MANAGEMENT INC, Warner Chappell
  Music, Inc.
  Lyrics powered by LyricFind




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                                                                                                 CIRCUL AR

                                                                                                56A
Copyright Registration of
Musical Compositions
and Sound Recordings
This circular explains the difference, for   Sound recordings and musical compositions are considered
copyright purposes, between musical          two separate works for copyright purposes. Even though
                                             a sound recording is a derivative work of the underlying
compositions and sound recordings            musical composition, a copyright in a sound recording is not
and provides information on                  the same as, or a substitute for, copyright in the underlying
                                             musical composition. The chart that follows demonstrates
registering both types of works either
                                             the differences between these two types of works.
separately or on one application.
                                                            Musical                   Sound
For specific information about                              Compositions              Recordings
this topic, see Chapter 800 of the
                                              What          Music                     Fixation of a
Compendium of U.S. Copyright                  is it?        (melody, rhythm, and/     series of sounds
Practices, Third Edition.1 For                              or harmony expressed      (e.g., a particular
                                                            in a system of musical    performance)
registration of sound recordings that
                                                            notation) and
do not contain musical compositions,                        accompanying words
or for registration of sound recordings                     (lyrics)
on a separate application from musical        Who is the    Composers                 Performers
compositions, see Circular 56.                author?       Lyricists                 Producers
                                                            Songwriters               Sound Engineers

                                              How is it     Copy                      Phonorecord
                                              fixed?        (sheet music, either      (mp3, CD, LP)
                                                            print or digital such
                                                            as pdf)

                                                            Phonorecord
                                                            (mp3, CD, LP)




w                                                                                             copyright.gov
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                                                                  Musical           Sound
  Does the owner have the exclusive right to…                     Compositions      Recordings

  reproduce the work?                                             Yes               Yes

  prepare derivative works?                                       Yes               Yes

  distribute the copies or phonorecords of the work to the        Yes               Yes
  public by sale or other transfer of ownership, or by rental,
  lease, or lending?

  perform the work publicly?                                      Yes               Only by means
                                                                                    of a digital audio
                                                                                    transmission

  display the work publicly?                                      Yes               No

    A registration for a musical composition covers the music and lyrics (if any) embodied in
 that composition, but it does not cover a recorded performance of that composition. Likewise,
 a registration for a sound recording of a performance does not cover the underlying musical
 composition. For example, the composition “Respect” and a recording of Aretha Franklin singing
“Respect” are two distinct works. The composition itself (i.e., the music and lyrics) is a musical
 composition, and a recording of an artist performing that composition is a sound recording.


Determining Whether a Musical Composition and a Sound Recording Can Be
Registered with One Application

Since a musical composition and a sound recording are distinct works, separate registration
applications generally should be submitted for each work. However, you may use one standard
application to register a sound recording and an underlying musical composition when (1) the
musical composition and sound recording are embodied in the same phonorecord and (2) the
claimant for both the musical composition and sound recording are the same.

   Examples
   • When an artist performs and records a composition owned by someone else, the artist or
     artist’s label (if appropriate) would submit an application for the recording only. For specific
     guidance, see Copyright Registration of Sound Recordings (Circular 56).
   • When a songwriter creates a composition that someone else records, the songwriter or
     songwriter’s publisher (if appropriate) would submit an application for the musical
     composition only. For specific guidance, see Copyright Registration of Musical Compositions
     (Circular 50).
   • When a songwriter performs and records the songwriter’s own composition, the songwriter
     may submit one application for both the composition and recording.
   • When a record company owns both a composition and a recording of that composition, it may
     submit one application for both the composition and recording.
   • When a record company owns both a composition and a recording of that composition,



Copyright Registration of Musical Compositions and Sound Recordings                                      2
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        and distributes the works to the public as both sheet music and an album at the time of
        registration, it should submit two separate applications, with a sheet music deposit for the
        music composition and a recording deposit for the sound recording.

   Even though it is possible for some applicants described above to register the musical
composition and sound recording on one application, it is very important to follow the instructions
below in order to make sure both works are included on the application. Applicants may always
choose to register sound recordings and musical compositions on separate applications..

NOTE: You may register one sound recording and the underlying musical composition using the
                                                                                                              •
Single Application, a streamlined version of the Standard Application, but only if you meet all three
of the following conditions: (1) the composition and the sound recording are embodied in the same
phonorecord, (2) the author is the only performer featured in the recording, and (3) the author
is the only copyright owner of both works. For more information about these requirements and
procedures, see Using the Single Application (Circular 11).

        Example: Anne Smith submits a Single Application to register the sound recording and musical
        composition as the sole owner of copyright of both works. The deposit she submits is a
        recording of her solo performance of the composition.


Completing the Online Application for Musical Compositions and Sound Recordings

Mistakes in applications lead to delays in registration, so it is important to complete the application
accurately. Instructions for completing the Standard Application appear in the “help” text that
accompanies the application. Here are some tips regarding common points of confusion when an
application includes both a sound recording and a musical composition.

Type of Work
At the beginning of the application, select the             * Type of Wor~ ✓ -Select-
                                                                                 Literary Work
“Sound Recording” option on the “Type of                                         Work of the Visual Arts
Work” screen. The questions presented in the
 application are based on the type of work you
 select, and if you select the wrong option you                                  Single Serial Issue
 will need to start over.

Title
 All Titles
                                                                                                              - ■~E-
 Title of Work L::..   Volume ~   Number ~   Issue Date ~      Type ~                              Edit       Delete

 Album Title
 First Track Title
 Next Track Title
 Last Track Title
                       !                     !
                                                               Ti~e of work being registered
                                                               Contents Ti~e
                                                               Contents Ti~e
                                                               Contents Ti~e
                                                                                               +
                                                                                               +
                                                                                                          /
                                                                                                          /
                                                                                                          /
                                                                                                          /
                                                                                                              rj j
Provide each title exactly as it appears on the work itself, identifying album and track titles using the
title types as shown above. If you are registering one sound recording or one musical composition,
enter one title as “Title of work being registered.”




Copyright Registration of Musical Compositions and Sound Recordings                                                    3
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Publication

   • Publication occurs when phonorecords of a work are distributed to the public by sale; transfer
     of ownership; or by rental, lease, or lending. Offering to distribute phonorecords to a group
     of persons for the purpose of further distribution or the purpose of publicly performing the
     work also constitutes publication. A public performance does not—in and of itself—constitute
     publication.
   • If the work has not been published, answer “no” to the publication question.
   • If the work has been published, answer “yes” to the publication question and give the date
     when and nation where the phonorecords were first distributed to the public or first offered to
     a group of persons for further distribution or public performance.

Year of Creation

   • The year of creation is the year in which the version of the work to be registered was first fixed
     or recorded in any other tangible form. When a work is written or recorded over a period of
     time or constitutes a new version of an earlier work, give the year of completion of the final
     work or new version.

Author

   • On the Author screen, name the author(s) of the sound recording(s) and musical
     composition(s) being registered. The author of a sound recording is the performer(s) featured
     in the recording and/or the producer(s) who captured and/or manipulated or edited the
     sounds that appear in the final recording. The author of a musical composition is the person
     who created the music and/or lyrics.
   • There is also the possibility that the sound recording (and/or musical composition) were works
     made for hire. The applicant, not the U.S. Copyright Office, must determine whether a work
     meets the statutory definition of a work made for hire. The two types of works that can be
     considered a work made for hire are: (1) works prepared by an employee within the scope of
     his or her employment; or (2) certain types of specially commissioned works, outlined in the
     statute, where the parties signed a written agreement that the work was a “work made for hire.”
     If the work was created as a work made for hire, give the name of the employer, not the person
     who actually created the music and/or lyrics and sound recording. For more information on
     works made for hire, see Works Made for Hiree (Circular 30)..

Claimant                                                              •
   • A sound recording and musical composition can only be registered together if the same person
     or entity is named as the copyright claimant for both works. For purposes of registration, the
     claimant may be the author of both the musical composition and the sound recording, or a
     party that owns the copyright in both works.
   • If the claimant is not the author of either the musical composition or the sound recording, the
     applicant must also provide a transfer statement by checking one of the boxes (e.g., by written
     agreement, by inheritance, etc.) or by explaining how the claimant obtained the rights in the
     work in the space provided.




Copyright Registration of Musical Compositions and Sound Recordings                                       4
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Type of Authorship


  *Author Created:

  7    Sound recording    HelR   Other: 11
                                        ~----======::!J
   Check this box            Use this space to describe
   to describe your          the musical composition
   sound recording           authorship (“music,” “lyrics,”
   authorship.               musical arrangement,” etc.)



Limitation of Claim
   • Complete this space if the work being registered contains an appreciable amount of material that
       » was previously published
       » was previously registered with the U.S. Copyright Office
       » is in the public domain
       » is not owned by the claimant named in the application

  Leave this space blank if the work does not contain an appreciable amount of any of this kind of
material.


Submitting the Works to the Copyright Office

To register your sound recording and musical composition, you must send the works to the
Copyright Office. Once a deposit has been submitted, it becomes part of the public record and
cannot be returned.
    When registering a sound recording and musical composition that are unpublished or published
solely in a digital form, the Copyright Office strongly encourages you to upload the deposit as a
digital file through the online registration system instead of submitting a physical phonorecord,
such as a CD, flash drive, or other physical storage device. Each file must be uploaded in an
acceptable file format, and each uploaded file must not exceed 500 MB in size. You may compress
the files to fit within that size limit.
    When registering a sound recording and musical composition published in a physical format,
such as a compact disc or LP, you should submit two copies of the work in the physical format, even
if there is a corresponding digital version. To submit physical copies of your work after completing
an online application, you should print a shipping slip from the bottom of the “Submit Your Work”
screen and send the shipping slip and deposits in the same package to the address given on the
shipping slip. To submit a physical copy (or copies) of your work with a paper application, complete
Form SR and submit the deposit in the same package with the application and the filing fee.
    If the sound recording has been published in the United States in multiple physical formats at the
time of registration, you will need to comply with the “best edition” requirement by sending the two
copies of the “best” edition. The “best” edition generally will be the highest quality edition that has
been publicly distributed in the United States. The Library of Congress has identified hierarchical
criteria for what constitutes the highest quality edition for sound recordings:


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   1.    Compact disc
   2. Vinyl disc
   3.    Open-reel tape
   4. Cartridge tape
   5. Cassette tape
   For example, if the work was published both on compact disc and vinyl disc before the date of
the deposit, you should submit two CDs rather than vinyl discs.


Registering Multiple Musical Compositions and Sound Recordings
on One Application

To register multiple sound recordings and musical compositions together on one application, they
must qualify for group registration, as a collective work, or unit of publication. This section provides
specific guidance for registering musical compositions and sound recordings using these methods.
For more general information regarding multiple work registration, see Multiple Works (Circular 34).

Group Registration of Unpublished Works
An applicant may register up to ten unpublished sound recordings and the underlying musical
works using the online group registration option, provided that the musical compositions and
sound recordings were created by the same author or authors and all of the authors are named as
copyright claimants.
  When registering multiple musical works and sound recordings using the group registration
option, provide a title for each of the individual works within the collection.

        Example One
        Three unpublished compositions were written and performed by Jim, Pam, and Dwight.
        Assuming there was no transfer of ownership, the authors and owners of all three
        compositions and sound recordings are the same, and the compositions may be registered
        using the group registration option.

        Example Two
        Three unpublished compositions were written by Jim and Dwight: Composition 1 was
        performed by Jim; Composition 2 was performed by Jim; Composition 3 was performed
        by Dwight. Jim and Dwight may register the three unpublished compositions, but not the
        three sound recordings, on one group application. Jim may register the sound recordings
        for Composition 1 and Composition 2 on one group application, while Dwight registers the
        sound recording for Composition 3 on a separate application.

Collective Work
A collective work is a compilation in which a number of contributions, constituting separate
and independent works in themselves, are assembled into a collective whole. The “authorship”
in a collective work comes from the original selection, coordination, and arrangement of the
independent works included in the collective work.




Copyright Registration of Musical Compositions and Sound Recordings                                        6
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    Under the Copyright Act, a collective work is considered one work for purposes of registration. A
registration for a collective work covers the copyrightable authorship in the selection, coordination,
or arrangement of the work. A registration for a collective work also covers the individual
copyrightable works that are contained within the collective work if (1) the collective work and the
individual works are owned by the same party, (2) the individual works have not been previously
published or previously registered, and (3) the individual works are not in the public domain.
   Accordingly, an applicant may use one application to register a number of musical compositions
and sound recordings as a collective work if the applicant owns the musical compositions and sound
recordings, selected and arranged the musical compositions and sound recordings into a collective
whole, and the musical compositions and sound recordings have not been previously published or
previously registered.
    For example, a CD album with multiple tracks that embody musical compositions and sound
recordings is considered a collective work. If the person or entity selecting, coordinating, or
arranging the musical compositions and sound recordings on the album also owns the sound
recordings, which were not previously published or registered, then the album and sound
recordings may be registered with one application as a collective work. If that party also owns the
musical compositions, which were not previously published or registered, then the collective work
registration would also extend to the musical compositions.
    By contrast, if the copyright owner of the musical composition is not the copyright owner of the
sound recordings, the musical compositions and sound recordings must be registered separately.
If an author only selects or arranges the songs on an album, but is not the copyright owner of the
component sound recordings or the musical compositions, or if those recordings or compositions
were previously published or registered, that author may still file an application for a collective
work covering only the selection, coordination, and arrangement of the songs on the album. This
might occur, for example, in the case of a “best of ” album or a movie soundtrack album. But in
this situation, the registration in the collective work would not extend to the individual sound
recordings or the musical compositions on the album.

      Example
      An artist wrote and performed multiple tracks for a published album and determined how to
      arrange the compositions on the album. The artist can register this work on one application
      as a collective work. The claim may include the individual musical compositions and sound
      recordings as well as the selection, coordination, and arrangement of the tracks on the album.

Unit of Publication
The Copyright Office has a narrow registration accommodation for units of publication. A unit of
publication is a physical package that contains a number of separately fixed works that have been
physically bundled together for distribution to the public as a single, integrated unit. The unit of
publication accommodation is meant to solve a very particular problem: the burdens that would
arise if applicants were required to submit, and the Office were required to process, multiple copies
of the same product in order to register different copyrightable elements of that product.
   An applicant may register a number of works as a unit of publication only if:
   • All of the copyrightable elements are recognizable as self-contained works.
   • All of the works claimed in the application are first published as a single unit on the same date.
   • The copyright claimant for all of the works claimed in the unit is the same.




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   • The unit and all of the works within the unit are distributed in a physical format.
   • The unit contains an actual physical copy or phonorecord of all the works.
   • The unit is distributed to the general public.

    In the context of music albums, a registration relying on the unit of publication option may also
extend to the copyrightable text, artwork, and photographs that appear in the liner notes for the unit.
When registering these types of works, include a brief statement describing the works in the “Other”
field on the Author screen using the specific terms, such as “artwork,” “photographs,” and “text of
liner notes.” Please note that names and titles of tracks are not copyrightable so the applicant should
not assert a claim in “text of liner notes” if the names and titles of tracks are the only text present in
the unit of publication.
   All of the above-mentioned conditions must be met for an applicant to use the unit of publication
option. If any of the compositions were published individually, and not within the unit of publication,
then the unit of publication option cannot be used to register those works. Similarly, an applicant
cannot use the unit of publication option if the tracks, cover art, and/or liner notes are owned by
different parties, or if one or more of the works was published on a different date or in a different
unit of publication.

      Example
      A CD album with two tracks that embody musical compositions and sound recordings along
      with an insert containing text and artwork is considered a unit of publication when they are
      distributed to the general public as a single, integrated unit. If the copyright owner of the text
      and artwork is the same as the copyright owner of the two musical compositions and sound
      recordings, the musical compositions, sound recordings, text and artwork may be registered
      together with one application.




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NOTE
1. This circular is intended as an overview of the distinction between musical compositions and
sound recordings. The authoritative source for U.S. copyright law is the Copyright Act, codified in
Title 17 of the United States Code. Copyright Office regulations are codified in Title 37 of the Code of
Federal Regulations. Copyright Office practices and procedures are summarized in the third edition
of the Compendium of U.S. Copyright Office Practices, cited as the Compendium. The copyright law,
regulations, and the Compendium are available on the Copyright Office website at www.copyright.gov.




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    For Further Information


    By Internet
    The copyright law, the Compendium, electronic registration, application forms, regulations,
    and related materials are available on the Copyright Office website at www.copyright.gov.

    By Email
    To send an email inquiry, click the Contact Us link on the Copyright Office website.

    By Telephone
    For general information, call the Copyright Public Information Office at (202) 707-3000 or
    1-877-476-0778 (toll free). Staff members are on duty from 8:30 am to 5:00 pm, eastern time,
    Monday through Friday, except federal holidays. To request application forms or circulars by
    postal mail, call (202) 707-9100 or 1-877-476-0778 and leave a recorded message.

    By Regular Mail
    Write to
         Library of Congress
         U.S. Copyright Office
          Outreach and Education Section
         101 Independence Avenue, SE #6304
         Washington, DC 20559-6304




1   U. S. Copyright Office · Library of Congress · 101 Independence Avenue SE · Washington, DC 20559 · copyright.gov
    CIRCULAR 56A   REVISED: 03/2021                                                             PRINT: 00 /0000 — 0,000
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                  EXHIBIT C
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                    U N I T E D   STAT E S   CO P Y R I G H T   O F F I C E




                    compendium of
                    u.s. copyright office practices
                                                                              third edition




december 22, 2014
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                                              C O M P E N D I U M O F U . S . C O P Y R I G H T O F F I C E P R A C T I C E S , Third Edition




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           509        Collective Works and Contributions to Collective Works
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        509.1         What Is a Collective Work?
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 $">99,<9                                                                                                            :;3;;3;9:=
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                                              C O M P E N D I U M O F U . S . C O P Y R I G H T O F F I C E P R A C T I C E S , Third Edition




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        509.2         The Scope of the Copyright in a Collective Work
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 $">99,<:                                                                                                            :;3;;3;9:=
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                  EXHIBIT D
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                  UNITED STATES COPYRIGHT OFFICE




                  COMPENDIUM OF
                  U.S. COPYRIGHT OFFICE PRACTICES
                                                                 THIRD EDITION




JANUARY 2021
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           509        Collective Works and Contributions to Collective Works
                      #$ "&#$$"#%##$&'"#
                      contributions to collective works. For information concerning the Office’s practices and
                       "%"#"&%$$ )"$$)$&'"#*# $"633*
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        509.1         What Is a Collective Work?
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                      “a work, such as a periodical issue, anthology, or encyclopedia, '%"
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                      assembled into a collective whole.” 4:---2434-The statute also states that “[t]
                      term ‘compilation’ includes collective works.” . (definition of “compilation”). Thus,
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                      "$$&'""!%"#$“assemblage or gathering of ‘separate and
                      independent works . . . into a collective whole.’” - -  - -<7.47:9*$453*
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                      By definition, a collective work must contain “a number of contributions.” A work that
                      contains “relatively few separate elements” does not satisfy this requirement, such as a
                      '"$#$"%$* #$$$")##$#'"#
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                      As a general rule, a contribution that is “incorporated in a ‘collective work’ must itself
                      constitute a ‘separate and independent’ work.” - -  - -<7.47:9*$455*
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        509.2         The Scope of the Copyright in a Collective Work
                      The “[c]opyright in each separate contribution to a collective work is distinct from
                      copyright in the collective work as a whole.” 4:---253401-

                      The “[c]opyright in the separate contribution ‘vests initially in the author of the
                      contribution.’”   "" !866--7;6*7<70533410!%$4:---
                      2534011-The “[c]opyright in the collective work vests in the collective author” and it
                      “extends only to the creative material contributed by that author, not to ‘the preexisting
                      terial employed in the work.’” -$7<70!%$4:---2436011- )*$
                      copyright in the collective work “extend[s] to the elements of compilation and editing
                      that went into [creating] the collective work as a whole.” - -  - -<7.47:9*$455*
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                      to “the contributions tha$'"'"$$"") )#$'"$
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                      writing to the owner by their authors.” - -  - -<7.47:9*$455*4<:9
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                       )"$'"$&'"#'#$"$##$$%$ "$*
                      collective work registration will not extend to the constituent part.”),  
                       !""*88<--487*493053431-

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                      copyright in a compilation “does not extend to any part of the work” that “unlawfully”
                      uses preexisting material, and as discussed above, the term “compilation” includes
                      $&'"#-##%## $"633*$646-901*$# "&##
                      intended to prevent “an infringer from benefiting, through copyright protection, from


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                                                              December 22, 2021
VIA FIRST-CLASS MAIL/EMAIL/PDF
Imran H. Ansari, Esq.
Aidala, Bertuna & Kamins, P.C.
546 Fifth Avenue
New York, New York 10036

             Re: Nwosuocha v. Glover, et al. (Civ. Action No. 21-cv-04047)

Dear Mr. Ansari:

        We write to you on behalf of our clients in the above-referenced action and pursuant to
Paragraph II.B. of the Individual Practices of U.S. District Judge Victor Marrero to “set[] forth the
specific … pleading deficiencies in the complaint and other reasons or controlling authorities” we
contend “would warrant dismissal and that, if properly rectified, could avoid the filing of the
motion.” 1 This letter is in lieu of a filed response to the Complaint.

        The Complaint has the following fatal deficiencies: (1) lack of standing to sue for copyright
infringement of the musical composition “Made in America” (“Plaintiff’s Composition”); 2 (2)
failure to plead access or “substantial similarity” between the works at issue; and (3) improperly
including RCA Records (“RCA”) and Warner Music Group Corp. (“WMG”) as defendants.

I.      Plaintiff Lacks Standing to Sue for Copyright Infringement
       A copyright registration is an indispensable prerequisite for standing to sue for copyright
infringement. See 17 U.S.C. § 411(a); Fourth Estate Pub. Benefit Corp. v. Wall-Street.com, LLC,
139 S. Ct. 881, 887 (2019) (stating “registration is akin to an administrative exhaustion
requirement … before suing to enforce ownership rights”). Musical compositions, sound
recordings, and audiovisual works each require registration.

       Plaintiff cannot pursue infringement claims against Defendants without a valid registration.
The Complaint identifies only one registration, which is limited to an unpublished collection of
sound recordings. ECF No. 1, ¶ 5, Ex. B. That registration does not cover Plaintiff’s Composition.
See U.S. Copyright Circular 56A; Tuff-N-Rumble Mgmt., Inc. v. Sugarhill Music Publ’g Inc., 75
F. Supp. 2d 242, 247 (S.D.N.Y. 1999). Moreover, the sound recording embodying Plaintiff’s

1
    We represent all Defendants except for Roc Nation Publishing LLC and Songs of Universal, Inc.
2
 The Complaint does not allege that the music video for “This is America” (the “Challenged
Composition”) infringes Plaintiff’s music video. Nor can it be read to allege a sampling claim.
Such claims would nonetheless be dismissed for lack of a valid registration.
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Composition is excluded from that registration because it was not an unpublished composition
when the registration was filed or issued. See Family Dollar Stores, Inc. v. United Fabrics Int’l,
Inc., 896 F. Supp. 2d 223, 230 (S.D.N.Y. 2012); see also Palmer/Kane LLC v. Rosen Book Works
LLC, 188 F. Supp. 3d 347, 352 (S.D.N.Y. 2016). The Complaint alleges that a recording of
Plaintiff’s Composition was uploaded to SoundCloud and YouTube before registration. ECF No.
1, ¶¶ 4, 40, 41 (alleging commercial exploitation on the Internet in 2016). This conduct constitutes
publication. 17 U.S.C. § 101; Getaped.Com, Inc. v. Cangemi, 188 F. Supp. 2d 398 (S.D.N.Y. 2002)
(uploading content to Internet constitutes publication); see also Kernal Records Oy v. Mosley, 794
F. Supp. 2d 1355, 1364 (S.D. Fla. 2011) (music file published when posted on Internet).

II.     Plaintiff Has Not Alleged Access or Actionable Copying
        Copyright infringement requires copying of constituent elements of the work that are
original. Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 361 (1991). Where no direct
evidence of actual copying exists, a plaintiff must allege access with facts sufficient to allow an
inference of copying. Here, Plaintiff’s allegation that his song was available “on major streaming
platforms for widespread public listening” fails to plead “access” as a matter of law. ECF No. 1, ¶
40; Clanton v. UMG Recordings, Inc., 20-cv-5841 (LJL), 2021 WL 3621784, at *3 (S.D.N.Y. Aug.
16, 2021) (dismissing claim because posting a song on the “internet is insufficient on its own to
show [access through] ‘wide dissemination’”).

       In addition, copying requires the works to be “substantially similar.” But under the
“ordinary observer” test – where a district court must compare the songs’ “total concept and overall
feel” without considering unprotectable expression the songs may share – the songs at issue lack
“substantial similarity” as a matter of law. Edwards v. Raymond, 22 F. Supp. 3d 293, 297-301
(S.D.N.Y. 2014). In applying the test, a plaintiff’s characterization of the songs is immaterial.

        The minimal alleged similarities between the songs at issue lack the requisite protectability.
The common proper noun “America” is unprotectable. McDonald v. West, 138 F. Supp. 3d 448,
456 (S.D.N.Y. 2015) (“Made in America” not protectible); 37 C.F.R. § 202.1(a). Likewise, any
alleged similarity in the cadence/rhythm of the lyrical/rap delivery – such as the alleged use of
“triplets” – is also unprotectable. Morrill v. Stefani, 338 F. Supp. 3d 1051, 1061 (C.D. Cal. 2018);
Rose v. Hewson, No. 17cv1471 (DLC), 2018 WL 626350, at *7 (S.D.N.Y. Jan. 30, 2018). Aside
from these unprotectable similarities, there is nothing to support Plaintiff’s copyright claim.

       Indeed, the music is different in each song at issue. As any lay listener will observe, the
Challenged Composition’s music is unlike Plaintiff’s Composition. Plaintiff entirely raps his song
in a C# minor key in a faster tempo. The Challenged Composition contains rapping and singing
by multiple performers, is primarily in F major, and has a slower tempo. The differences in the
production and instrumentals also reflect different concepts and overall feels.

       In addition, the structure of each song is substantially different. Plaintiff’s Composition has
an intro, outro, and two verses that are sandwiched between choruses. The Challenged
Composition has an intro, two verses that are preceded by both a pre-chorus and chorus, a final
pre-chorus and an outro.
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        Furthermore, themes and ideas are not protectable as a matter of law, and here, other than
a reference to the generic lyric “America,” the themes of each song, and their lyrics, are entirely
dissimilar. Plaintiff’s Composition is a short, simple, self-aggrandizing proclamation, with
Plaintiff stating repeatedly: “I’m made in America.” His mantra alerts rappers of Plaintiff’s arrival
(“2016 rappers? (Yeah”) You should beware of this”), and his success (“I’m running the city …
I’m making a milestone … You hearing my name though? Well don’t wear it out … I’m killing
the game … I somersault the flow, pick up any ho / On any street).

        In contrast, the Challenged Composition is not about a rapper’s arrival/success, but is a
complex clashing of the American landscape, anchored to the common phrase “This is America.”
It references facets of America, such as having fun and making money (“We just wanna party /
Party just for you / We just want the money / Money just for you”); police misconduct (“Police be
trippin’ now”); gun culture (“Guns in my area … / I got the strap (ayy, ayy) / I gotta carry ’em”);
materialism (“I’m so fitted … I’m on Gucci”); race and familial truth-telling (“Grandma told me /
Get your money, Black man …”); and drugs (“Contraband, contraband, contraband … I got the
plug in Oaxaca”). The works share no protectable expression and are not substantially similar.

III.   The Contributory and Vicarious Infringement Claims Are Not Plausible
       Because no plausible direct copyright infringement claim exists, Plaintiff’s claims for
contributory and vicarious infringement cannot survive a motion to dismiss. Alexander v.
Murdoch, No. 10 Civ. 5613(PAC)(JCF), 2011 WL 2802899, at *17 (S.D.N.Y. May 27, 2011).
Additionally, the allegations for those claims are conclusory and thus fail to state plausible claims.
Compare ECF No. 1, ¶¶ 86-87 with Hartmann v. Amazon.com, Inc., 20 Civ. 4928 (PAE), 2021
WL 3683510, at *9 (S.D.N.Y. Aug. 19, 2021) (dismissing conclusory vicarious liability claims).

IV.    RCA and WMG Are Improper Parties
       Plaintiff has improperly sued RCA, a business unit of Defendant Sony Music
Entertainment (“SME”). RCA lacks a separate corporate existence and thus cannot be sued.
Because claims against RCA are claims against SME, RCA is an improper party and should be
dismissed. See Currin v. Williams, Case. No. 3:07-CV-1069(RNC), 2009 WL 10676977 (D. Conn.
May 12, 2009) (sustaining dismissal of “RCA Records Label” because it is a business unit, not a
separate corporate entity, finding “claims … against RCA are in fact claims against Sony BMG”).

      Plaintiff also improperly sued WMG, the indirect corporate parent of Defendants Atlantic
Recording Corporation and Warner-Tamerlane Publishing Corp. WMG has no interest in the
Challenged Composition. Also, the allegations against WMG are conclusory, mandating its
dismissal. ECF No. 1, ¶ 27 (alleging WMG “has assisted in and/or directly facilitated” various acts
and “caused copies” to be exploited). Cohen v. Hertz Corp., No. 13 Civ. 1205(LTS)(AJP), 2013
WL 9450421, at *5 n.7 (S.D.N.Y. Nov. 26, 2013) (dismissing corporate parents which were not
alleged to be “responsible for the wrongdoings that [plaintiff] suffered”); see also Hartmann, 2021
WL 3683510, at *9.
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Imran H. Ansari, Esq.
December 22, 2021
Page 4

                                                     Very truly yours,

                                                     /s/ Jonathan D. Davis

                                                     Jonathan D. Davis

JDD:hs

cc: The Honorable Victor Marrero (Via Fax)
    Paul Maslo, Esq. (Via Email/PDF)
    Alex Spiro, Esq. (Via Email/PDF)
    Donald S. Zakarin, Esq. (Via Email/PDF)
    Ilene S. Farkas, Esq. (Via Email/PDF)
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                                                                                                WRITER’S EMAIL ADDRESS
                                                                                           paulmaslo@quinnemanuel.com




December 22, 2021


   
Imran H. Ansari
Aidala, Bertuna & Kamins, P.C.
546 Fifth Avenue, 6th Floor
New York, NY 10036

Re:    Nwosuocha v. Glover, et al., No. 21-cv-04047-VM

Dear Mr. Ansari:

        We represent Roc Nation Publishing LLC (“Roc Nation”). Pursuant to Section II(B) of the
Individual Practices of United States District Judge Victor Marrero, we write to “set[] forth the
. . . pleading deficiencies in the complaint and other reasons or controlling authorities that
defendant contends would warrant dismissal[.]” Specifically, Roc Nation adopts and incorporates
by reference the arguments made in the December 22, 2021 pre-motion letter of Jonathan D. Davis,
submitted on behalf of other Defendants.

Sincerely,

/s/ Paul B. Maslo

Paul B. Maslo


cc:    The Honorable Victor Marrero (via fax)
       Counsel for all parties (via email)




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    ARTHUR L . AIDALA                                                                            8 1 1 8 - 1 3 ™ AVENUE
                                                                                             BROOKLYN, NEW YORK 11228
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    DIANA FABI SAMSON                             WWW.AIDALALAW.COM                            LAWRENCE SPASOJEVICH
    ANDREA M . ARRIGO
                                                                                                  SENIOR COUNSEL
  MICHAEL DIBENEDETTO                                                                              LOUIS R. AIDALA
     TAYLOR FRIEDMAN                                                                             JOSEPH P. BARATTA


                                                                          January 12, 2022
       VIA EMAIL
       Jonathan D. Davis, Esq.
       Jonathan D. Davis, P.C.
       10 Rockefeller Plaza, Suite 1015
       New York, New York 10020

                Re:       Nwosuocha v. Glover II et al., No. 1:21-cv-04047-VM

       Dear Mr. Davis:

              I write on behalf of my client in response to your December 22, 2021, pre-motion letter
       served in lieu of a filed response to the Complaint pursuant to paragraph II.B of Judge Marrero’s
       Individual Rules (“Pre-Motion Letter”), which was joined by all Defendants to this action.

               The Pre-Motion letter asserts the following as “fatal deficiencies” in the Complaint: (1) a
       lack of standing to sue for copyright infringement of the musical composition “Made in America”
       (“Plaintiff’s Composition”); (2) failure to plead access or “substantial similarity” between the
       works at issue; and (3) improperly including RCA Records (“RCA”) and Warner Music Group
       Corp. (“WMG”) as defendants. For the reasons that follow, Plaintiff disagrees with your
       characterization of these as deficiencies in the Complaint, much less “fatal” deficiencies that
       “would warrant dismissal.”

       I.     Plaintiff Has Standing to Sue for Copyright Infringement
               The Pre-Motion Letter’s first erroneously alleged “fatal deficiency” in the Complaint is the
       Plaintiff’s purported lack of standing to sue for copyright infringement. The flawed premise of this
       point is that Plaintiff’s copyright registration does not cover Plaintiff’s Composition due to the
       registration’s designation as pertaining to a “sound recording” that is “unpublished.” Defendants’
       reasoning appears to neglect that the U.S. Copyright Office allows compositional registrations to
       subsume into “sound recording” registrations, and that the mere act of uploading a song to
       SoundCloud or YouTube prior to registration does not fall within the U.S. Copyright Office’s
       definition of “publication” for the purposes of registration.

              The U.S. Copyright Office permits unpublished sound recordings and their underlying
       compositions to be registered simultaneously under the “Sound Recording” designation, pursuant
       to Copyright Office Circular 56A. Per official Copyright Office guidance, one can accomplish
       such simultaneous registration where: (a) the claimant is the author of both the sound recording
       and the work embodied in the recording, or the owner of the copyright in both; (b) the claimant



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          checks “Sound Recording” under the “Author Created” section of the registration, or uses the Form
          SR (as in “Sound Recording”) if submitting a paper application; and (c) the claimant submits a
          phonorecord containing both the sound recording and the musical composition embodied in that
          recording. See Copyright Office Circular 56A. Plaintiff’s registration satisfied all three of these
          criteria, and thus represents a correctly submitted simultaneous registration of both the sound
          recordings in the collection and their respective underlying musical compositions, including
          Plaintiff’s Composition.

                   Furthermore, Plaintiff’s Composition was not “published” for the purposes of copyright
          registration by sheer virtue of having been uploaded to SoundCloud and YouTube prior to
          registration. Copyright Office Circular 66 instructs that streaming is a performance that, in and of
          itself, does not constitute publication “because, as a practical matter, the end user does not retain
          a copy of the work when the performance ends.” See Copyright Office Circular 66. Defendants
          fail to raise a “fatal deficiency” in this regard by citing authority standing precisely for the
          proposition that digital publication of a work requires offering end users a retainable copy of the
          work. See Getaped.Com, Inc. v. Cangemi, 188 F. Supp. 2d 398, 402 (S.D.N.Y. 2002) (holding
          webpage’s source code published where, “by merely accessing a webpage, an Internet user
          acquires the ability to make a copy of that webpage . . . that is, in fact, indistinguishable in every
          part from the original.”); Kernal Records Oy v. Mosley, 794 F. Supp. 2d 1355 (holding a song
          published where creator admitted uploading the song to an internet magazine and making it
          available for download).

          II.    Plaintiff Has Alleged Access and Actionable Copying
                  The Pre-Motion Letter erroneously alleges that Plaintiff has failed to plead the element of
          access as a matter of law. The premise of the Pre-Motion Letter’s mistaken point in this regard is
          that the Complaint’s assertion of widespread public access to Plaintiff’s Composition on major
          streaming platforms is insufficient to make out access. However, this argument neglects that the
          Second Circuit permits a showing of striking similarity as a substitute for proof of access. See
          Jorgensen v. Epic/Sony Recs., 351 F.3d 46, 56 (2d Cir. 2003)(“We have held that where the works
          in question are ‘so strikingly similar as to preclude the possibility of independent creation, copying
          may be proved without a showing of access.’”)(quoting Lipton v. Nature Co., 71 F.3d 464, 471
          (2d Cir.1995)).

                  Plaintiff has plead the striking similarity between the subject songs with requisite
          specificity, offering a musicological scientific analysis of such similarity by Dr. Brent Swanson of
          the University of Miami. On the basis of scientifically recognized methods of musicological
          analysis including, but not limited to, spectral analysis of both songs, Dr. Swanson concludes that
          the songs are similar to an extent unlikely to be coincidence. See Swanson Report (ECF No. 1-4)
          at 10-17. Plaintiff asserts that these objectively measurable similarities are readily presentable to
          and audible by lay persons. Defendants do not, as a matter of law, defeat Plaintiff’s well-plead,
          specific allegations of scientifically-corroborated striking similarities between the songs simply by
          making conclusory allegations that “any lay listeners will observe” to the contrary.




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          III.    WMG Is a Proper Party
                   Defendants concede in the Pre-Motion Letter that Defendant WMG is the corporate parent
          of Defendants Atlantic Recording Corporation and Warner-Tamerlane Publishing Corp., but allege
          that WMG nonetheless has no interest in the Challenged Composition. Defendants further allege
          that Plaintiff’s pleading as against WMG is conclusory, and do so by selectively citing only the
          extent of Plaintiff’s Complaint alleging that WMG “has assisted in and/or directly facilitated” the
          infringement. In this regard, Defendants omit the extent of the Complaint alleging that WMG is
          vicariously liable because, as the parent corporation to entities directly responsible for distributing
          the infringing Challenged Composition, “Defendant WMG has derived substantial revenues and/or
          profits from the exploitation of the Infringing Work” and “had the right and ability to control other
          infringers.” ECF. No. 1 ¶ 27, 87. This Circuit has long recognized that vicarious copyright
          infringement liability may be premised on a party’s status as a beneficiary of an infringing act and
          its ability to control an infringer, and Plaintiff has accordingly sufficiently plead WMG’s vicarious
          liability on the basis of its ability to control its infringing subsidiaries and the benefits it has derived
          from the Challenged Composition. See Shapiro, Bernstein & Co. v. H. L. Green Co., 316 F.2d 304,
          307 (2d Cir. 1963)(“When the right and ability to supervise coalesce with an obvious and direct
          financial interest in the exploitation of copyrighted materials—even in the absence of actual
          knowledge that the copyright [] is being impaired—the purposes of copyright law may be best
          effectuated by the imposition of liability upon the beneficiary of that exploitation.”)(internal
          citations omitted).

                 Furthermore, RCA is the record label entity to which Defendant Glover is signed and
          through which the Challenged Composition was produced, distributed, marketed, and promoted,
          amongst other things. Despite Defendants assertions concerning the nature of RCA’s corporate
          existence, RCA has interposed answers on its own behalf alongside Sony Music Entertainment
          (“SME”) in copyright infringement suits naming both entities as defendants and postdating RCA’s
          reported merger with SME, including in Yours, Mine and Ours Music v. Sony Music
          Entertainment, et al., No. 2:16-cv-08056 (C.D. Cal. 2016). As such, Defendant RCA is a properly
          named party at this stage of the action in addition to Defendant WMG.

                                                                    Very Truly Yours,

                                                                    AIDALA, BERTUNA & KAMINS, P.C.

                                                           By:      /s/ Imran H. Ansari
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          cc:     The Honorable Victor Marrero (Fax)
                  Paul Maslo, Esq. (Email)
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                            JONATHAN D. DAVIS, P.C.
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                                                              January 18, 2022
VIA FIRST-CLASS MAIL/EMAIL/PDF
Imran H. Ansari, Esq.
Aidala, Bertuna & Kamins, P.C.
546 Fifth Avenue
New York, New York 10036

       Re: Nwosuocha v. Glover, et al. (Civ. Action No. 21-cv-04047)

Dear Mr. Ansari:

        We write on behalf of all Defendants in response to your January 12, 2022 letter and in
furtherance of the procedures described in Paragraph II.B. of Judge Marrero’s Individual Practices.
For the reasons set out below, and in our prior letter, we urge your client to reconsider pursuing
his baseless copyright infringement claims, as continuing to pursue them will likely subject him to
the payment of Defendants’ reasonable attorney’s fees and costs under 17 U.S.C. § 505.

       Addressing your client’s technical standing problem, your response to Plaintiff’s lack of
standing, including your argument that his registration for a collection of purportedly unpublished
sound recordings also covers his purported copyright in the composition at issue misunderstands
copyright registration requirements. While Form SR may be used to register copyright claims in
both a sound recording and an underlying musical work, obtaining coverage for both works
requires a description of the “Nature of Authorship” that explicitly covers each separate work.

       Indeed, Form SR explains in its “LINE-BY-LINE INSTRUCTIONS” the descriptions
needed to encompass both works in a sound recording registration:

           Nature of Authorship: Sound recording authorship is the performance,
           sound production, or both, that is fixed in the recording deposited for
           registration. Describe this authorship in space 2 as “sound recording.”
           If the claim also covers the underlying work(s), include the appropriate
           authorship terms for each author, for example, “words,” “music,”
           “arrangement of music,” or “text.”

Form SR (rev. 05/2019) (the current version) (emphasis added); see also Form SR (rev.12/2016)
(same); and Form SR (rev. 05/2012) (same). Copies are attached. U.S. Copyright Circular 56A
also makes this point clear by using a chart and showing that if the application seeks to register the
musical composition and the sound recording, then the description of what the author created must
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Imran H. Ansari, Esq.
January 18, 2022
Page 2

reflect both works. U.S. COPYRIGHT OFFICE, CIRCULAR NO. 56A. Copyright Registration of
Musical      Compositions       and        Sound      Recordings        (2021),       available     at
https://www.copyright.gov/circs/circ56a.pdf, at 2. In addition, Circular 56A explains that
“[c]opyright in a sound recording is not the same as, or a substitute for, copyright in the underlying
musical composition” and that “[t]o register a single claim in both works, [an applicant must] give
information about the author(s) of both the musical composition and the sound recording.” Id. at
1.

        Because Plaintiff’s Certificate of Registration limits his authorship to “sound recording”
without the additional description needed to claim a copyright in the musical composition, such as
“words,” “music,” or “words and music”, the registration, at most, can only protect the sound
recording for “Made in America.” To pursue an infringement claim concerning a “composition,”
the registration must reflect, in accordance with the above requirements, that it specifically covers
the composition. Here, the registration is silent regarding that particular work.

         But the sound recording for “Made in America” is not at issue in this case because your
client has not alleged – and cannot allege – a sampling claim. The claim here is not that the sound
recording of Plaintiff’s work was duplicated by the sound recording of “This is America.” There
is no dispute that it is not. What purportedly is at issue is Plaintiff’s composition – a work that is
not currently protected by a copyright registration. You may be under the misimpression that one
can register a copyright in a musical composition by submitting a sound recording to the Copyright
Office as the deposit copy for a sound recording application. But that is incorrect and it does not
satisfy the requirements of the Copyright Office.

        Because there is no copyright claim regarding your client’s “sound recording,” the issue of
whether the “Made in America” sound recording has been published is immaterial to your client’s
purported infringement claims. Nevertheless, and purely to address here a non-relevant issue of
copyright law, we disagree with your contention that a work is only published if a copy can be
retained by the user. The Copyright Act’s definition of publication is not circumscribed in the
manner you contend in your letter. See 17 U.S.C. § 101 (stating publication includes “offering to
distribute … phonorecords to a group of persons for purposes of further distribution, public
performance, or public display”).

        The example you cite from Circular 66, titled “Copyright Registration of Websites and
Website Content,” addresses a work “made available only by streaming” and provides that
streaming “in and of itself” does not constitute publication. U.S. COPYRIGHT OFFICE, CIRCULAR
NO. 66. Copyright Registration of Website and Website Content (2021), available at
https://www.copyright.gov/circs/circ66.pdf, at 5. But the Complaint alleges more than just
streaming “in and of itself.” It alleges that phonorecords were offered to multiple on-line services
for public display/performance, which acts “constitute[] publication.” 17 U.S.C. § 101; see also
         Case 23-703, Document 104, 11/07/2023, 3588268, Page157 of 173
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Imran H. Ansari, Esq.
January 18, 2022
Page 3

U.S. COPYRIGHT OFFICE, COMPENDIUM OF U.S. COPYRIGHT OFFICE PRACTICES §1906.1 (3d ed.
2021) (explaining publication occurs when, for example, a movie is offered to groups of theaters
or TV networks for exhibition or broadcasting, or phonorecords are offered to radio stations for
purpose of broadcasting songs and sound recordings embodied therein). In any event, when
Plaintiff uploaded his recording of “Made in America” to SoundCloud, the service permitted users
to copy and download songs for use offline. See Introducing SoundCloud Go, SOUNDCLOUD,
https://blog.soundcloud.com/2016/03/29/introducing-soundcloud-go/ (last visited Jan. 18, 2022)
(introducing SoundCloud Go on March 29, 2016, a service that provides users the ability to “listen
offline … without a cell signal or internet connection” so that “[w]hether you’re down in the
subway, 30-thousand feet overhead or completely off the grid, with SoundCloud Go, you’ll have
access to all your favorites offline”) (emphasis in original). So even if publication under the
Copyright Act requires a user’s ability to copy and retain a recording – which it does not – any
such requirement has been satisfied here.

        Turning to the substance of your infringement claim, your response to Plaintiff’s failure to
allege access misses the point. Plaintiff cannot simply rely on his allegations that the works at issue
are “strikingly similar,” when any lay listener could readily determine they are neither “strikingly
similar” nor “substantially similar.” Perhaps you believe that offering a conclusory assertion of
striking similarity will enable Plaintiff to avoid a dismissal at the outset of a case. That is a
mistaken view. Plaintiff has made no showing that the works at issue share any actionable
similarity – let alone a striking similarity – and the copyright law does not forgive establishing
“access” merely by alleging striking similarity. There still must be a reasonable basis for access
and, as a matter of law, there is none here. In any event, any characterization of the works by
counsel, or a purported expert, cannot change what is observable by a lay person who listens to
the works. The works control the analysis, not a description by Plaintiff, his counsel, or anyone
else. See Peter F. Gaito Architecture, LLC v. Simone Dev. Corp., 602 F.3d 57, 64 (2d Cir. 2010)
(stating “[i]n copyright infringement actions, the works themselves supersede and control contrary
descriptions of them, including any contrary allegations, conclusions or descriptions of the works
contained in the pleadings”).

        Your response to our argument for dismissal of WMG is unavailing. WMG is the indirect
corporate parent of Defendants Atlantic Recording Corporation and Warner-Tamerlane Publishing
Corp. WMG has no ownership in the challenged composition. Moreover, Plaintiff’s allegations
against WMG are conclusory and do not support any copyright infringement claim against an
indirect parent company.

        Finally, we do not understand your refusal to drop RCA from the case. RCA is not an
entity, but an unincorporated business unit owned directly by SME, i.e., there are no intervening
layers of ownership between RCA and SME. In the case identified in your letter, Yours, Mine and
Ours Music v. Sony Music Entertainment, 16-cv-08056-RSWL-SK (C.D. Cal. filed Oct. 28, 2016),
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Imran H. Ansari, Esq.
January 18, 2022
Page 4

RCA Records was incorrectly sued as “RCA Records, Inc.” The lawsuit was voluntarily dismissed.
So, the mere filing of that Answer is not indicative of whether RCA is a proper party here, which
it is not.

        Because your client has no standing or meritorious claims against Defendants, we urge
Plaintiff to promptly withdraw this lawsuit before Defendants incur additional attorney’s fees and
costs that will be pursued against him.

                                                            Very truly yours,

                                                            /s/ Jonathan D. Davis

                                                            Jonathan D. Davis

JDD:hs

cc: Paul Maslo, Esq.
    Alex Spiro, Esq.
    Donald S. Zakarin, Esq.
    Ilene S. Farkas, Esq.
    (All Via Email/PDF)
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4 Form SR       Detach and read these instructions before completing this form.
                Make sure all applicable spaces have been ﬁlled in before you return this form.

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When to Use This Form: Use Form SR for registration of published or unpublished                 Contribution to a Collective Work: Deposit one complete phonorecord of the best
sound recordings. Form SR should be used when the copyright claim is limited to the          edition of the collective work.
sound recording itself, and it may also be used where the same copyright claimant is
seeking simultaneous registration of the underlying musical, dramatic, or literary work      The Copyright Notice: Before March 1, 1989, the use of copyright notice was man-
embodied in the phonorecord.                                                                 datory on all published works, and any work first published before that date should
   With one exception, “sound recordings” are works that result from the fixation of a       have carried a notice. For works first published on and after March 1, 1989, use of
series of musical, spoken, or other sounds. The exception is for the audio portions of       the copyright notice is optional. For more information about copyright notice, see
audiovisual works, such as a motion picture soundtrack or an audio cassette accom-           Copyright Notice (Circular 3).
panying a filmstrip. These are considered a part of the audiovisual work as a whole.
                                                                                             For Further Information: To speak to a Copyright Office staff member, call
Unpublished works: This form may be used to register one unpublished work. This              (202) 707-3000 or 1-877-476-0778. Recorded information is available 24 hours a day.
form cannot be used to register a “collection” of two or more unpublished works. Any         Order forms and other publications from Library of Congress, Copyright Office-
paper application submitted with more than one unpublished work may be refused.              COPUBS, 101 Independence Avenue SE, Washington, DC 20559 or call (202) 707-9100
To register multiple unpublished works, you must use the online application for              or 1-877-476-0778 (toll free). Access and download circulars and other information
“A Group of Unpublished Works.” For information about the online application, see            from the Copyright Office website at www.copyright.gov.
Multiple Works (Circular 34).
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Deposit to Accompany Application: An application for copyright registration must                                       
be accompanied by a deposit consisting of phonorecords representing the entire work                        
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for which registration is to be made.                                                          LQ FKDSWHUV  DQG  R WLWOH  8 6 &
   Unpublished Work: Deposit one complete phonorecord.                                                KH SULQFLSDO XVHV R WKH UHTXHVWHG LQ RUPDWLRQ DUH WKH HVWDEOLVKPHQW DQG PDLQWHQDQFH R D
   Published Work: Deposit two complete phonorecords of the best edition,                      SXEOLF UHFRUG DQG WKH H[DPLQDWLRQ R WKH DSSOLFDWLRQ RU FRPSOLDQFH ZLWK WKH UHJLVWUDWLRQ UHTXLUH
                                                                                               PHQWV R WKH FRS\ULJKW FRGH
together with “any printed or other visually perceptible material” published with the               2WKHU URXWLQH XVHV LQFOXGH SXEOLF LQVSHFWLRQ DQG FRS\LQJ SUHSDUDWLRQ R SXEOLF LQGH[HV SUHSDUD
phonorecords.                                                                                  WLRQ R SXEOLF FDWDORJV R FRS\ULJKW UHJLVWUDWLRQV DQG SUHSDUDWLRQ R VHDUFK UHSRUWV XSRQ UHTXHVW
                                                                                                    12 ( 1R RWKHU DGYLVRU\ VWDWHPHQW ZLOO EH JLYHQ LQ FRQQHFWLRQ ZLWK WKLV DSSOLFDWLRQ 3OHDVH NHHS
   Work First Published Outside the United States: Deposit one complete phonore-               WKLV VWDWHPHQW DQG UH HU WR LW L ZH FRPPXQLFDWH ZLWK \RX UHJDUGLQJ WKLV DSSOLFDWLRQ
cord of the first foreign edition.


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                                      Please type or print using black ink. The form is used to produce the certificate.



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                                                                                              specially ordered or commissioned for use as a contribution to a collective work, as a
           &,'$                                                                      part of a motion picture or other audiovisual work, as a translation, as a supplemen-
                                                                                              tary work, as a compilation, as an instructional text, as a test, as answer material for a
             Title of This Work: Every work submitted for copyright registration must         test, or as an atlas, if the parties expressly agree in a written instrument signed by them
 be given a title to identify that particular work. If the phonorecords or any accom-         that the work shall be considered a work made for hire.” If you have checked “Yes” to
 panying printed material bears a title (or an identifying phrase that could serve as a       indicate that the work was “made for hire,” you must give the full legal name of the
 title), transcribe that wording completely and exactly on the application. Indexing of       employer (or other person for whom the work was prepared). You may also include
 the registration and future identification of the work may depend on the information         the name of the employee along with the name of the employer (for example: “Elster
 you give here.                                                                               Record Co., employer for hire of John Ferguson”).
     Previous, Alternative, or Contents Titles: Complete this space if there are any            “Anonymous” or “Pseudonymous” Work: An author’s contribution to a work is
 previous or alternative titles for the work under which someone searching for the           “anonymous” if that author is not identified on the copies or phonorecords of the work.
 registration might be likely to look, or under which a document pertaining to the            An author’s contribution to a work is “pseudonymous” if that author is identified on
 work might be recorded. You may also give the individual contents titles, if any, in         the copies or phonorecords under a fictitious name. If the work is “anonymous” you
 this space or you may use a Continuation Sheet (Form CON). Circle the term that              may: (1) leave the line blank; or (2) state “anonymous” on the line; or (3) reveal the
 describes the titles given.                                                                  author’s identity. If the work is “pseudonymous” you may: (1) leave the line blank;
                                                                                              or (2) give the pseudonym and identify it as such (for example: “Huntley Haverstock,
                                                                                              pseudonym”); or (3) reveal the author’s name, making clear which is the real name and

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              General Instructions: After reading these instructions, decide who are the
                                                                                              which is the pseudonym (for example: “Judith Barton, whose pseudonym is Madeline
                                                                                              Elster”). However, the citizenship or domicile of the author must be given in all cases.
                                                                                                  Dates of Birth and Death: If the author is dead, the statute requires that the year of
“authors” of this work for copyright purposes. Then, unless the work is a “collective         death be included in the application unless the work is anonymous or pseudonymous.
 work,” give the requested information about every “author” who contributed any               The author’s birth date is optional, but is useful as a form of identification. Leave this
 appreciable amount of copyrightable matter to this version of the work. If you need          space blank if the author’s contribution was a “work made for hire.”
 further space, use additional Continuation Sheets. In the case of a collective work such        Author’s Nationality or Domicile: Give the country in which the author is a citi-
 as a collection of previously published or registered sound recordings, give information     zen, or the country in which the author is domiciled. Nationality or domicile must be
 about the author of the collective work as a whole. If you are submitting this Form SR       given in all cases.
 to cover the recorded musical, dramatic, or literary work as well as the sound recording         Nature of Authorship: Sound recording authorship is the performance, sound pro-
 itself, it is important for space 2 to include full information about the various authors    duction, or both, that is fixed in the recording deposited for registration. Describe this
 of all of the material covered by the copyright claim, making clear the nature of each       authorship in space 2 as “sound recording.” If the claim also covers the underlying
 author’s contribution.                                                                       work(s), include the appropriate authorship terms for each author, for example, “words,”
     Name of Author: The fullest form of the author’s name should be given. Unless the       “music,” “arrangement of music,” or “text.”
 work was “made for hire,” the individual who actually created the work is its “author.”          Generally, for the claim to cover both the sound recording and the underlying
 In the case of a work made for hire, the statute provides that “the employer or other        work(s), every author should have contributed to both the sound recording and the
 person for whom the work was prepared is considered the author.”                             underlying work(s). If the claim includes artwork or photographs, include the appro-
     What Is a “Work Made for Hire”? A “work made for hire” is defined as: (1) “a work        priate term in the statement of authorship.
 prepared by an employee within the scope of his or her employment”; or (2) “a work
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                                                                Changed Version: If the work has been changed and you are now seeking registra-

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            General Instructions: Do not confuse “creation” with “publication.” Every
                                                                                                tion to cover the additions or revisions, check the last box in space 5, give the earlier
                                                                                                registration number and date, and complete both parts of space 6 in accordance with
                                                                                                the instructions below.
application for copyright registration must state “the year in which creation of the               Previous Registration Number and Date: If more than one previous registration
work was completed.” Give the date and nation of first publication only if the work             has been made for the work, give the number and date of the latest registration.
has been published.


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    Creation: Under the statute, a work is “created” when it is fixed in a copy or pho-
norecord for the first time. If a work has been prepared over a period of time, the part
of the work existing in fixed form on a particular date constitutes the created work on
that date. The date you give here should be the year in which the author completed the                     General Instructions: Complete space 6 if this work is a “changed version,”
particular version for which registration is now being sought, even if other versions          “compilation,” or “derivative work,” and if it incorporates one or more earlier works that
exist or if further changes or additions are planned.                                           have already been published or registered for copyright, or that have fallen into the
    Publication: The statute defines “publication” as “the distribution of copies or pho-       public domain, or sound recordings that were fixed before February 15, 1972. A “com-
norecords of a work to the public by sale or other transfer of ownership, or by rental,         pilation” is defined as “a work formed by the collection and assembling of preexisting
lease, or lending”; a work is also “published” if there has been an “offering to distrib-       materials or of data that are selected, coordinated, or arranged in such a way that the
ute copies or phonorecords to a group of persons for purposes of further distribution,          resulting work as a whole constitutes an original work of authorship.” A “derivative
public performance, or public display.” Give the full date (month, date, year) when, and        work” is “a work based on one or more preexisting works.” Examples of derivative
the country where, publication first occurred. If first publication took place simultane-       works include recordings reissued with substantial editorial revisions or abridgments
ously in the United States and other countries, it is sufficient to state “U.S.A.”              of the recorded sounds, and recordings republished with new recorded material, or “any
                                                                                                other form in which a work may be recast, transformed, or adapted.” Derivative works


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                                                                                                also include works “consisting of editorial revisions, annotations, or other modifica-
                                                                                                tions” if these changes, as a whole, represent an original work of authorship.
                                                                                                    Preexisting Material (space 6a): Complete this space and space 6b for derivative
          Name(s) and Address(es) of Copyright Claimant(s): Give the name(s) and                works. In this space identify the preexisting work that has been recast, transformed,
address(es) of the copyright claimant(s) in the work even if the claimant is the same           or adapted. The preexisting work may be material that has been previously published,
as the author. Copyright in a work belongs initially to the author of the work (includ-         previously registered, or that is in the public domain. For example, the preexisting
ing, in the case of a work made for hire, the employer or other person for whom the             material might be: “1970 recording by Sperryville Symphony of Bach Double Concerto.”
work was prepared). The copyright claimant is either the author of the work or a                    Material Added to This Work (space 6b): Give a brief, general statement of the
person or organization to whom the copyright initially belonging to the author has              additional new material covered by the copyright claim for which registra-
been transferred.                                                                               tion is sought. In the case of a derivative work, identify this new material.
    Transfer: The statute provides that, if the copyright claimant is not the author,           Examples: “Recorded performances on bands 1 and 3”; “Remixed sounds from original
the application for registration must contain “a brief statement of how the claimant            multitrack sound sources”; “New words, arrangement, and additional sounds.” If the
obtained ownership of the copyright.” If any copyright claimant named in space 4a is            work is a compilation, give a brief, general statement describing both the material that
not an author named in space 2, give a brief statement explaining how the claimant(s)           has been compiled and the compilation itself. Example: “Compilation of 1938 record-
obtained ownership of the copyright. Examples: “By written contract”; “Transfer of all          ings by various swing bands.”
rights by author”; “Assignment”; “By will.” Do not attach transfer documents or other


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attachments or riders.
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                                                                                                Deposit Account: If you maintain a deposit account in the Copyright Office, identify
           General Instructions: The questions in space 5 are intended to show whether          it in space 7a. Otherwise, leave the space blank and send the filing fee with your appli-
an earlier registration has been made for this work and, if so, whether there is any basis      cation and deposit. (See space 8 on form.) Note: Copyright Office fees are subject to
for a new registration. As a rule, only one basic copyright registration can be made for        change. For current fees, check the Copyright Office website at www.copyright.gov, write
the same version of a particular work.                                                          the Copyright Office, or call (202) 707-3000 or 1-877-476-0778 (toll free).
   Same Version: If this version is substantially the same as the work covered by a pre-            Correspondence (space 7b): Give the name, address, area code, telephone number,
vious registration, a second registration is not generally possible unless: (1) the work has    fax number, and email address (if available) of the person to be consulted if correspon-
been registered in unpublished form and a second registration is now being sought to            dence about this application becomes necessary.
cover this first published edition; or (2) someone other than the author is identified as           Certification (space 8): This application cannot be accepted unless it bears the date
copyright claimant in the earlier registration and the author is now seeking registration       and the signature of the author or other copyright claimant, or the owner of exclusive
in his or her own name. If either of these two exceptions applies, check the appropri-          right(s), or the duly authorized agent of the author, claimant, or owner of exclusive
ate box and give the earlier registration number and date. Otherwise, do not submit             right(s).
Form SR. Instead, write the Copyright Office for information about supplementary                    Address for Return of Certificate (space 9): The address box must be completed
registration or recordation of transfers of copyright ownership.                                legibly since the certificate will be returned in a window envelope.


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   “Works”: “Works” are the basic subject matter of copyright; they are what authors           #).& ).$&!)+!#((!**&$-$)(
create and copyright protects. The statute draws a sharp distinction between the “work”
and “any material object in which the work is embodied.”                                       If your work consists of a recorded musical, dramatic, or literary work and if both that
   “Copies” and “Phonorecords”: These are the two types of material objects in which           “work” and the sound recording as a separate “work” are eligible for registration, the
“works” are embodied. In general, “copies” are objects from which a work can be read           application form you should file depends on the following:
or visually perceived, directly or with the aid of a machine or device, such as manu-              File Only Form SR if: The copyright claimant is the same for both the musical,
scripts, books, sheet music, film, and videotape. “Phonorecords” are objects embodying         dramatic, or literary work and for the sound recording, and you are seeking a single
fixations of sounds, such as audio tapes and phonograph disks. For example, a song (the        registration to cover both of these “works.”
“work”) can be reproduced in sheet music (“copies”) or phonograph disks (“phonore-                 File Only Form PA (or Form TX) if: You are seeking to register only the musical,
cords”), or both.                                                                              dramatic, or literary work, not the sound recording. Form PA is appropriate for works
   “Sound Recordings”: These are “works,” not “copies” or “phonorecords.” “Sound               of the performing arts; Form TX is for nondramatic literary works.
recordings” are “works that result from the fixation of a series of musical, spoken,               Separate Applications Should Be Filed on Form PA (or Form TX) and on Form
or other sounds, but not including the sounds accompanying a motion picture or                 SR if: (1) The copyright claimant for the musical, dramatic, or literary work is different
other audiovisual work.” Example: When a record company issues a new release, the              from the copyright claimant for the sound recording; or (2) you prefer to have separate
release will typically involve two distinct “works”: the “musical work” that has been          registrations for the musical, dramatic, or literary work and for the sound recording.
recorded, and the “sound recording” as a separate work in itself. The material objects
that the record company sends out are “phonorecords”: physical reproductions of both
the “musical work” and the “sound recording.”
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                    TITLE OF THIS WORK W


                   PREVIOUS, ALTERNATIVE, OR CONTENTS TITLES (CIRCLE ONE) W




                    NAME OF AUTHOR W                                                                                                              DATES OF BIRTH AND DEATH
                                                                                                                                                  Year Born W      Year Died W

                    Was this contribution to the work           AUTHOR’S NATIONALITY OR DOMICILE                                                  WAS THIS AUTHOR’S CONTRIBUTION TO
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                    a “work made for hire”?
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                    NATURE OF AUTHORSHIP Briefly describe nature of material created by this author in which copyright is claimed. W


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                    a “work made for hire”?                                                                                                                      WKH DQVZHU WR HLWKHU
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 WLRQV    RU DQ\                                                        Domiciled in                                                              Pseudonymous?                                                     
 SDUW R WKLV
 ZRUN WKDW ZDV      NATURE OF AUTHORSHIP Briefly describe nature of material created by this author in which copyright is claimed. W
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 SURYLGHG JLYH
 WKH HPSOR\HU
                    NAME OF AUTHOR W                                                                                                              DATES OF BIRTH AND DEATH
  RU RWKHU                                                                                                                                       Year Born W      Year Died W
 SHUVRQ RU
 ZKRP WKH ZRUN
 ZDV SUHSDUHG       Was this contribution to the work           AUTHOR’S NATIONALITY OR DOMICILE                                                  WAS THIS AUTHOR’S CONTRIBUTION TO
                    a “work made for hire”?                                                                                          THE WORK                    WKH DQVZHU WR HLWKHU

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 GHDWK EODQN        NATURE OF AUTHORSHIP Briefly describe nature of material created by this author in which copyright is claimed. W



                    YEAR IN WHICH CREATION OF THIS                                   DATE AND NATION OF FIRST PUBLICATION OF THIS PARTICULAR WORK
                    WORK WAS COMPLETED

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                    COPYRIGHT CLAIMANT(S) Name and address must be given even if the claimant is the same as the author                                                $33/ &$7 21 5(&( 9('
                    given in space 2. W

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EH RUH FRPSOHWLQJ   TRANSFER If the claimant(s) named here in space 4 is (are) different from the author(s) named in space 2, give a
WKLV VSDFH          brief statement of how the claimant(s) obtained ownership of the copyright. W

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PREVIOUS REGISTRATION Has registration for this work, or for an earlier version of this work, already been made in the Copyright Office?
T Yes T No If your answer is “Yes,” why is another registration being sought? (Check appropriate box) W
a. T This work was previously registered in unpublished form and now has been published for the first time.
b. T This is the first application submitted by this author as copyright claimant.
c. T This is a changed version of the work, as shown by space 6 on this application.
If your answer is “Yes,” give: Previous Registration Number W                                 Year of Registration W
                                                                                                                                                                                                          
DERIVATIVE WORK OR COMPILATION



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Preexisting Material Identify any preexisting work or works that this work is based on or incorporates. W


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Material Added to This Work Give a brief, general statement of the material that has been added to this work and in which copyright is claimed. W                                                  WKLV VSDFH



$
DEPOSIT ACCOUNT If the registration fee is to be charged to a deposit account established in the Copyright Office, give name and number of account.
        Name W                                                                                 Account Number W

#
CORRESPONDENCE Give name and address to which correspondence about this application should be sent. Name/Address/Apt/City/State/Zip W



$       Area code and daytime telephone number              (            )                                                               Fax number             (          )

   Email

CERTIFICATION* I, the undersigned, hereby certify that I am the
Check only one W
T author                                 T owner of exclusive right(s)
T other copyright claimant               T authorized agent of
                                                                 1DPH R DXWKRU RU RWKHU FRS\ULJKW FODLPDQW RU RZQHU R H[FOXVLYH ULJKW V V

of the work identified in this application and that the statements made by me in this application are correct to the best of my knowledge.

Typed or printed name and date W If this application gives a date of publication in space 3, do not sign and submit it before that date.

                                                                                                                                              Date
                 Signature W




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                Form SR
                Detach and read these instructions before completing this form.
                Make sure all applicable spaces have been fillea in before you return this form.
                                                                         BASIC INFORMATION

When to Use This Form: Use Form SR for registration of published or                        The Copyright Notice: Before March 1, 1989, the use of copyright notice
unpublished sound recordings. Form SR should be used when the copyright                    was mandatory on all published works, and any work first published before
claim is limited to the sound recording itself, and it may also be used where the          that date should have carried a notice. For works first published on and after
same copyright claimant is seeking simultaneous registration ofthe underlying              March 1, 1989, use of the copyright notice is optional. For more information
musical, dramatic, or literary work embodied in the phonorecord.                           about copyright notice, see Circular 3, Copyright Notices.
   With one exception, "sound recordings" are works that result from the fixa-             For Further Information: To speak to a Copyright Office staff member,
tion of a series of musical, spoken, or other sounds. The exception is for the             call (202) 707-3000 or 1-877-476-0778. Recorded information is available 24
audio portions of audiovisual works, such as a motion picture soundtrack or                hours a day. Order forms and other publications from Library of Congress,
an audio cassette accompanying a filmstrip. These are considered a part of the             Copyright Office- COPUBS, 101 Independence Avenue SE, Washington, DC
aud iovisual work as a whole.                                                              20559 or call (202) 707-9100 or 1-877-476-0778 (toll free). Access and down-
Deposit to Accompany Application: An application for copyright                             load circulars and other information from the Copyright Office website at
registration must be accompanied by a deposit consisting of phonorecords                   www.copyright.gov.
representing the entire work for which registration is to be made.
                                                                                            PRIVACY ACT ADVISORY STATEMENT Required by the Privacy Act o 1974 (P.l. 93-579)
   Unpublished Work: Deposit one complete phonorecord.                                             he authority or requesting this in ormation is title 17 USC §409 and §410 urnishing the
   Published Work: Deposit two complete phonorecords of the best edition,                   requested in ormation is voluntary But i the in ormabon is not urnished, it may be necessary to delay
                                                                                            or re use registration and you may not be entitled to certain relie, remedies, and benefits provided
together with "any printed or other visually perceptible material" published                in chapters 4 and 5 o tiitle 17 U S C
with the phonorecords.                                                                             he principal uses o the requested in orrnation are the establishment and maintenance o a
                                                                                            public record and the examination o the application or compliance with the registration require-
   Work First Published Outside the United States: Deposit one complete                     ments o the copyright code
phonorecord of the first foreign edition.                                                        other routine uses indude public inspection and copying, preparationo public indexes, prepara•
                                                                                            lion o public catalogs o copyright registrations, and preparation o search reports upon request
   Contribution to a Collective Work: Deposit one complete phonorecord of                        NO E No other advisory statement will be given in connection with this application Please keep
the best edition of the collective work.                                                    this statement and re er to it i we communicate with you regarding this application




                                                              LINE-BY-LINE INSTRUCTIONS
                                        Please type or print neatly using black ink. The form is used to produce the certificate.
                                                                                           work specially ordered or commissioned for use as a contribution to a collective

b         SPACE 1: Title
          Title of This Work: Every work submitted for copyright registration must
          be given a title to identify that particular work. lf the phonorecords or any
                                                                                           work, as a part of a motion picture or other audiovisual work, as a translation, as a
                                                                                           supplementary work, as a compilation, as an instructional text, as a test, as answer
                                                                                           material for a test, or as an atlas, if the parties expressly agree in a written instru-
                                                                                           ment signed by them that tl1e work shall be considered a work made for hire." If
accompanying printed material bears a title(or an identifying phrase that could            you have checked "Yes" to indicate tl1at the work was "made for hire:' you must
serve as a title), transcribe that wording completely and exactly on the application.      give the full legal name of tl1e employer (or other person for whom the work was
Indexing of the registration and future identification of the work may depend on           prepared). You may also include the name of the employee along with the name of
the information you give here.                                                             the employer (for example: "Elster Record Co.,employer for hire of John Ferguson").
   Previous,AJternative, or Contents Titles: Complete this space if tl1ere are any        "Anonymous" or "Pseudonymous" Work: An autl10r's contribution to a work
previous or alternative titles for the work wider whicl1 someone searching for the         is "anonymous" if that author is not identified on tl1e copies or phonorecords of
registration might be likely to look, or under whicl1 a document pertaining to the         the work. An author's contribution to a work is "pseudonymous" if tl1at author
work might be recorded. You may also give the individual contents titles, if any,          is identified on the copies or phonorecords under a fictitious name. If the work
in this space or you may use a Continuation Sheet (Form CON). Circle the term              is "anonymous" you may: (1) leave the line blank; or (2) state "anonymous" on the
that describes the titles given.                                                           line; or (3) reveal the autl1or's identity. If the work is "pseudonymous"you may: (1)
                                                                                           leave tl1e line blank; or (2) give the pseudonym and identify it as sucl1 (for example:

FJ        SPACE 2: Author(s)
           General Instructions: After reading these instructions, decide who are the
                                                                                          "Huntley Haverstock, pseudonym"); or (3) reveal tl1e author's name, making clear
                                                                                           which is the real name and which is the pseudonym (for example: "Judith Barton,
                                                                                           whose pseudonym is Madeline Elster'l However, the citizenship or domicile of
                                                                                           the author must be given in all cases.
"authors" of this work for copyright purposes. Then, unless the work is a "collective      Dates ofBirth and Death: If the author is dead, the statute requires tlrnt the yearof
 work:' give the requested information about every"author" who contributed any             death be included in tl1e application unless tl1e work is anonymous or pseudony-
 appreciable amount of copyrightable matter to this version of the work. Ifyou need        mous. The author's birth date is optional, but is useful as a form of identification.
 further space, use additional Continuation Sheets. In the case of a collective work       Leave this space blank if tl1e autl1or's contribution was a "work made for hire."
 such as a collection of previously published or registered sotmd recordings, give
 information about the author of the collective work as a whole. If you are submit-       Author's Nationality or Domicile: Give the country in which the autl1or is a citizen,
 ting this Form SR to cover the recorded musical,dramatic, or literary work as well       or the country in which tl1e autl10r is domiciled. Nationality or domicile must be
 as the sound recording itself, it is important for space 2 to include full information   given in all cases.
 about the various authors of all of the material covered by the copyright claim,          Nature of Authorship: Sotmd recording autl1orship is the performance, sound
 making clear tl1e nature of eacl1 author's contribution.                                  production, or both, that is fixed in the recording deposited for registration. De-
 Name of Author: The fullest form of the author's name should be given. Unless             scribe this authorship in space 2 as "sound recording." If the claim also covers the
 the work was "made for hire," the individual who actu.ally created the work is its        underlying work(s), include the appropriate authorship terms for each author, for
"author:• In the case of a work made for hire, the statute provides that"the employer      example, "words," "music;1"arrangement of music," or ''text.,,
 or other person for whom the work was prepared is considered the autl1or."                   Generally, for the claim to cover both the sound recording and the underlying
                                                                                           work(s), every author should have contributed to both the sound recording and
\Vhat Isa"WorkMade for Hire"? A "workmadefor hire" is defined as: (1) "a work              the underlying work(s). If tl1e claim includes artwork or photographs, include the
prepared by an employee witl1in the scope of his or her employment"; or (2) "a             appropriate term in the statement of authorship.
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f!]         SPACE 3: Creation and Publication
                                                                                                         Changed Version: If the work has been changed and you are now seeking reg-
                                                                                                      istration to cover the additions or revisions, clleck the last box in space 5, give
                                                                                                      the earlier registration number and date, and complete both parts of space 6 in
                                                                                                      accordance with the instructions below.
         General instructions: Do not confuse "creation" with "publication."
Every application for copyright registration must state "the year in which creation                      Previous Registration Number and Date: Ifmore than one previous registration
of the work was completed." Give the date and nation of first publication only if                      has been made for the work, give the number and date of the latest registration.
the work has been published.
   Creation: Under the statute, a work is "created" when it is fixed in a copy or
phonorecord for the first time. If a work has been prepared over a period of time,                              SPACE 6: Derivative Work or Compilation
the part of the work existing in fixed form on a particular date constitutes the
created work on that date. The date you give here should be the year in which                                    General instructions: Complete space 6 if this work is a "changed version;'
the author completed the particular version for which registration is now being                       "compilation;' or "derivative work;' and if it incorporates one or more earlier works
sought, even if other versions exist or if further changes or additions are planned.                   that have already been publislled or registered for copyright, or that have fallen into
   Publication: The statute defines "publication" as "the distribution of copies or                    the public domain, or sound recordings that were fixed before February 15, 1972.
phonorecords of a work to the public by sale or other transfer of ownership, or by                     A"compilation" is defmed as "a work formed by the collection and assembling of
rental, lease, or lending"; a work is also "published" if there has been an "offering                  preexisting materials or of data that are selected, coordinated, or arranged in such
to distribute copies or phonorecords to a group of persons for purposes of further                     a way that the resulting work as a whole constitutes an original work of authorship."
distribution, public performance,or public display." Give the full date(month, date,                   A"derivative work" is "a work based on one or more preexisting works." Examples
year) when, and the country where, publication first occurred. If first publication                    of derivative works include recordings reissued with substantial editorial revisions
took place simultaneously in the United States and other countries, it is sufficient                   or abridgments of the recorded sounds, and recordings republished with new re-
                                                                                                       corded material, or "any other form in which a work may be recast, transformed,



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to state "U.S.A."
                                                                                                       or adapted:' Derivative works also include works "consisting of editorial revisions,
                                                                                                       annotations, or other modifications" if these changes, as a whole, represent an
                                                                                                       original work of authorship.
            SPACE 4: Claimant(s)
                                                                                                         Preexisting Material (space 6a): Complete this space and space 6b for derivative
                                                                                                      works. In this space identify the preexisting work that has been recast, transformed,
         Name(s) and Address(es) of Copyright Claimant(s): Give the name(s)                           or adapted. The preexisting work may be material that has been previously pub-
and address(es) of the copyright claimant(s) in the work even if the claimant is                      lished, previously registered, or that is in the public domain. For example, the
the same as the author. Copyright in a work belongs initially to the author of the                    preexisting material might be: "1970 recording by Sperryville Symphony of Bach
work (including, in the case of a work made for hire, the employer or other person                    Double Concerto."
for whom the work was prepared). The copyright claimant is either the author of
the work or a person or organization to whom the copyright initially belonging                           Material Added to This Work (space 6b): Give a brief, general statement of the
to the author has been transferred.                                                                   additional new material covered by the copyright claim for which registration
                                                                                                       is sought. In the case of a derivative work, identify this new material. Examples:
    Transfer: The statute provides that, if the copyright claimant is not the author,                 "Recorded performances on bands 1 and 3"; "Remixed sounds from original
 the application for registration must contain "a brief stat,ement ofhow the claimant                  multitrack sound sources"; "New words, arrangement, and additional sounds." If
 obtained ownership of the copyright." If any copyright claimant named in space                        the work is a compilation, give a brief, general statement describing both the mate-
 4a is not an author named in space 2, give a brief statement explaining how the                       rial that has been compiled and the compilation itself. Example: "Compilation of
 claimant(s) obtained ownership of the copyright. Examples: "By written contract";                     1938 recordings by various swing bands:'
"Transfer of all rights by author''; "Assignment''; "By will:' Do not attach transfer




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documents or other attad1ments or riders.
                                                                                                                              SPACE 7, 8, 9: Fee, Correspondence,
            SPACE 5: Previous Registration                                                                                    Certification, Return Address
                                                                                                          Deposit Account: If you maintain a deposit account in the Copyright Office,
          General Instructions: The questions in space 5 are intended to show                         identify it in space 7a. Otherwise, leave the space blank and send the filing fee
whether an earlier registration has been made for this work and, if so, whether there                 with your application and deposit. (See space 8 on form.) Note: Copyright Office
is any basis for a new registration. As a rule, only one basic copyright registration                 fees are subject to d1ange. For current fees, cl1eck the Copyright Office website at
can be made for the same version of a particular work.                                                www.copyright.gov, write the Copyright Office, or call (202) 707-3000 or 1-877-
                                                                                                      47 6 - 0 778 (toll free).
   Same Version: If this version is substantially the same as the work covered by a
previous registration, a second registration is not generally possible unless: (1) the                  Correspondence (space 7b): Give the name, address, area code, telephone num-
work has been registered in unpublished form and a second registration is now                         ber, fax number, and email address (if available) of the person to be consulted if
being sought to cover this first published edition; or (2) someone other than the                     correspondence about this application becomes necessary.
author is identified as copyright claimant in the earlier registration and the author                    Certification (space 8): This application cannot be accepted unless it bears the
is now seeking registration in his or her own name. If either of these two excep-                     date and the handwritten signature of the author or other copyright claimant, or
tions applies, check the appropriate box and give the earlier registration number                     of the owner of exclusive right(s), or of the duly authorized agent of the author,
and date. Otherwise, do not submit Form SR. Instead, write the Copyright Office                       claimant, or owner of exclusive right(s).
for information about supplementary registration or recordation of transfers of
                                                                                                         Address for Return of Certificate (space9): The address box must be completed
copyright ownership.
                                                                                                       legibly since the certificate will be returned in a window envelope.

                                                                               MORE INFORMATION
   icworks": "Works' are the basic subject matter of copyright; they are what authors create          Should You File More Than One Application? If your work consists
 and copyright protects. The statute draws a sharp distinction between the "work" and "any            of a recorded musical, dramatic, or literary work and if both that "work" and the sound
 material object in which the work is embodied."                                                      recording as a separate "work" are eligible for registration, the application form you should
     uCopies" and "Phonorecords": These are the two types of material objects in which                ftle depends on the following:
 "works" are embodied. In general, (<copies'' are objects from which a work can be read or               File Only Form SR if: The copyright claimant is the same for both the musical, dramatic,
 visually perceived., directly or with the aid of a machine or device, such as manuscripts, books,    or literary work and for the sound recording, and you are seeking a single registration to
 sheet music, film, and videotape. "Phonorecords" are objects embodying fixations of sounds,          cover both of these "'W>Orks."
 such as audiotapes and phonograph disks. For example, a song(the "work") can be reproduced
 in sheet music ("copies") or phonograph disks {"phonorecords"), or both.                                File Only Form PA (or Form TX) if: You are seeking to register only the musical, dramatic,
                                                                                                      or literary work, not th esow1d recording. Form PA is appropriate for works of the performing
    '"Smmd Recordings": These are '\vorkst not "copies,, or 1'phonorecords.,,ccSound record-          arts; Form TX is for nondramatic literary works.
 ings.' ' are "works that result from the fixation of a series of musical, spoken, or other sounds,
 but not induding the soW1ds accompanying a motion p icture or other audiovisual work."                   Separate Applications Should Be Filed on Fonn PA (or Form TX) and on Form SR if:
 Example: When a record company issues a new release, the release will typically involve two          (1) T11e copyright claimant for the musical, dramatic, or literary work is different from the
 distinct "works": the '1musical work" that has been recorded, and the '1sound recording" as          copyright claimant for the sotmd recording; or (2) you prefer to have separate registrations
 a separate work in itself. The material objects that the record company sends out are "pho-          for the musical, diamatic, or literary work and for the sound recording.
 norecords": physical reproductions of both the "musical work'' and the "sound recording."
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                     TITLE OF THIS WORK W


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                     NAME OF AUTHOR W


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                     YEAR IN WHICH CREATION OF THIS                                   DATE AND NATION OF FIRST PUBLICATION OF THIS PARTICULAR WORK


           %       WORK WAS COMPLETED

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                     COPYRIGHT CLAIMANT(S) Name and address must be given even if the claimant is the same as the author


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                     given in space 2. W
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EH RUH FRPSOHWLQJ    TRANSFER If the claimant(s) named here in space 4 is (are) different from the author(s) named in space 2, give a
WKLV VSDFH           brief statement of how the claimant(s) obtained ownership of the copyright. W

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PREVIOUS REGISTRATION Has registration for this work, or for an earlier version of this work, already been made in the Copyright Office?
T Yes T No If your answer is “Yes,” why is another registration being sought? (Check appropriate box) W
a. T This work was previously registered in unpublished form and now has been published for the first time.
b. T This is the first application submitted by this author as copyright claimant.
c. T This is a changed version of the work, as shown by space 6 on this application.
If your answer is “Yes,” give: Previous Registration Number W                        Year of Registration W
                                                                                                                                                                                                          
DERIVATIVE WORK OR COMPILATION



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Preexisting Material Identify any preexisting work or works that this work is based on or incorporates. W


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Material Added to This Work Give a brief, general statement of the material that has been added to this work and in which copyright is claimed. W                                                  WKLV VSDFH



$
DEPOSIT ACCOUNT If the registration fee is to be charged to a deposit account established in the Copyright Office, give name and number of account.



                                                                                                                                                                                                                       
     Name W                                                                                     Account Number W

#
CORRESPONDENCE Give name and address to which correspondence about this application should be sent. Name/Address/Apt/City/State/Zip W



$   Area code and daytime telephone number                 (            )                                                               Fax number             (          )

     Email




                                                                                                                                                                                                                   
CERTIFICATION* I, the undersigned, hereby certify that I am the
Check only one W
T author                                 T owner of exclusive right(s)
T other copyright claimant               T authorized agent of
                                                                 1DPH R DXWKRU RU RWKHU FRS\ULJKW FODLPDQW RU RZQHU R H[FOXVLYH ULJKW V V

of the work identified in this application and that the statements made by me in this application are correct to the best of my knowledge.

Typed or printed name and date W If this application gives a date of publication in space 3, do not sign and submit it before that date.

                                                                                                                                              Date
                Handwritten signature W




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                Form SR
                Detach and read these instructions before completing this form.
                Make sure all applicable spaces have been fillea in before you return this form.
                                                                         BASIC INFORMATION

When to Use This Form: Use Form SR for registration of published or                        The Copyrigh t Notice: Before March 1, 1989, the use of copyright notice
unpublished sound recordings. Form SR should be used when the copyright                    was mandatory on all published works, and any work first published before
claim is limited to the sound recording itself, and it may also be used where the          that date should have carried a notice. For works first published on and after
same copyright claimant is seeking simultaneous registration ofthe underlying              March 1, 1989, use of the copyright notice is optional. For more information
musical, dramatic, or literary work embodied in the phonorecord.                           about copyright notice, see Circular 3, Copyright Notices.
   With one exception, "sound recordings" are works that result from the fixa-             For Further Information: To speak to a Copyright Office staff member,
tion of a series of musical, spoken, or other sounds. The exception is for the             call (202) 707-3000 or 1-877-476-0778. Recorded information is available 24
audio portions of audiovisual works, such as a motion picture soundtrack or                hours a day. Order forms and other publications from Library of Congress,
an audio cassette accompanying a filmstrip. These are considered a part of the             Copyright Office- COPUBS, 101 Independence Avenue SE, Washington, DC
aud iovisual work as a whole.                                                              20559 or call the Forms and Publications Hotline at (202) 707-9100. Access
Deposit to Accompany Application: An application for copyright                             and download circulars and other information from the Copyright Office
registration must be accompanied by a deposit consisting of phonorecords                   website at www.copyright.gov.
representing the entire work for which registration is to be made.
                                                                                            PRIVACY ACT ADVISORY STATEMENT Required by the Privacy Act o 1974 (P.l. 93-579)
   Unpublished Work: Deposit one complete phonorecord.                                            he authority or requesting this in ormation is title 17 USC §409 and §410        urnishing the
   Published Work: Deposit two complete phonorecords of the best edition,                   requested in ormation is voluntary But i the in ormabon is not urnished, it may be necessary to delay
                                                                                            or re use registration and you may not be entitled to certain relie, remedies. and benefits provided
together with "any printed or other visually perceptible material" published                in chapters 4 and 5 o tiitle 17 U S C
with the phonorecords.                                                                            he principal uses o the requested in orrnation are the establishment and maintenance o a
                                                                                            public record and the examination o the application or compliance with the registration require-
   Work First Publis hed Outside the United States: Deposit one complete                    ments o the copyright code
phonorecord of the first foreign edition.                                                       other routine uses indude public inspection and copying, preparation o public indexes, prepara•
                                                                                            !ion o public catalogs o copyright registrations, and preparation o search reports upon request
   Contribution to a Collective Work: Deposit one complete phonorecord of                        NO E No other advisory statement will be given in connection with this application Please keep
the best edition of the collective work.                                                    this statement and re er to it i we communicate with you regarding this application




                                                              LINE-BY-LINE INSTRUCTIONS
                                        Please type or print neatly using black ink_ The form is used to produce the certificate.

                                                                                           work specially ordered or commissioned for use as a contribution to a collective

b         SPACE 1: Title
          Title of This Work: Every work submitted for copyright registration must
          be given a title to identify that particular work. lf the phonorecords or any
                                                                                           work, as a part of a motion picture or other audiovisual work, as a translation, as a
                                                                                           supplementary work, as a compilation, as an instructional text, as a test, as answer
                                                                                           material for a test, or as an atlas, if the parties expressly agree in a written i11strument
                                                                                           signed by them that tlie work shall be considered a work made for hire!' U you have
accompanying printed material bears a title(or an identifying phrase that could            checked "Yes"to indicate that the work was"made for hire:'you must give the full
serve as a title), transcribe that wording completely and exactly on the application.      legal name of the employer (or other person for whom tl1e work was prepared). You
Indexing of the registration and future identification of the work may depend on           may also include the name of the employee along with tlie name of tl1e employer
the information you give here.                                                             (for example: "Elster Record Co., employer for hire of John Ferguson").
   Previous,AJternative, or Contents Titles: Complete this space if tl1ere are any        "Anonymous" or "Pseudonymous"Work: An autl10r's contribution to a work
previous or alternative titles for the work wider whicli someone searching for the         is "anonymous" if that author is not identified on tlie copies or phonorecords of
registration might be likely to look, or under whicli a document pertaining to the         the vrork. An author's contribution to a work is "pseudonymous" if that author
work might be recorded. You may also give the individual contents titles, if any,          is identified on the copies or phonorecords wider a fictitious name. If the work
in this space or you may use a Continuation Sheet (Form CON). Circle the term              is "anonymous" you may: (1) leave the line blank; or (2) state "anonymous" on the
that describes the titles given.                                                           line; or (3) reveal the autlior's identity. If the work is "pseudonymous" you may: (1)
                                                                                           leave tlie line blank; or (2) give the pseudonym and identify it as such (for example:

FJ        SPACE 2: Author(s)
           General Instructions: After reading these instructions, decide who are the
                                                                                          "Huntley Haverstock, pseudonym"); or (3) reveal the author's name, making clear
                                                                                           which is the real name and which is the pseudonym (for example: "Judith Barton,
                                                                                           whose pseudonym is Madeline Elster'} However, the citizenship or domicile of
                                                                                           the author must be given in all cases.
"authors" of this work for copyright purposes. Then, unless the work is a "collective      DatesofBirth and Death: If the author is dead, the statuterequiresthattheyearof
 work:' give the requested information about every"author" who contributed any             deatJi be included in the application unless the work is anonymous or pseudony-
 appreciable amount of copyrightable matter to this version of the work. Ifyou need        mous. The author's birth date is optional, but is useful as a form of identification.
 further space, use additional Continuation Sheets. In the case of a collective work       Leave this space blank if tlie autl1or's contribution was a "work made for hire."
 such as a collection of previously published or registered sound recordings, give
 information about the author of the collective work as a whole. If you are submit-       Author's Nationality or Domicile: Give thecowitry in which the autl1or is a citizen,
 ting this Form SR to cover the recorded musical,dramatic, or literary work as well       or the country in which the autlior is domiciled. Nationality or domicile must be
 as the sound recording itself, it is important for space 2 to include full information   given in all cases.
 about the various authors of all of tlie material covered by the copyright claim,         Nature of Authorship: Sound recording authorship is the performance, sound
 making clear the nature of eacli author's contribution.                                   production, or both, that is fixed in the recording deposited for registration. De-
 Name of Author: The fullest form of the author's name should be given. Unless             scribe this authorship in space 2 as "sound recording." If the claim also covers the
 the work was "made for hire," the individual who actually created the work is its         underlying work(s), include the appropriate authorship terms for each author, for
"author." In the case of a work made for hire, the statute provides that"the employer      example, "words;' "music:' "arrangement of music;' or "text."
 or other person for whom the work was prepared is considered the author!'                    Generally, for the claim to cover both the sound recording and the underlying
                                                                                           work(s), every author should have contributed to both the sound recording and
What Isa"WorkMade for Hire"? A "work made for hire"is defined as: (1) "a work              the underlying work(s). If tl1e claim includes artwork or photographs, include the
prepared by an employee witl1in tl1e scope of his or her employment"; or (2) "a            appropriate term in the statement of authorship.
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            SPACE 3: Creation and Publication
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         General instructions: Do not confuse "creation" with "publication."
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                                                                                                         Changed Version: If the work has been changed and you are now seeking reg-
                                                                                                      istration to cover the additions or revisions, clleck the last box in space 5, give
                                                                                                      the earlier registration number and date, and complete both parts of space 6 in
                                                                                                      accordance with the instructions below.
Every application for copyright registration must state "the year in which creation                      Previous Registration Number and Date: If more than one previous registration
of the work was completed." Give the date and nation of first publication only if                      has been made for the work, give the number and date of the latest registration.
the work has been published.
   Creation: Under the statute, a work is "created" when it is fixed in a copy or
phonorecord for the first time. If a work has been prepared over a period of time,                              SPACE 6: Derivative Work or Compilation
the part of the work existing in fixed form on a particular date constitutes the
created work on that date. The date you give here should be the year in which                                    General Instructions: Complete space 6 if this work is a "changed version;'
the author completed the particular version for which registration is now being                       "compilation;'or "derivative work;' and if it incorporates one or more earlier works
sought, even if other versions exist or if further changes or additions are planned.                   that have already been published or registered for copyright, or that have fallen into
   Publication: The statute defines "publication" as "the distribution of copies or                    the public domain, or sound recordings that were fixed before February 15, 1972.
phonorecords of a work to the public by sale or other transfer of ownership, or by                     A"compilation" is d.efmed as "a work formed by the collection and assembling of
rental, lease, or lending"; a work is also "published" if there has been an "offering                  preexisting materials or of data that are selected, coordinated, or arranged in such
to distribute copies or phonorecords to a group of persons for purposes of further                     a way that the resulting work as a whole constitutes an original work of authorship."
distribution, public performance, or public display?' Give the full date (month, date,                 A"derivative work" is "a work based on one or more preexisting works." Examples
year) when, and the country where, publication first occurred. If first publication                    of derivative works include recordings reissued with substantial editorial revisions
took place simultaneously in the United States and other countries, it is sufficient                   or abridgments of the recorded sounds, and recordings republished with new re-
                                                                                                       corded material, or "any other form in whicll a work may be recast, transformed,



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to state "U.S.A."
                                                                                                      or adapted:' Derivative works also indude works "consisting of editorial revisions,
                                                                                                      annotations, or other modifications" if these changes, as a whole, represent an
                                                                                                      original work of aud10rship.
            SPACE 4: Claimant(s)
                                                                                                         Preexisting Material (space 6a): Complete this space and space 6b for derivative
                                                                                                      works. In this space identify the preexisting work that has been recast, transformed,
         Name(s) and Address(es) of Copyright Claimant(s): Give the name(s)                           or adapted. The preexisting work may be material that has been previously pub-
and address(es) of the copyright claimant(s) in the work even if the claimant is                      lished, previously registered, or that is in the public domain. For example, the
the same as the author. Copyright in a work belongs initially to the author of the
                                                                                                      preexisting material might be: "1970 recording by Sperryville Symphony of Bach
work (including, in the case of a work made for hire, the employer or other person                    Double Concerto."
for whom the work was prepared). The copyright claimant is either the author of
the work or a person or organization to whom the copyright initially belonging                             Material Added to This Work (space 6b): Give a brief, general statement of the
to the author has been transferred.                                                                    additional new material covered by the copyright claim for whicl1 registration
                                                                                                       is sought. In the case of a derivative work, identify this new material. Examples:
    Transfer: The statute provides that, if the copyright claimant is not the author,                 "Recorded performances on bands 1 and 3''; "Remixed sounds from original
 the application for registration must contain "a brief statement of how the claimant                  multitrack sound sources"; "New words, arrangement, and additional sounds." If
 obtained ownership of the copyright." If any copyright claimant named in space                        the work is a compilation, give a brief, general statement describing both the mate-
 4a is not an author named in space 2, give a brief statement explaining how the                       rial that has been compiled and the compilation itself. Example: "Compilation of
 claimant(s) obtained ownership of the copyright. Examples: "By written contract";                     1938 recordings by various swing bands:'
"Transfer of all rights by author''; "Assignment''; "By will:' Do not attach transfer




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documents or other attad1ments or riders.
                                                                                                                              SPACE 7, 8, 9: Fee, Correspondence,
            SPACE 5: Previous Registration                                                                                    Certification, Return Address
                                                                                                        Deposit Account: If you maintain a deposit account in the Copyright Office,
          General Instructions: The questions in space 5 are intended to show
                                                                                                      identify it in space 7a. Otherwise, leave the space blank and send the filing fee with
whether an earlier registration has been made for this work and, ifso, whether there
                                                                                                      your application and deposit. (See space 8 on form.) Note: Copyright Office fees
is any basis for a new registration. As a rule, only one basic copyright registration
                                                                                                      are subject to drnnge. For current fees, check the Copyright Office website at www.
can be made for the same version of a particular work.
                                                                                                      copyright.gov, write the Copyright Office, or call (202) 707-3000.
   Same Version: If this version is substantially the same as the work covered by a
                                                                                                        Correspondence (space 7b): Give the name, address, area code, telephone num-
previous registration, a second registration is not generally possible unless: (1) the
                                                                                                      ber, fax number, and email address (if available) of the person to be consulted if
work has been registered in unpublished form and a second registration is now
                                                                                                      correspondence about this application becomes necessary.
being sought to cover this first published edition; or (2) someone other than the
author is identified as copyright claimant in the earlier registration and the author                    Certification (space 8): This application cannot be accepted unless it bears the
is now seeking registration in his or her own name. If either of these two excep-                     date and the handwritten signature of the author or other copyright claimant, or
tions applies, check the appropriate box and give the earlier registration number                     of the owner of exclusive right(s), or of the duly authorized agent of t he author,
and date. Otherwise, do not submit Form SR. Instead, write the Copyright Office                       claimant, or owner of exclusive right(s).
for information about supplementary registration or recordation of transfers of                          Address for Return of Certificate (space 9 ): The address box must be completed
copyright ownership.                                                                                   legibly since the certificate will be returned in a window envelope.

                                                                                MORE INFORMATION
   icworks": "Works' are the basic subject matter of copyright; they are what authors create          Should You File More Than One Application? If your work consists
 and copyright protects. The statute draws a sharp distinction between the "work" and "any            of a recorded musical, dramatic, or literary work and if both that "work" and the sound
 material object in which the work is embodied."                                                      recording as a separate "work" are eligible for registration, the application form you should
    "'Copies" and "Phonorecords": These are the two types of material objects in which                ftle depends on the foUowing:
 "works" are embodied. In general, ((copies'' are objects from which a work can be read or               File Only Form SR if: The copyright claimant is the same for both the musical, dramatic,
 visually perceived., directly or with the aid of a machine or device, such as manuscripts, books,    or literary work and for the sound recording, and you are seeking a single registration to
 sheet music, film, and videotape. "Phonorecords" are objects embodying fixations of sounds,          cover both of these "works."
 such as audiotapes and phonograph disks. For example, a song(the "work") can be reproduced
 in sheet music ("copies") or phonograph disks {"phonorecords"), or both.                                File Only Form PA (or Form TX) if: You are seeking to register only the musical, dramatic,
                                                                                                      or literary work, not th esow1d recording. Porm PA is appropriate for works of the performing
    '"Smmd Recordings": These are '\vorkst not "copies" or 1'phonorecords." ''Sound record-           arts; Form TX is for nondramatic literary works.
 ings.' ' are "works that result from the fixation of a series of musical, spoken, or other sounds,
 but not induding the soW1ds accompanying a motion p icture or other audiovisual work."                   Separate Applications Should Be Filed on Fonn PA (or Form TX) and on Form SR if:
 Example: When a record company issues a new release, the release will typically involve two          (1) TI1e copyright claimant for the musical, dramatic, or literary work is different from the
 distinct '\vorks": the "musical work" that has been recorded, aind the "soW1d recording" as a        copyright claimant for the sound recording; or (2) you prefer to have separate registrations
 separate work in itself. The material objects that the record company sends out are "phonore-        for the musical, dramatic, or literary work and for the soW1d recording.
 cords": physical reproduaions of both the "musical work" and the "sound recording'.'
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                    TITLE OF THIS WORK W


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                    NAME OF AUTHOR W


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                    COPYRIGHT CLAIMANT(S) Name and address must be given even if the claimant is the same as the author                                                $33/ &$7 21 5(&( 9('
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EH RUH FRPSOHWLQJ   TRANSFER If the claimant(s) named here in space 4 is (are) different from the author(s) named in space 2, give a
WKLV VSDFH          brief statement of how the claimant(s) obtained ownership of the copyright. W

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PREVIOUS REGISTRATION Has registration for this work, or for an earlier version of this work, already been made in the Copyright Office?
T Yes T No If your answer is “Yes,” why is another registration being sought? (Check appropriate box) W
a. T This work was previously registered in unpublished form and now has been published for the first time.
b. T This is the first application submitted by this author as copyright claimant.
c. T This is a changed version of the work, as shown by space 6 on this application.
If your answer is “Yes,” give: Previous Registration Number W                        Year of Registration W
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DERIVATIVE WORK OR COMPILATION
Preexisting Material Identify any preexisting work or works that this work is based on or incorporates. W


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Material Added to This Work Give a brief, general statement of the material that has been added to this work and in which copyright is claimed. W                                                  WKLV VSDFH



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DEPOSIT ACCOUNT If the registration fee is to be charged to a deposit account established in the Copyright Office, give name and number of account.
        Name W                                                                                  Account Number W

#
CORRESPONDENCE Give name and address to which correspondence about this application should be sent. Name/Address/Apt/City/State/Zip W



$       Area code and daytime telephone number              (            )                                                               Fax number             (          )

   Email

CERTIFICATION* I, the undersigned, hereby certify that I am the
Check only one W
T author                                 T owner of exclusive right(s)
T other copyright claimant               T authorized agent of
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of the work identified in this application and that the statements made by me in this application are correct to the best of my knowledge.

Typed or printed name and date W If this application gives a date of publication in space 3, do not sign and submit it before that date.

                                                                                                                                              Date
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                                                                                                BROOKLY N, NEW YORK 11228
   MAR IANNE E . BERTUNA                             546 FIFTH AVENUE                              TEL, ( 7 1 8 ) 238- 9898
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HON. JOHN LEVENTHAL ( RET .}                       NEW YORK, NY 1 0036
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   MICHAEL T. JACCARINO                                                                             ANTOINETTE LANTERI
                                                 FACSIMILE: ( 21 2 ) 750-8297                        WIL LIAM R . SANT O
      IMRAN H. ANSARI
                                                                                                     PETER S . THOMAS
    DIANA FABI SAMSON                              WWW.AIDALALAW.COM                              LAWRENCE SPASOJEVICH
    ANDREA M . ARRIGO
                                                                                                     SENIOR COUNSEL
  MICHAEL D IBENEDETTO                                                                                LOUIS R. AIDALA
     TAYL OR FRIEDMAN                                                                               JOSEPH P. BARATT A


                                                                             February 8, 2022
       VIA EMAIL

       Jonathan D. Davis, Esq.
       Jonathan D. Davis, P.C.
       1 Rockefeller Plaza, Suite 1712
       New York, New York 10020

                Re:        Nwosuocha v. Glover II et al., No. 1:21-cv-04047-VM

       Dear Mr. Davis:

                I write on behalf of the Plaintiff in response to Defendants’ January 18, 2022 supplemental
       letter (“Supplemental Letter”) in furtherance of the procedures described in Paragraph II.B of
       Judge Marrero’s Individual Practices. For the reasons set forth below, Plaintiff disagrees with
       Defendants’ characterization of his claims in the Supplemental Letter as “baseless,” and intends
       to pursue those claims.

       I.       Plaintiff Has Standing to Sue for Copyright Infringement.

               The Supplemental Letter repeats Defendants’ point from their initial letter that Plaintiff
       lacks “technical standing” to bring this action due to an alleged failure to register his copyright in
       the composition underlying “Made in America.” Defendants maintain their position that Plaintiff
       has only registered a copyright in the sound recording for “Made in America.” Defendants remain
       mistaken in this regard.

               Defendants concede the point made in Plaintiff’s January 12, 2022 reply letter (“Reply
       Letter”) that sound recordings and compositions may be registered simultaneously on a Form SR
       (or its electronic equivalent), pursuant to U.S. Copyright Circular 56A. Defendants, however,
       argue that the registration applicable to “Made in America” failed to simultaneously register the
       underlying composition, allegedly because the registration’s authorship description fails to include
       “words,” “music,” or “words and music.” Assuming, arguendo, that Plaintiff’s registration omitted
       a descriptor clarifying the full extent of his authorship, Defendants are nonetheless erroneous in
       their assertion that such an oversight by Plaintiff would be fatal to his standing. However, the
       nature of Plaintiff’s registration is such that no further descriptors were required to register both
       the “Made in America” sound recording and its underlying composition.




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                  Plaintiff’s registration is for an unpublished collective work of sound recordings including
          “Made in America.” In the registration, Plaintiff claims sole rights and permissions in the
          collective work, which necessarily subsumes every creative contribution appearing in the entire
          collective work, including every compositional element. See U.S. Copyright Office Compendium
          509. Plaintiff’s registration, on its face, therefore claims the composition underlying “Made in
          America,” because “Made in America” is one of the sound recordings appearing in the collective
          work for which the registration claims sole rights and permissions. In this context, neither the
          additional descriptors suggested by Defendants nor any other descriptors were required for
          Plaintiff to validly register the sound recording and composition “Made in America”
          simultaneously.

          II.     Uploading “Made in America” to SoundCloud was not publication.

                  The Supplemental Letter argues that, “[b]ecause there is no copyright claim regarding your
          client’s ‘sound recording,’ the issue of whether the ‘Made in America’ sound recording has been
          published is immaterial to your client’s purported infringement claims.” Defendants then
          nonetheless go on to address the “non-relevant issue” of publication by, once again, inaccurately
          characterizing Plaintiff’s upload of “Made in America” to SoundCloud as publication for the
          purposes of copyright law. In fact, in their in their initial letter Defendants failed to cite authority
          in favor of this erroneous contention, as pointed out in the Reply Letter. Now, unable to deny the
          plain language in Circular 66 stating that streaming is not publication, Defendants vaguely assert
          that Plaintiff’s Complaint alleges “more than just streaming.” Defendants contend that the
          Complaint alleges “phonorecords were offered to multiple on-line services for public
          display/performance, which constitute publication,” but Defendants do not and cannot cite a single
          allegation in the Complaint supporting this contention.

                  The only specific act of publication that Defendants will commit to alleging is Plaintiff’s
          upload of “Made in America” to SoundCloud. Defendants’ SoundCloud theory is that Plaintiff
          published “Made in America” because SoundCloud Go, a paid subscription tier of the otherwise
          free SoundCloud, offered users the ability to stream songs offline. Defendants contend that this
          was publication because, in enabling offline listening, SoundCloud Go allowed users to “copy and
          download songs” for offline use. Defendants appear to misunderstand the nature of offline
          streaming in general. SoundCloud Go’s offline streaming feature did not enable users to “copy and
          download songs.” For offline streaming, SoundCloud Go users retain no copy of the song file and
          are required to stream the song through SoundCloud’s platform. A user is nonetheless unable to
          access the song independent of SoundCloud. Indeed, if users retained their own copy of the file, it
          would have been redundant to refer to listening to songs on SoundCloud Go as “offline” listening,
          because listening to a personally retained song file does not require cellular data or internet access.
          In sum, Defendants’ SoundCloud theory fails to evince that Plaintiff offered the public retainable
          copies of “Made in America” pre-registration.

          III.    Plaintiff Has Alleged Access and Actionable Copying.

                 The Supplemental Letter attempts to rebut the substantial similarity shown in Dr.
          Swanson’s report with the conclusory statement that “any lay listener could readily determine [the
          songs at issue] are neither ‘strikingly similar’ nor ‘substantially similar.’” As such, Defendants

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AIDALA, BERTUNA & KAMINS, P.C. • 546 FIFTH AVENUE, NEW YORK, NY, 10036 • T: 212-486-0011 • F: 212-750-8297 • WWW.AIDALALAW.COM
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          raise a question for a trier-of-fact. Defendants’ conclusory argumentation about whether lay
          listeners would agree with Dr. Swanson’s scientific conclusion does not merit response.
          Furthermore, Defendants’ assertion that Plaintiff has plead “conclusory” assertions of striking
          similarity in the report of Dr. Swanson is devoid of merit.

          IV.     Plaintiff Will Consider Withdrawing Claims Against WMG and RCA.

                  Should the Defendants provide evidentiary proof and an affidavit in support of its
          contention that WMG and RCA are improper Defendants then Plaintiff will consider withdrawing
          the claims.




                                                                      Very Truly Yours,

                                                                      AIDALA, BERTUNA & KAMINS, P.C.

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